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Srown w. Mountainview Cutters, LAC, Slip Copy {2096]




                                                               money[.]" 1d. ¶ 9.
                2oi6 WL 3045349
   Only the Westlaw citation is currently available.           In August of 2412, a Caucasian coworker called Brown
            United States District Court,                      an "angy black woman." Id. ¶ 10. Brown complained to
                   W.D. Virginia,                              her manager about the incident. On anoti~er occasion,
                 Roanoke Division.                             Phillips scheduled a dinner for all of the employees.
                                                               Although Brown was invited to the dinner, she was not
             Tiffany S. Bro~~n, Plaintiff,                     told that the employees tivould be meeting at the salon
                          ~~.                                  beforehand. After Brown► waited at the restaurant for more
   Mountainvic~~v Cutters, I..LC, d/h/a C=neat C:)ips,         than 45 minutes, Phillips and the other employees aixived
                     I)efenciant.                              and laughed at her.

             Civil Action No. ~:iS-CV-oo2o4                    Un ar about December 2, 2012, after nvo employees
                                                               made transactions under her name, Brown called the
                   Signed o5/2~/2oi6                           general manager, told her about "some of the
                                                               irregutaiities at the salon," and said that she was being
                                                               discriminated against. Id. ¶ 13. In a document dated
                                                               December 2, 2012, Phillips stated that Browm had.
                                                               du•eatened him with discrimination. Thereafter•, a posting
                                                               at the salon indicated that certain matters would be
                                                               discussed at a meeting between the employees and the
             MEMORANDUM OPINION
                                                               owner of Great Clips. Brown then added "EEOC" to the
                                                               list of topics to be discussed at this meeting. On
Glen E. Conrad Chief, United States District Judge             December 4, 2012, Phillips infoi7ned Brown that he
                                                               would be terminating her employment. Phillips indicated
*l Plaintiff Tiffany S. Brown brings this employment           that he felt "backed into a corner" because Brown called
discrimination action against her fornier employer,            Phillips' boss without notifying him first. Id. T 1 ~.
Mauntainvie~v Cutters, LLC d/b/a Great Clips ("Great
Clips"}, Tlae case is presently before the court on Brown's    Brown tiled a charge of discrimination with the Equal
motion to quash the subpoenas duces tecum issued by            Employment O~p~rtunity Commission ("EEOG") on
Great Glips to several third parties. For the following        A~rit 5, ZQ13. Upon receiving aright-to-sue letter from
reasons, the motion will be granted in part and. denied. in    the EEOC on January 29, 2015, Brown filed suit in this
part.                                                          court under Title VTI of the Civil Rights Act ofi' 1964
                                                               (`Title VIT"), alleging that Great Clips discriminated
                                                               against her nn the basis of her race, and that she was
                                                               terminated in retaliation far her discrimination
                                                               complaints. On March 28, 2016, Great Clips issued
                  Factual Background                           subpoenas duces tecum to Brown's previous employers,
                                                               subsequent employer, aiad the Virginia Employment
Tiffany S. Brown is an African-American woman. At the          Commission ("VEC"). On April 4, 2Q 16, Brown moved
time of her employment, she was the only African-              to quash these subpoenas. The court held a hearing on the
American employee at Great Clips. Brown believes that          mo[ion via conference call. ot~ May 3, 2016. The motion
she was subjected to unequal terms and condirions of           has been fu]ly briefed and is ripe for disposition.
employment because of her race. Specifically, she claims
that she was treated less favorably than her Caucasian
coworkers with respect to "scheduli►1g, time off, and
being allowed to work enough hours to earn paid
vacation." Compl. ¶ 7.                                                                Discussion

On one occasion, Bro~~n's manager, Tim Phillips, have a
client a coupon. for discount services at the salon.                                 1. Standing
However, when Bro~~m ~~ave a coupon to another client, a       *2 Before addressing the merits of Brown's motion, the
note was posted nn the re~istei• stating, "Great Clips is      court most first deCermine whether she has standing to
here to make m~nev and you are makiri~ us less                 attempt to qulsh the subpoenas duces tecu~l~ issued by
                                                                                     ;r ,.
                                                                                                   EXHIBIT
                                                                                             N



                                                                                                 Zin l~~o
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Great Clips to third parties. `'Ordinarily, a party does not         subpoenas as irrelevant and overbroad. See Sin I~ etary,
have standing to challenge a subpoena issued to a                    289 F.R.D. at 24Q n.2 ("Additionally, the Court notes that
nonparCy unless the party claims some personal right or              plaintiffs have standing to challenge the subpoenas duces
privilege in the information sought by the subpoena."                tecum as irrelevant anti overbroad under Rule 26,
United States v. Idema, 118 Fed.Appx. 740, 744 (4th Cir.             ~~egardless of wtlether they have standing to bring a
2005). The United States Court of Appeals for the Fourth             motion to quash wider Rule 45."); see also Sirpal v.
Circuit., however, has not. decided whether an employee              Wa~~g, No. WDQ-12-0365, 2012 WL 2880565, at *4 n.12
has a sufficient. personal right with respect to the                 (D. Md. Jul. 12, 2012) (construing plaintiffs morion to
information contained in her employment records to                   quash as one for a protective order under Rule 26 and
confer standing. Nevertheless, this curt is more                     using relevance and overbreath to quash the subpoena at
persuaded by the authorities that have held that such                issue). Although Brown has not explicitly moved for a
personal right does exist.                                           protective order i~~ her instant motion, her essential
                                                                     ci~allenges to the subpoenas are that they are overbroad
At the hearing, Brown relied on Singletary v. Sterling               and irrelevant to the claims and defenses in this case.
Transport Co., in which. the district court found that an            Accordingly, the court concludes that $ro~~~n has standing
employee did gave standing to challenge the subpoenas                to bring this motion to quash.
duces tecum that sought employment records from. his
Former employers. 289 F..R.D. 237, 24Q (E.D. Va. 201.2).
In reaching its decision, the district court noted that
"numerous courts from within a wide variety of circuits                                 II. Motion to Ouash
have approved the existence of such a right and have held            *3 The court will now consider the merits of Brown's
that such parties have standing to challenge subpoenas               arguments in support of her motion to quash. The scope
directed to their former employers." Id. at 239. The                 of discovery allowed under a subpoena is the same as the
district court also found the case of Barrington v. Mortaee          scope of discovery allo~~~ed under Rule 26 of the Federal
[T, Inc., No. 07-01304-CIV, 2007 WL 437Q647, at *2                   Rules of Civil Procedure. Cook v. Howard, 4f34
(S.D. Fla. Dec. 10, 20 7) to be especially persuasive. Tn            Fed.Appx. 805, 812 lath Cir. 2012) (per curiam)
Barring, the district court cited to a number ~f eases               ("Alkhough Rule 45(c) sets forth additional grounds on
which support the argument that employees have a                     which a subpoena against a third party may he quashed ...
personal right ire their employment retards. 2007 WL                 those factors are co-extensive with the general rules
4370647, at *2. The district court in Barrington also noted          governing all discovery that are set forth in Rule 26.").
that employment records are/likely to contain "highly                "Thus, regardless of whether the Court considers
personal and contidential information, such as social.               Plaintiffs Motion under Rule 45 or Rule 26, the Court
security numbers, medical information protected from                 must review Defendant's subpoenas under the relevancy
disclosure under various federal and state laws, payroll.            standards set forth in Rule 26(h)." Singletary, 289 F.R.D.
information, income tax information, and information                 at 241. The discovery rules are to be accorded broad and
about family members." Td. Therefore, the district court             liberal constnu;tion. Herbert v. Lando, 441 U.S. 153, 177
held that the employees had standing to move ro quash the            (1979); see also CareFirst of Md., Inc. v. Carefrrst
subpoenas daces tecum directed to their former                       Pre~nancv Ctrs.. Inc., 334 F.3d 390, 402 (4th Cir. 2003)
employers. Id. This court notes that several courts both             (holding that "[d]iscovery under the Federal Rules of
within and. outside of the Fourth Circuit have cited to              Civil Procedure is broad in scope and freely permitted").
Sin~letary iii finding Chat employees have standing to
challenge subpoenas seeking employment records. S~                    Specifically, Rule 2b provides that a party "may obtain
~, Papanicolas v. Proj~et Execution & Cont-rol                        discovery regarding any uo►ipri~~iteged matter that is
Consulting, LLC, Na CBD-12-1579, 2015 WL 12427>5,                     relevant to any party's claim or defense and proportional
at *1 (D. Md. Mar. l7, 2015): Bahraini v. Maxie Price                 to the needs of the c~►se[.]" Fed. R. Civ. P. 26(b)(1).
Chevrolet-Oldsmobile Inc., No. 1:11-CV-4483-SCJ-AJ[3,                 "Information within this scope of discovery need not be
2013 WL 3300336, at *2 (N.D. Ga. Jame 19, 2O13);                      admissible in evidence to be discover~b►e." Id. Despite.
Robinson v. Quicken Loins, ]nc., Na. 3:12-CV-0 981,                   the additional proportionality consideration required.
20]2 1VL'fiQ4583fi, at *2(S.D.W. Va. Dec. 5, 2012j.                   under the amendment to Rule 2b, the Advisory
                                                                      Committee Notes provide that "the [2Q1~ amendment
In addition, even if the court could find that Brown did              does not place on the party seeking discovery the burden
not have standing to move to quash the subpoenas under                of addressing all proportionality considerations." Fed. R.
Rule 4S of the Federal Rules of Civil Procedure, she                  C'iv. P. 26 advisory committee's note to 201,5 amendment.
would. stil] have standing under Rule 26 to challenge the
                                                                      Notably, the court "must limit the frequency or extent of
 ~v'~:`~T~n ,°~~~   _....            ~~. ~   _ ~   _.qtr€   _ ..   ,. ~_,. ~   .... _ .~E_. ~ x. ~~ .~.                      ~'
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Brown v. Mour~tainview Cuti~rs, PLC, 51i~ Copy {~Q1fs)



discovery otherwise allowed by these rules" if it               discrimination claims against any of these former
determines that "the discovery sought is unreasonably           employers. See Smith v. United Salt Corn., No. 1:08-CV-
cumulative or duplicative, or can be obtained from some         53, 2009 WL 2929343, at *b (W.D. Va. Sept. 9, 2009}
other source that is more convenient, less burdensome, or       (finding that plaintiffs' work history records were relevant
less expensive[,]" or that "the proposed discovery is           because they could reveal "prior complaints of emotional
outside the scope permitted by Rule 26(b}(1)." Fed. R.          distress and sexual harassment[,]" "poor or erratic ~a-irk
Civ. P. 2(i(b}(2)('C}. "As such, the Court may quash a          hisiories," and "sustained employment or unemployment"
subpoena daces tecwn as overbroad if it `does not limit         in consideration of plaintiffs' claims for front pay). Great
the [documents] requested to those containing subject           Clips' anticipated defense in this case is that Brown was
matter relevant to the underlying action.'      Sin~letarv,     terminated because of insubordination andlor misconduct
289 F.R.D. ai 241 (quoting 1n re Subpoena Daces Tecum           on the job. Such discovery may reveal that Brown's
t~~ A(~L. LLC,550 F. Sapp. 2d 606,612(E.D. Va. X008)).          former empl~~yers terminated her for similar reasons.
Fnrttiermor~, Rule 26 provides that the court may protect       Although such information may not ultimately be
persons from "annoyance, embarrassment, oppression, or          admissible at trial, the court cannot coiaclude that it would
undue burde~~ or expense[.]" Fed. R. Civ. P. 26(c)(1).          not lead to the discovery of admissible evidence.
Likewise, Rule 45 requires the court to quash a subpoena        Sinetetary, 289 F.R.D. at 237.
that "subjects a pzrson to an undue burden." Fed. R. Civ.
P. 45(d)(3)(A)(iv). The burden of proof is nn the party         Despite the relevance of such discovery, the court is of
objecting to the production. Finlev v. Trent, 955 F. Sapp.      the opinion that the subpoenas are disproportionate to the
642, 648 (N.D.W. Va. 1997)(citing Castle v. ,iallah, 142        needs of the case at this time. Great Clips contends that
F.R.D. 618,620(E.D. ~a. 1992)).                                 they have no reasonable means of obtaining the requested
                                                                information other than through the issuance of these
Brown argues that the subpoenas daces tecum should be           subpoenas daces tecum. However, the court believes that
quashed and/or limited in scope because they are                Great Clips could obtain this information through written
overbroad, irrelevant, and disproportional to the needs of      interrogatories to Brot~+n, which would be the least
the case. The court is constrained to agree. First, as to the   burdensome source. In her responses, Brown shall detail
subpoenas issued to Bro~~n's former employers, the court        her work history, performance evaluations, reasons fc~r
initially concludes that they are overbroad on their face,      leaving her former employers, and whether she filed
as the subpoenas are not tailored to seek relevant              charges of discrimination against her former employers.
information in this employment discrimination action.           In reviewing Brown's responses, Great Clips roay renew
Specifically, the subpoenas command production of               their subpoenas to Brown's former employers, if the
Brown's "complete personnel file[]" including "auy other        circum~tauces warrant. Therefore, the court finds that
tangible documents or things which relate to [her]              Great Clips' subpoenas are overbroad, irrelevant, and
employment ... regardless of the ... content[.]" Ex. A to       disproportionate to the needs of the case at this time.
PI.'s Mot. to Quasta at 4, Docket No. 26-1. "Such               Accordingly, Brown's motion to quash will. be granted
subpoenas could lead to the production of medical               with respect to the subpoenas cruces teci~m issued to her
information, social security numbers, payroll inforniation,     former employers.
income tax information, information about family
members, and other documents completely extraneous to           Second, as to the subpoena daces tecum issued to
this litigation[." Sias l~ etarv, 289 F.R.D. at 241; see also   Broom's subsequent employer, the court concludes that
Peters v. Baltimore City Bd. of Scli. Commis, No.               the subpoena is overbroad and dis~roponionate to the
VVIvIN-13-31:(4, 2014 VVL 4187307, at *5 (D. Md. Aug.           needs of the case. Again, the subpoena seeks Brown's
21, 2014) (finding that, in quashing defendant's third          entire personnel file, irrespective of its contents and.
party subpoena, "[d]efendant's request, by seeking `any         relevancy to the instant case. Brown does concede,
and. alt' documents related to [plaintiff's] employment,        however, that information regardinb her pay and. benefits
has the potential to uncover intrusive information that is      from her subsequent employer would be relevant to her
not relevant to tiie present. action"). As such, the court      claims for damages in this case. Nevertheless, she
believes that the subpoenas, in their current form, seek        contends that she can provide Great Clips with this
trndiscoverable inforniation and are overbroad.                 infornlation. In light of t17is concession, the court believes
                                                                that the subpoena is disproportionate to the needs of the
*4 However, the court also believes that some                   case, and that the least burdensome way to obtain this
information in Brown's personnel tiles is relevant to the       discovery would be from Brown herself. As such, Great
claims and defenses—namely, Brown's work history, her           Clips ~~~ili also be entitled to such information through
performance evaluations, and whether she made                   written interrogatories to Brown. Accordingly, Brown's
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Brown v. i~lo~sr~tair~view Cutters, LLC, Slip Cody (2096)



motion to quash will be granted with respect to the                   tec;um issued to Brown's former employers—Generation
subpoena duces tecum issued to her Subsequent employer.               Solutions, Great Clips, Otive Garden, Red Robin, and.
                                                                      Smart Style—will be quashed. Tlie subpoena daces tecum
Finally, as to the subpoena daces tecum issued to the                 issued to Brown's subsequent employer, Cost Cutters
VEC, the court concludes that such subpoena is overbroad              Family Hair Salon, will also be quashed. The iilfo~•mation
because it does not limit the temporal scope of the                   sought i« these subpoenas shall be obtained from Brown
documents sought by Great Clips. The court agrees with                through written intetTogatorres. Finally, the subpoena
Brown drat the relevant time period for such information              daces teeum issued. to the VEC will be limited in temporal
would be from her date of termination, December 4, 201.2,             scope to documents from December 4, 2012, the time of
to the present; Great Clips dots not contend otherwise.               Brown's termination, to the present.
Therefore, the court will. narrow the scope of the
subpoena to documents from December 4, 2012 to the                     *5 The Clerk. is directed to send certified copies of this
present. Accordingly, Brown's motion to quash will be                  memarandum opinion and the accompanying order to all
granted in part so as to establish the temporal limitation as          counsel of record.
set firth herein.
                                                                      DATED: This 27°" day of May,2016.



                         Conclusion                                   ,1t1 Citations

Far the foregoing reasons, the motion to quash will be                 Slip Copy, 2016 WL 3045349
banted in part and denied iii part. The subpoenas daces
C~$:i                                                           ,. ~~+"~17 Thorn>on Pouters. Nc~ claim to orgina( U.S. Govemmeni `r'Uarks.




  ~.~_~ ~   e ~     ,~                ,:   ~,         ,,                                            -
            Case 3:16-cv-00705-JWD-EWD                                             Document 11-3                           01/06/17 Page 5 of 69
Barr"sfi~c~~an u. h~8cart~c~e !T, inc., Nest i~epcarteci in F.Supp.~d (~"Q07)
2007 WL 4370647

                                                                                                 various defenses, including that it properly classified
                                                                                                 Plaintiffs as exempt under one or more of the FLSA
                  2007~4370647
                                                                                                 white collar exemptions, such as the "administrative,
     Only the Westlaw citation is currently available.
                                                                                                 executive, highly compensated, profession, retail or
              United States District Court,
                                                                                                 service establishment, combination, and/or outside sales
                     S.D. Florida.
                                                                                                 exemptions." .Affirmative Dcf'ense~ at ¶ 2(DE 28).
         Kelly 13AKK[NG"1'ON, Gabri~;l Martin~:z, and
           Vernell Roberts, on be=half of thfanselves                                             i            Defendant denies that it employed any Plaintiff as 4i
           anc~ others similarly situated, 1'laintifts,                                                        Correspondence Liaison. Anse=er at 2 ia. 1(DE 2$).
                               e.                                                                On or about October 24, 2007, Defendant issued 25
                MOR'I'ACTF: I'C,1NG, a fo.r~.ign                                                 subpoenas duces tecurn (to obtain documents without
                   c.~rporation, 1)efend~znt.                                                    depositions) directed to Plaintiffs' and opt-ins Plaintiffs'
                                                                                                 former employers, all of whom are in the financial
                              Nn. o~-6i3o4-CIV.                                                  services <<nd/or mortgage industries. Each subpoena seeks
                                                                                                 production of'the following documents:
                                Dec. io, 200.
                                                                                                                      Any and all. doc~unents, files
rittorne~-s anal La~~ Tirms                                                                                           and records, reflecting or relating
                                                                                                                      to the employment of [Plaintiff,
Robert Scott Novell, Robert S. N~~•ell PA, Christopher
                                                                                                                      SSN: xxx-xx-xxxx; DOB: dd/mm/
Charles Sharp, Sharp Lae~~ Pirn1,P.A.,Plantation, FL,far
                                                                                                                      yy), including but not liTnited
Plaintiffs.
                                                                                                                      to jc~b application(s), }personnel
Athalia Lujo, Morgan Lewis & Bockius, Miami, FL, For                                                                  file, inxerview notes, performance
Defendant.                                                                                                            evaluations,     tern~ination     or
                                                                                                                      resignation notices, payroll records,
                                                                                                                      income tax forms, and any other
                                                                                                                      personnel documents including, but
              f1RDER GRA~I~TING PLAINTIFFS'
                                                                                                                      nat fimited to those maintained by
              h90T10?~` TO QUASHSUBPOEIVAS
                                                                                                                      the Human Resources department.
Bt1RRY S. SELTZER,United States Magistrate Judge.
                                                                                                 See Subpoenas(DE 16-2). Plaintiffs have moved to quash
 X1 T .HIS CAUSE is before the Court on Plaintiffs'                                              these subpoenas under Federal R ule of Civil Procedure 45
Motion to Quash Subpoenas to Non-Parties, or in the                                              or, in the alternative, they seek a protective order under
Alternative, Motion far Protective Order(DE 1 Ei), and the                                       FederGtl Rule of Civil Procedure 26(DE 16). Z Defendant
Court Ucing sufficiently advised, it is hereby ORDERED                                           has responded to the Motion (DE 35), and Plaintiffs
that Plaintiffs' Motion is GRANTED for the reasons set                                           have replied thereto(DE 4(.)). Thz Motion is now ripe for
forth bzlo~u.                                                                                    decision.


                                                                                                 2             It appearing that the no~i-party employers were to
                    I. BACKGRO~JVD
                                                                                                               produce the documents before Defendant's response
This is an action for overtime compensation under the:
                                                                                                               to the: instant Nation was due and before the Court
Fair Labor Standards Act("FLSA"), 29 U.S.C. § 201, cat                                                         would. have had an opportunity to rule, this Court
seq. Plaintiffs bring this action on behalf of themselves                                                      entered an Order (DE 17) requiring Defendant to
and other similarly-situated employees who worked for                                                          notify the recipients ofthe subpoenas ducts tectrrn that
Defendant Mortgage IT, Inc. as Asset Analysts and                                                              they should not produce any documents until further
Correspondence Liaisons ~ in its Sunrise, Florida facility.                                                    notice and that if Defendant had already received any
In addition to the 3 original Plaintiffs, at least 17                                                          documents pursuant to the subpoenas, it should not
other individuals (`bpt-ins Plaintiffs") have filed consent                                                    inspect them uiatil such time as the Court has ruled un
                                                                                                               the instant Motion.
forms to join in the action. Defendant h~i5 asserted



 "k'~:i~§ i. ~i~+"'r
 ~'                    ,.,.       ,,~g~= as_s ~ ~` d.,.7 ~~.f~t-   c   _.:.i i3   .. ,. `.~ . ..<r, ~,s ..~,   ~_..}~,t .;"'. ~ .,"~   , ~. ___,.
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Barrington v. ~llort~ge dT, Irtc., FJcat f~epc~rtec3 in F.~~,pp.2d (2007)
2007 WL 4370647

                                                                       *2 In considering whether a party had standing to move
                     I_I. DISCUSSIO~'~'                              to quash a Subpoena dzrces tecursi, courts have repeatedly
Plaintiffs move to quash the subpoenas duc~e,s tecuni                found that an individual possesses a personal right
directed to their farmer employers on the grounds that the            with res}~ect to information contained in employment.
documents sought by the subpoenas arc not relevant and               records and, thus, has standing to challenge such a
that the document request is overbroad. `~ .In opposition,           subpoena.. See, e.g., Chczmbcrlairi tip. Fcrna~ingtan Sc~v.
Defendant first argues that Plaintiff's lack standing to              f3arzk, IVo. 3:U6CV()1437 (CFD), 2007 WI, 27$6421, at
bring a motion to quash subpoenas directed to third-                 *1 (D.Conn. Sept.S, 2007j ("The plaintiff clearly has a
parties.                                                             personal right with respect to information contained in tiffs
                                                                     employment. records."); Richcrrcls v. Con~~ergl~s C'or•~~., Nc~.
-~      Plaintiffs also object on the ground that.                   ?:OS-CV-00790-DAK; 2:05-C'V-0O812 I?AK, 2Qt)7 W[_
        the subpoenas seek. their confidential, personal             47401?, at *1 (D.Utah F~b.7, 207}(tinding that a party
        inf'nrmation. However, "it is well settled that               had standing to chaIl~nge subpoenas seeking zmployment
        confidentiality does not act as a bar to discovery and        records from the party's current employer and a company
        is generally not grounds to withhold documents from          that had made a job offer); Steiv~zrt, 200? WL 155821.0,
        discovery. Confidentiality concerns in many cases            at *2("The Cow•t finds that [the defendant] clearly has a
        may be addressed with an appropriate protective              personal right with respect to the information contained
        order." Decrrr i~. Anderrari, No. O1-2599-JA{t, 20t?2        in his personnel files, job applications, and performance
        WL 1377729, at *2(D.Kan. June Ei, X002)(citations            evaluations. Thus ... [the defendant] has standing to move
        om.itted).
                                                                     to quash the subpoenas served on his employers and
                                                                     to assert objections to the document requests contained
                            A. Stanc~irtg                            therein."); Beach v. Cit~.~ Olathe, kir~zsas, No. 99-2210-
Generally, an individual does not have standing to                   GTV, 2001 WL 109803?, ~t *1 (D.Kan. Se}~t.17, 2001)
challenge a subpoena served on another, unless that                  (defendant "clearly has a `personal. right' in his personnel
individual has a persona] right or privilege with respect
                                                                     file and applications for employment that would give
to the subject matter oC the subpoena. See 6~'c~shin,~>ton           hitn standing to move to quash the subpoenas"); ,ree also
 v. Tltrrr~~vncl R~lur,slrull Ac~rrlerrri~, 230 F.R.D. l8, 22
                                                                      Thurgc~r~cl eltars{urll, 230 F.3d at ?4 (declining to consider
(I~.C.<_'ir.2t}0.5)("[A]bsent a privilege, personal interest, or     standing for quashing subpoenas for employ►nent records
proprietary interest, [a party] has na standing to seek to           where party had alternatively moved for protective
quash, under Fedet-al Rule of Civil Procedure("Rule")45,             order; analyzing ch~~llenge to subpoenas under Rule 76
a subpoena issued to anon-party."}; ,Ste~~~crrt v. h~itcl~ell        standards); C{rc~rzcber•lai~a, 2007 V4rL ?78G421, at * 1 (In
 Ti•arzs~ort, No. 01-254b-JWL, 2002 W'f, 1558210, *at ]              addition to having standing to move to quash a Rule
(D.K~~n. July 8, 2002} ~p~Irty does not have standing t~             45 subpoena cruces tecu►n seckiug employment records
quash subpoena served on another except where party has              fi•om a former employer, defendant also had "standing
a pci~sonal right or privilege with respect to the subject           to challenge the subpoenas on the basis of his having
matter requested in the subpoena); Stevc~r3sorz v. Stci~tl~~i•
                                                                     moved for a protective order pursuant tv Rulc 26."};
I3ostdtch, IYtc•., 201 F.R.D. 551, 555 (N.D.Ga.2Q01)("[I]t
                                                                     .~uta-C)~rne~~s Ir~.s. C'o. v. Soutltc~ust Flontin Docks. Irrc.,
appears to be the ~;enernl ~1ile of the federal courts that          231 F.R.D. 426, 429 (NI.D.FIa.?0~5)(finding that party
a party has standing to challenge a subpoena when she                did not have standing to move to quash a subpoena,
alleges a `personal right or privilege with respect to the           but holding that thy; party nonetheless liad standing to
m~~~t~erials subpoenaed."')(quoting 6r~n~~n v. Bra~lclze~lc, 5~I5    challenge the relevancy ofdocuments so~ight by subpoena,
F2d 9fil. 367 (5th Cir.1979)); Sr~~itbi ~~. ,19icllafrd 13rcil,E~.   thus, deeming the ►notion to quash as a motion for
hzc., 162 F.R..n. fi83, 6R5 (:D.C:~lo.1993)("A motion to             protective order under Rule 26).
quash ... a subpoena ~iuces tecum may only be made
by the [individual or entity] to whom the subpoena is                This Court agrees with the decisions holding that
directed except where the [individual]seeking to ehallen~c           a party does have a personal right with respect to
the subpoena has a personal right or privilege with respect          information.contained in their employment records. Here,
to the subject ma3tter rec~ucsted in the subpoena.").                Defendant has sought all records pertaining to Plaintiffs'
                                                                     former employment. These records likely contain highly
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          4370647...._..
2007'W L

personal and confidential inforniation, such as social
security numbers, medical info~rnation protected from                    4       Federal Rule ~~f' Evidence 4111 defines relevant
disclostu•e under various federal and state laws, payroll                        evidence as "evidence having any tendeiacy to make
information, income tax information, and information                             the existence of an~~ faot that is of cot~seguence to
about family members. Therefore, Plaintiffs' personal                            the determination of the action more probable or less
right to the em~loymcnt records is sufficient to confer                          probable than it would be without the evidcncc." Fed.
standing to move to quash the subp~znas duces tecz~m.                            R. Ev. 4~1.
Accordingly, the Court will now consider Plaintiffs'
arguments advanced in support of their Motion to Quash-                     Wllen discovery appears relevant on its face, the party
irrelevancy and overUr~;aclth.                                              resisting the discovery has the burden to establish
                                                                            facts justifying its objections by demonstrating that the
                                                                            requested discovery (1) does not came within the scope
                  B. Irre(evcmc•~~ cntc! Ov~>rbT•E«clth                     of re]Evailce as d~linEd under Fed.R,Civ.P. 26(b)(1) ax
 *3 Rule 4S does not. list irrelevance or ovcrbreadth                      (2)is ofsuch marginal relevance that the potential harm
as reasons for quashing a subpoena. Courts, however,                        occasioned by discovery would outweigh the ordinary
have held that the scope of discovery under a subpoena                      presumption in favor of broad disclosure.
is the same as tlhe scope of discovery under Rote 26.                        Wcr,;n<,>r, 2Q07 tii%L 1879914, aC * 1 (citing Scot 1~.
SEre, e.g.. CI~~~f~mberl~sin, 2007 WL 278Ei421, at ~`I ("It is              Lerzren~i~nr•th L'rziJ`rerf S'cft. Dist. No. 4~3, 110 F.R.D.
well settled that the scope of discovery under a Rule                       53.5$5([?.Kan.199y)); see crls~ Mc~r~re i~. Chertnff; Nu.
~5 subpoena is the same as that permitted under Rule                        OQ-9S3(RWWRj{DtIR),?t)06 WL 1442447,at *2(17.D.C.
26.°'); Sre~,~~fr•~, 2002 WI~ ISSH2(0, at *3 (sane}; ,gee also              M~ty 22, 2(lOEi) (san1~):.~1c>rri11 v. Gf~nffle I~t~usc~, 227
Advisory Committee Note to the 1970 Amendment of                            F.R.D. 467,47Q-71 (N.D.Tex.2005)(same)."However,
Rule 45(d}(1)(the 197(J amendments "make it clear that                      when relevancy is not apparent, the bw~den is on t}la
the scope ofdiscovery through a subpoena is the same as                     party seeking discovery to show the relevancy of the
that applicablz to Rule 34 and other discovery rules.");9A                  discovery request ." lac~ar~ v.:~rtcfc:rsnn, No. ()1-2599-
Charles A. WrighC and Arthur R. Miller, Fecl~~rr~l Prac~race                JAR, ?002 «L 1377729, ~t *2 (D.Kan. Jane 6, 2002}
and ProcecJi.rre, ~~' 2 59 {2d eci. 1995)(Rule 45 subpoena                 (emphasis in original),
incarporatc~s the provisions of Rules ?6{b) and 34}. The                 Plaintiffs argue that any records that their former
Curt, therefore, must determine whether the subpoenas                    ~znployers may have relating to Plaintiffs prior
cfa~ces tecum at issue seek irrelevant information and/~r arc            emplo~~ment have no relev~~nce to the issues in this case-
overly lxroad under the same stand~u•ds set forth in Kule                whether Plaintiffs worked more than 4U hours a week
26(b) and as a}~plied to Rule 34 requests for productiUn.                without receiving overtime compensation and whether
SEe 6~1%u~~rter• i~. Viacas•t.c°nrrr. Na. 06-~1 t l3-Civ, 2t)t)7 VVI..   Defendant properly classified Plaintiffs' positions as
1870914(S.D.FIa. June 2~,2007)(Ryskamp, J.)(a}~plying                    exempt. Plaintiffs conte~~d that "even a cursory review
a-elevance standard of Kole 2~i(b) to subpoena ducer tec~irm             of the subpoenas indicates that they are not narrowly
seeking employment records from the plaintiffs current                   tailored to obtain relevant evidence." 1Vlotion at 6(DE
employer in deciding such records were not relevant. in a                Ibj. Rather, the subpoenas seek, "without limitation,
FLSA case).                                                              each and every record, including personal and financial
                                                                         information, that Plaintiffs' former employers have in
Rote 26(b)(I} provides in pertinent part that "[p]arties                 their possession regarding the Plaintiffs." Motion at 5(DE
may obtain discovery regarding any nanprivileg~;d matter                 16). According to Plaintiffs, "[g]iveu the limited subject
that is relevant to any parties claim or defense.... Far                 matter of this case. and the overly broad nature of the
good cause, the court may order discovery of any matter                  requests, the purpose of~tlle ... do4ument requests appears
relevant to tl~e subject mGittei• involved in the action."               to be ... nothing more than a fishing expedition to harass
Further, "[rjelevant infoi~nlation need not be adn~issit~le              Plaintiffs and to interfere with Plaintiffs' reputations in
at the trial if the discovery appears reasonably calculated              the financial services field, and to deter them and other
to lead to the discovery of admissible evidence."4                       potential plaintiffs from pursuing their claims in this
Fed.R.Civ.P. 26{b)(1). Judge Ryskamp of this District                    case." Motion at 6(.DE 1 b).
recently explained the burden of establishing relevancy:
        Case 3:16-cv-00705-JWD-EWD                             Document 11-3          01/06/17 Page 8 of 69
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                                       _             _. .,
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 K4 The Court finds that the records of Plaintiffs' former                 ?005); :9zrlc-tr r'.:l'~•rirmpli Explusia~e, Inc., SK F~.SupP- 4
employers do not appear relevant to the claims ~r                          (D.Md.1944)
defenses herein-whether Plaintiffs warked for Defendant
                                                                    6      For example, in 1~ai~ei~, 20U5 WL 1719061, the case
more than 40 hours a week without receiving overtime
                                                                           on which Defendant primarily relies, tike issue before
compensation and whether Defendant properly cl~tssitied
                                                                           the court in deciding partial summary judgment
Plaintiffs•' positions as exempt from the FLSA overtime                    was whether the plaintiffs' work for the defendant
provisions. Accordingly, Defendant, as the party seeking                   employer incluc9ed the exercise oi' discretion oz
discovery, must demonstrate the rc;levancy of the                          independent judgment so as to meet the FLSA
documents sought.                                                          administrative employee exemption. The plaintiffs in
                                                                           that case argued that no discretion or independent
Defendant first argues th~~t the records of Plaintiffs'                    judgment was i~~volvec~ end that the work «gas
former employers are relevant to its defense that Plaintiffs               automatic and required unly a high school educ~ition.
were exempt from thz overtime provisions. "Vlthether                       The Hnrer Court stated:
an employee is zxempt or non-exempt under the FLSEl                              Although Plaintiffs emphasize their lack of
                                                                                 higher education and irrelevant work experience,
is detc;nnined by `the duties actually performed by
                                                                                 both were experienced with mortgage processing
the employee;.'     Corrigan v. G'rritec~ States, 68 Fed.
                                                                                 when they were ►~ireci by Homebound. Havey
CL 589, 595 (20~~) (quoting 5 C.F.R. § SSl2(}2(i)).
                                                                                 worked as a mortgage Ioa1i processor at National
Defendant, however, has tailed to explain how the                                City Bank in Goluinbus, Ohio immediately prior
records of Plaintiffs' prior emplo}~ers are relevant to a                        to being hired by Homebo~ind .... Anderson
determination of the duties performed by Plaintiffs(while                        worked at Chittenden Bank in the mortgage
employed by Defendant) or t.o any other consid~;~-ation                          deparhnent for nineteen years, including a
of exempt status. Defendant merely states that "courts                          couple years as an underwriter.
have repeatedly consid~;red a plaintiffs eanployment                         /cl. at *h. 1~1 rejecting the ~laintitfs' arguments,
history in determining FLSA exempt status under the                          the court noted their prior employment, but then
administrative, professional and executive exemptions-all                    proceeded to deckle exempt status solely on the
of which have been asserted as defenses by Mortage.IT."                      duties of the plaintiffs' positions while employed by
                                                                             the defendant.
R~sponsc at G(DE 35).
                                                                             Defcnc~ant also cites Srraitl~, 9~4 F.'d 296,
                                                                             p~u~enthetically starting that the court "re~~iew[eci]
None of the cases cited b}~ Defendant in support of
                                                                             Plaintiffs employment history in deciding exempt
this assertion' address the rr,levance or discoverability                    status under the administrative and executive
of a plaintiffs prig employment records; rather, each                        positions." Response at 6 n. 3. But, in considering
case ~~as decided at the summary judgment, trial, or                         an appeal of a jiir} verdict finding that the plaintiffs
appellate stage: and addressed whether plaintiffs were                       were not exempt employees, the Fifth Circuit did
exempt from. the overtime provisions of the FLSA.                            not "review" ttie plaintiffs employment history at
This Court has carefully reviewed these decisions and                        all; it reviewed only' the duties of the plaintiffs
                                                                             while employed by the defendant. Indeed., the
agrees with Plaintiffs that rather than "considering" the
                                                                             appellate court's oiily~ mention of "employment
plaintiffs'employment history, the courts "just mentioned
                                                                             history" occurred in setting out the standard of
the employment history in p~.tssing." Reply at 3 (DE
                                                                             review: "Although historical facts regarding the
35), A close reading of these cases reveals that in each                     employment history, and inferences based on these
instance the court based its determination ofexempt status                   facts are reviewed under the Cactual standard, the
on its examination of the plaintiffs job duties ~~ith the                    ultimate decision whether an employee is exempt is
defendant employer; the ptaintift's employment history                       a question of law." let. aY 298.
was not necessary to the count's decisions. ~'                      Even were the court able to find that Plaintiffs' prior
                                                                    en~ployn~ent history is marginally relevant to their exempt
S      .S~rzi[h v. Jacic,ron, 954 F.2d 29b, 298 (5th Cir.l~1I2};    status, the subpoenas dances t~cum at issue are overly broad
       C'nrrigcrn i•. United States, 68 Fed.Cl. 589, 595('UQS);     on their face. They seek "any and all docLrments, files and
       At/arr~,s v. L~rrited Strues, 65 Fed. Cl, 195, 212 (?OOSj;   records, reflecting or relating to the employment' of each
       T~areti' r. Nontehr>und :4~nrrbrage, Inc„ No. 2:02-          Plaintiff and apt-in Plaintiff, "including but not limited
       C.V-3t3, 200 WL 1719061, at *5-6 iD.~'t. July 21,            to job application(s), personnel file, interview notes,
             Case 3:16-cv-00705-JWD-EWD                             Document 11-3                   01/06/17 Page 9 of 69
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performance evaluations, termination oc resignation                         who are engaged in the financial services and mortgage
notices, payroll records, income tax forms, and any                         industries, classified the same or similar positions held by
other personnel documents including, but nat limited to                     Plainriffs as exempt, any claim of willful FLSA violations
those maintained by the Human Resources department."                        is critically undermined." Response at 8 (DE 35). In
Subpoenas (DE Ib-2). See Ric/rar~ls, 20(77 Wl. X74012,                      support of this argument, Defendant relies solely on
at *4-5 (quashing overbroad subpoena duces teci~m                           Ijer~nett v. 5'L7lTAG h7c., No. Civ. CV~2-65-HU, 2003
directed to the plaintiff's former employer that sought "all                ~VI., 2353141)2, at *9 {D.Or. May 8, 2()p3).
documents in your possession or control regarding the
employment of'the plaintiff).                                               The FLSA plaintiff in Bennett sought not only unpaid
                                                                            overtime wages, but also liquidated damages. In deciding
 *5 Defendant ne~:t contends that all Plaintiffs have                       whether liquidated damages «sere warranted, the court
 brought lawsuits against at least one prior employer                       was required to determine whether the defendant
(arguing misclassification under the FLSA), including                       employer's failure to pay overtime was in good faith
one collective action in which the three Plaintiffs here                    and whether it hid reasonable grotmds for believing that
sued a mortgage company. Defendant, therefore, argues                       it had not violated the FLSA. In making its decision
that Plaintiffs' employment records of former employers                     as to the defendant's good faith, the court considered
are relevant to assess Plaintiffs' credibility "in reference                the testimony of the defendant's payroll manager; she
to their prior litigation." Response at 8 (DE 3S).                          stated that she undzrstood thz industry standard was
Plaintiffs acknowledge that credibility is an issue in                      to classify finance and insurance managers as exempt
every case, but they counter that D~fenciant should be                      under the FLSA automobile or retail exemption. Bennett,
required to demonstrntc a good faith basis for Plaintiffs'                  therefore, does not stand. for the ,proposition that other
lack of credibility bet~re it is permitted to obtain                        employers'classification ofa position as exempt is relevant
the records, "[o]therwise there would be virtually no                       to show that a defendant employer properly classified a
limits nn discovery once a party invokes the mantra                         same or similar position as exempt, as Defendant appears
of 'credibility' as the basis for a discovery request."                     to contend. Rather, the Bennett Court considered the
.Reply at S (DE 4U). The Court agrees, as have other                        testimony of the defendant's own employee as to the
courts. See. e.~., Chary~b~r•Icrrr~. 2007 ~'VL 2786421, at                  industry standard because it pertained to the reason
*3; Ar•eryter• v. Corestaff Servs., L.P.. 232 F.f2.D. 692,                  that the defendant had made the exempt classiticati~n
fi93 (M.D.Fla.200y) (rci'using to require productian of                     and whether that reason was sufficient to show that the
employer's employment records fi•om the plaintiffs prior                    defendant Ilad acted in good faith and had reason to
employer pursuant to an overbroad subpoena where                            believe that it was not violating the FLSA. As Plaintiff
defendant had failed to provide an}~ reason to suspect                      here points out, "classification decisions are to be made
plaintiffs credibility). In Chclrr:berlain, an employment                   on the actualjob duties and responsibilities ofthe position
discrimination case, the defendant issued notice of its                     at issue, and not on what jobs the person. holding that
intent to serve subpoenas cluces tecuna on the plaintiffs                   position may have had in the past." Reply at 3(DE 40),
former employers; the subpoenas sought all employment
records pertaining to the plaintiff, including his personnel                 *6 Alternatit•ely, if Defendant is attempting to argae that
file. The defendant argued, inter aliu, that the information                it acted in good faith (for liyuidateci damages purposes)
contained in the plaintiffs prior employment records                        when it classified Plaintiffs' positions as exempt bec~~use
was relevant to his credibility as a witness. In reieciin~                  Plaintiffs' (same or similar) prior }positions with former
this argument, the court stated that "the defendant has                     employers had been classified as exempt, then Defendant
not alleged any reason to believe that. the plaintiff has                   ]ias no need for Plaintiffs' prior employment records. In
misrepresented information during the course of this                        determining whether liquidated damages are warranted,
litigation with regard to his previous employment to                        the relevant consideration would be what. Defendant knew
substantiate such a broad search of his employment                          or believed at the time it determined Plaintiffs' positions
records on this ground." 20p7 WL 27864?1 at *3.                             were exempt, not whether Plaintiffs' prior employers
                                                                            actually classified the same or similar position as exempt.
Finally, Defendant argues that Plaintiffs' employment
records are relevant because "if Plaintiffs'prior employers,
                                                                                                        Ii1. CONCL USION

                        .,, a r
                                  ..Sz., c~   -7:.   `.'.::   ',.     ":.
 At~b` ,~ { ~.,?i KY~                                                       ..   ~...~ .,   ..,        :r , w5. ~,'b..:
                                                                                                  s I ".
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Based on the foregoing, the Court finds that Defendant
has failed to meet its burden of est~blishin~ that the         ~       If Defendant has already received any documents
documents sought by the subpoenas c~uce,s lectern directed             pursuant to these subpoenas, it shall return them
to Plaintiffs' former employers are relevant iv any claim              to the cruploy~r that produced them, without first
or defense herein. Moreover, tl~e document requests of the             inspecting or copying thz documents.
subpoenas are overly broad on their face. Accordingl}~,        DONE AND ORDERED.
Plaintiffs' Motion to Quash Subpoenas to Non-Parties, or
in the r'~lternative, Motion for Protective Order(DE tE~)
is GRANTED and the subpoenas duces tecwn directed to           All C'itatians
the former employers of Plaintiffs ana opt-in Plaintiffs are
                                                                Nat Reported iii F.Supp.2d, 2007 WL 4370647
QUASHED.~

  ~~t3 of gacumeri#                                        '" 2C~`%Thomson Reuters. ^do claim E~ original U.S. ~overrmnn trJorks.
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Pilkingtorz North Arrieric~, Inc. v. Sr~lth, Nc~t Reported in F.Su~p.2d (2012)




                                                                  which plai~~tiff agreed to extend credit to defendants
                 2oia 4VL 689854                                  under the terms and conditions contained therein.
   Only the Westlaw citation is currently available.              Defendant. Smith executed the Credit Agreement,
            United States District Court,                         identifying Jazz Auto Glass as the customer, and. Smith
                  M.D. Louisiana.                                 executed the guaranty provision of the Credit Agreement
                                                                  as it related to Jazz Auto Glass. (rec.doc.l ). Plaintiff atsa
       P1I~KING"CQN NOK'I'H A~'IEKICA, INC.                       alleges that between March, 20(79 and February, 2011,
                        v.                                        defendants purchased glass products from plaintiff in the
        Leonard SMITH,dt~a Jazz Atrto Glass.                      net amount of more than $ l .l million dollars, but failed to
                                                                  pay for sane.
           Civil Action No. ii—i~6—BAJ—DLD.
                                                                  In response, all the defendants contend that they were
                       March 2, 2oi2.                             never granted credit or had an open account with plaintiff,
                                                                  they do not have records of the transactions, and that all
                                                                  glass products purchased for them ~~ere "paid for upon
Attorneys and I:.a«~ Tirms                                        delivery by either cash or credit card authorization,"
                                                                  among other things. (rec.doa 19) Defendants also contend
Eric Earl. Jarrell, William .Boyles, Robert J. Burvant,           that plaintiff's claims should. be dismissed on the grounds
King, Krebs & Jurgens, ALLC, New Orleans, LA, for                 of accard and satisfaction. Id.
Pilkington North America, Inc.

Darryl M. Phillips, Angela Lumzy Jones, The Cochran
Firm, New Orleans, .LA, fir Leonard Smith, dba .Tazz                                 The Nlotipn to Quash
Auto Ulass.                                                       On December 1.9, ?011, plaintiff issued subpoenas to
                                                                  Capital One Bank, N.A. and J.P. Morgan Chase Bank,
                                                                  seeking the follo~~~ing documents:

                                                                                 CERTIFIED COPIES of all bank
                         ~i]t~~xa                                                records for Leonard. S. Smith (:~xx—
                                                                                 xx—xxxx), Jazz Auto Glass and/or
                                                                                 Jazz Auto Repair &Replacement,
DOCIA L. DALBY,United States Magistrate Judge.                                   LLC tiom Janaury 1, 2Q07, through
                                                                                 the present, iiacluding, but not
*1 This matter is before the court oia a referral from the                       Gnlited to, any all. bank. records
district court of defendants' motion to quash subpoenas                          from any branch of [Capital nne,
[directed to dzfendants' financial institutions and for                          NA or J.P. Morgan Chase Bank]
protective order. (rec.doc.24). The matioi~ is opposed.                          regarding     checking     accounts,
(rec.d~c.28)                                                                     savings accounts, loan agreements,
                                                                                 lines of credit, or aay other
                                                                                 financial transactions undertaken
                                                                                 by or nn behalf of Leonard S.
                      Backgro~rnd                                                Smith (xxx—xx—xxxx), Jazz Auto
On March 22, 2011, plaintiff filed suit against Leonard                          Repair & Replacement, LLC.
Smith and his unincorporated sole proprietorshi}~ Jazz
Auto Glass, invok:ulg this court's diversity jurisdiction,        (rec.doa24-2, e.g.}
for claims of breach of contract and liability under
Louisiana Revised Statute 9:2781, otherwise known as the          Defendants then filed the instant motion to quash stating
"Open Account. Statute," among other things. Plaintiff            that the subpoenas were overbroad, vexatious, harassing
later amended and restated the complaint to include Jazz          and constituted a "fishing expedition"; sought irrelevant
Auto Repair and Replacement, LLC, as an alternative               and/or con#idential information; and constituted an
defenc{ant.(rec.doc.10}                                           unauthorized, prejudgment          debtor   examination.
                                                                  Defendants Smith and Jazz Auto Repair argue chat they
Plaintiff alleges that on or about November 2~, 2t)t~7, 21ie      have grounds to challenee the subpoenas issued t~ their
parties entered into a Credit Agreement, pursuant to
        Case 3:16-cv-00705-JWD-EWD                        Document 11-3        01/06/17 Page 12 of 69



Pilkingtcrr~ North America, Inc. v. Smith, Not Reparted in F.Supp.2d (2 312)



financial institutions because Smith and Jazz Auto Glass         interest is enough to confer standing to challenge the bank
hatie a legitimate privacy interest in the requested records.    subpoenas, this court finds that defendants leave standing
Defendants further argue that seeking five years of              to challenge the subpoenas on this basis.
recol•ds is outside flee scope of relevant discovery, and that
the only relevant fact is whether or not Smith and Jazz          As the parties are aware, the scope of discovery is broad.
Auto Glass owe the alleged debt. Defendants contend that         Here, defendants deny the transactions occurred, kept no
"examining defendants' checking account and banking              recards of either invoices or delivery receipts, and claim
transactions do nothing to show whether or not the               they made any payments either in cash or through credit
alleged debt is owed," and the subject subpoenas are             card authorizations, leaving, presumably, binking records
designed to "elicit confidential information" which.             as one of the only business records in existence.
"potentially could sense as an unfair advantage and;or
leverage" to plaintiff. (rec.doe:24-1, p~;s.3, 4) Defendants     According to the pleadings, the credit agreement was
cite to Olcl Towr7e DEvelopmer~t G~•~up, LLC a J. David          executed on November 8, 2Q07, and the period of non-
MatthE:ws, 2009 WL 2021723 (M.D.La. July 9, 2009) in             payment extended from 1~4arch, 2009, to February, 201 1.
support of their arguments.                                      Since defendants contend they kept no separate records of
                                                                 purchases or delivery receipts, bank records likely could
*2 in response to the motion to quash, plaintiff argues          contain relevant information, or lead ro relevant
defendants have claimed that they do not have copies of          information, about cash sales and purchases ov credit.
the invoices and delivery receipts, and produced only the        Thus, those bank records from November, 2007, to
signed Credit Agreement in response to a discovery               February, 2011., are disco~~erable.
request for all ttaeir business records relating to the
transactions wit}i plaintiff trorn 2006 to present. Plaintiff    However, the court finds that defendants' interest in the
also argues that defendants are claimiv~ that all. the           confidentiality of their banking records are best served by
transactions were with .razz Auto Repair, although               a protective order. Thus, to the extent that the responses to
plaintiff alleges that this entity was not formed "until long    the subpoenas may require production of confidential or
after the transactions" with Plaintiff began.. {rec.doc.28)      proprietary information, and in anticipation of potentially
                                                                 similar discovery disputes, the court wit] order the parties
                                                                 to fashion a joint protective order with regard to any
                                                                 confidential and/or proprietary information v~hich may
                                                                 arise in this natter, and submit same for the court's
                Governing Luw & Ancilysis                        approval.
Federal Rule of Civil Procedure 26(b) allows "discovery          *3 Accordingly,
regarding any matter, not privileged, that is relevant to the
claim or defense of any party." The Federal Rules of Civil.      IT 1S ORDERED that the motion to quash subpoenas [to
Procedure therefore permit broad discovery, allowing             defendants' financial institutions and for protective order
inquiry into any matter that bears on, or that reasonaUly        is G.R:ANTED in part and DENTED in part as follows:
could lead to other matters that could hear nn, any issue
related to the claim or defense of any party. Coughlin v.        1. Defendants' morion for protective order is
Lee, 94b F.2d 1152, ]159 (5th Cir.1991); Fed.R.Civ.P.            GRANTED. The parties shall submit to the court a joint
26(b)(1}.                                                        protective order in accordance with this court's
                                                                 Admnistrarive Procedures within fourteen (14) days of
The first issue raised by plaintiff is defendants' alleged       this Order. Such protective order shall govern all
lack of standing to seek to quash a subpoena issued to a         confidential andlor proprietary information which may
third. party, particularly in regard to a bank's records as      arise in this matter.
other courts have detern~ined that bank records are the
 business records of the bank, and a party has no personal       2. Defendants' motion to quash the subpoenas is
right over those records. However, plaintiff ackno~vled~es       DENIED as to defendants' banking records between
the line of unreported. cases in the Fifth Circuit which         November, 2007 through February, 2011. These
have found that a party's personal interest in the               documents shall be produced by the subject financial
confidentiality of bank records was sufficient to confer         institutions in their entirety within twenty-eight (28) days
standing. See, e.g., Old Toii~lte *1; KeYhank Nat. Assn v.       of this Order. It is the parties' responsibility to
Perkins Rnwe Associates, LLC, 2011 WL 33$470, *2                 expeditiously inform the financial institutions of this
(M.D.La. January 31, 2Q11). Thus, because the authority          Qrder.
in this District and other local dish•icts dictates that this
         Case 3:16-cv-00705-JWD-EWD                  Document 11-3               01/06/17 Page 13 of 69



Pilkington North America, Inc, v. Smith, Not f2ep~rteci in ~.Su~{~.2d (2012)



                                                                  A(1 Citations
3. In all other respects, the motion is DENIED.
                                                                  Not Reported in F.Supp.2d, 2012 WL 689$54


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Fraz9er v. RaciioShack Corp., hEot Reported in F.Saspg~. d (2C}1 Z)




                                                                      Civil Rights Act of 1.964 ("Title ViT"), 42 U.S.C. § 2000e,
                 2oi2 WL 832285                                       et.req., and Louisiana's Employment Discrimination Law,
   Only the Westlaw citation is currently available.                  La. R.S. 23:301, et sey.
            United States District Court,
                  h1.D. Louisiana.                                in order to obtain informarion concerning plaintiffs
                                                                  income following his June 3, 2008 termination at issue in
                  Iaavid bV. F'RAlI~:K                            this litigation, Radiosllack issued a subpoena duces tecum
                                                                  and Notice of Records Deposition to JP Morgan Chase
           RADIOSHACK CORPORATION.                                National Corporate Services, Inc. ("1P Morgan Chase"),
                                                                  seeking plaintiffs personal banking records from June 3,
           Ci~zl Action No. io-855—BAJ—CN                         20Q8 through the present date. Iii their present motion,
                                                                  Radioshack contends that such records are necesslry to
                      March 12, 2oi2.                             ascertain inforniation concerning plaintiffs sources of
                                                                  income since June 3, 2008 because other discovery that
Attorneys end Law F'trms                                          they have obtained. thus far, such as plaintiff's federal tax
                                                                  returns for the years 2008 through 2010, plaintiff's
David W.Frazier, Baton Rouge,LA,pro se.                           deposition testimony, and plaintiff's statements for a
                                                                  brokerage account, have provided insufficient inforn7ation
George Davidson Fagan, Margaret F. Swetman, Leake                 as to how plaintiff supported himself from the time of his
Anderson, LLP,New Orleans, LA,for Defendant.                      June 3, 2008 termination through September 201 I when
                                                                  he obtained. part-time employment. Plaintiff objects to the
                                                                  subpoena duces tecum and. notice of records deposition on
                                                                  the basis that they seek disclosure of personal and private
                                                                  banking information that is privileged end to rchich
                  RULING &ORDER                                   Radioshack is not entitled because it is a private
                                                                  corporation and not a "government authority;"• that they
                                                                  seek infor►nation that is not relev~3nt to his claims; and
CHRISTINE NOLAND,United States Magistrate Judge.                  that they are overly broad in that they seek the release ~f
                                                                  joint banking account infonnatio❑ that is thz separate
*1 This matter is before the Court on the "Objection to
                                                                  property of his ~~~fe, ~uho is not a party to this lawsuit and
Notice for Records Deposition Motion to Quash"(R. Doc.
                                                                  who has not been notified by the defendant regarding the
47} filed by plaintiff, David W. Frazier ("Frazier" or
                                                                  subpoena.
"plaintifY'), which the Court construes to be a motion to
quash a subpoena duces tect~m and notice of records
deposition.      Defendant,    RadioShack     Corporation                    In his motion, plaintiff asserts that the Right to
("RadioShack"), has filed an opposition (R. Doc. 53}                         Financial Privacy Act of 19?8, 12 U.S.C. § 3401, et
relative to Frazier's motio~~.                                               secj., prevents disclosure of banking records co anyone
                                                                             but governmental authorities.



      FACTS &PROCEDURAL.BACKGROUND

Frazier fled this suit on December 22, 2010, alleging that
his former employer, RadioShack, wrongfully terminated
ham on June 3, 2008, diserin~inated against him on the                As an initial matter, it should be noted that a plaintiff
basis of his 1ge, and retaliated against hitn because he              cannot challenge a. Rule 45 subpoena directed to a third.
filed a discrimination complaint. He claims t1~at                     party on the basis that it violates another person's privacy
Radioshack's actions violated various laws, including but             rights (such as T31e plaintift's wife's privacy rights), that
AOl limited to, the Family and Medical Leave Act                      the subpoena. is overly broad, or that the subpoena seeks
("FMLA"), 29 U.S.C. ti 2601, et seq., the Age                         information that is irrelevant because only the responding
Discrimination in Employment Act. of l9(7 ("ADEA"),                   third party can object and seek to quash a Rule 45
29 U.S.G. § b21, et.cey., the Americans ~vitll Disabilities           subpoena on those grounds.2 Accordantly, plaintiff's
Act("ADA"), 42 ll.S.C. ~ 12101, et sey., Title VII of the             overbreadth, relevancy, and. priaacy objections (asserted
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on behalf of his wife) relating to the fact that. the subject        termination, Frazier failed to make reasonable efforts to
subpoena seeks records from a joint bank account that he             obtain and maintain substantially equivalent employment
shares wide ]lis wife in which she has separate property             to his employment at RadioShack. For RadioShack to
must be c{enied for a lack of standing.                              demonstrate that Frazier failed to mitigate his damages in
                                                                     that manner, it must prove that Frazie►• failed to conduct a
        See, Public Sen~ice Co. of Oklnhonuz v. ,~t Plus, b2c.,      diligent search for e►nploymenC following his termination
        2011. WL 691204, *5 (W.D.Ok1a.2011)(Defendants               by Radioshack.~ In an effort at meeting its burden of proof
        lacked standing to challenge subpoenas directed to           on the mitigation defense, Radioshack gathered records
        Uiird-parties on the basis that the subpoenas are unduly     from the Louisiana Workforce Commission; from.
        burdensome. Lvcn if a party has standinb Co challcnbe a      plaintiff's current employer, Lofton Security Services,
        subpoena directed to a third party on privacy or             Tnc.; and from Smith Barney regarding a mortgage
        privilege grounds, he may not challenge that subpoena        account from which plaintiff purportedly obtained money
        on grounds that the information imposes an undue
                                                                     to support himself since 2007. However, those records
        burden on the subpoenaed party); KEyhank National
        Assn v. Perkzns Ruwe Associates', L.L.C., 2Q11 Vb'L          and plaintiffls deposition testimony sti11 have not made
        90108, at *2(M.D.L1.2011)(defeixlants had standing to        clear how plaintiff supported himself financially from the
        challenge third-party subpoenas seeking the                  time of his June 3, 2008 termination by Radio5hack
        defendants' private bank records, but lacked standing to     through September 201.1 when he obtained part-time
        challenge other third-party subpoenas nn grounds of          employment, particularly during the years 2010 and 201 I.
        relevance or undue burden to the subpoenaed non-             Plaintiffs JP Morgan Chase bank records should reflect
        party); Streck, /,rc. v. Resecuch ~4 Diagnostic Susterns,    his sources) of income since his June 3, 2008 termination
        Irrc., 2009 WL 1562851, *3 (D.Neb.20U9}(movant               and are therefore relevant to whether plaintiff' has made
        lacked standing io contest third-party subpoenas on          reasonable efforts to secure substantially similar
        grounds of undue burden or inconvenience).
                                                                     employment since his termination.              Additionally,
                                                                     plaintiff's hank records are relevant to plaintiff's claims
                                                                     for damages in this case. Iti plaintiff is awarded damages,
        See, Sneirsvrt v. C6~emicnl Bank, ]08 F.R.D. 159. 161,       the amount of damages RadioShack is required to pay
        n.5 (D C.De1.1985)(Plaintiff argued that Uis ~~~ife's        may be offset by sums that plaintiff has received from.
        ind~pencient right to privacy in her financial records       other sources, such as through subsequent employment.%
        precluded the dei~ndant's discovery of his _joint bank
        accounts ~ti~ith her. The court held that, despite the
        plaintiff's "zealous advocacy" of his wife's separate               The undersigned also tinds that RadioShack adequately
        legal status, similar to Frazier's in the present case, he          speciiled the materials sought by the subpoena (in
        had ao standing to assert. a right to privacy ur privilege          terms of type and time period), as is required to
        on behalf of another party. He only had sCanding to                 overcome a motion to quash. See, Rice v. Reliustar Life
        challenge tt~e defcndanYs discovery because he                      lns. Go., 2011 WL X513181 (M.D.La.2011); U.S.
        personally claimed a privilege in the bank records).                ~~fapghis, 2010 WL 349583, *2 (D.Mass.2010). Thy
                                                                            subpoena seeks "[a]ny and all records associated with
                                                                            accounts mzintained by David V✓. Frazier, DUB:
                                                                            [REDACTEDj; SSti: [REDACTED] at your
*2 Furtherniore, even assuming plaintiff could assert a                     institution, including but nc~t limited to statements,
relevancy objection to the subject subpoena, it would be                    deposits, copies of checks written [ ]the accounte; all
denied since this Cou~~t has previously determined, during                  loan information, including but not limited to loan
the December 16, 2011 telephone conference in this                          applications and surety agrec;ments sec~ving any and all
matter, that information concerning plaintiff's• income a nd                loans for the period of Tune 3, 2003 through present."
                                                                            See, R. Doa 53-1.
his em}~loyment subsequent to his termination by
Radiosh<ick is relevant to this litigation, and that by filing
this lawsuit, p(aintif'f "opened himself up" to discovery
concerriin~ such matters.+ In xhe Complaint, Frazier                        Manuel v. Teio.r State TE:chnica! College, 2008 WL
asserts claims for ~uronghil termination, discrimination,                   44l 1475 (Stl~ Cir.2008)(awarding back. pay in Title VII
and retaliation under Title ViI, the ADEA, the ADA, and                     case related to a job termination where piainti(T
the FMLA and can he awarded lost earnings or backpay                        properly mitigated her damages); McClain v. Lufkrn
in connection with those claims.` In response to Frazier's                  I~idz~strres, Inc.. 519 F.3d 264 (5th Cir.2008); A1c:Lean
                                                                            v. Rcriivon. 222 F.id 1150(9th Cir.2Q00).
claims, RadioShack raised the affinmati~•e defense that
Frazier failed to mitigate his damages as required by the
ADEA and Title VTt. See, R. Doc. 8, Af~rn~ative Defense
20. Specifically, RadioShack contends th~~lt, following his
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           `Because an award of back pay is an equitable remedy                                                So.2d 157 (La.App. 5 Cir.1990), citing tt9cr~shafl v.
           desi~~ned to make the injured party whole,` the U.S.                                                Goodyear Tire cNc Rubber Co., 5.54 F.2d 730 (5th
           Fifth Circuit. Cuun of Appeals has held "that. an injured                                           Cir.1971) and A~ierritivecrther v. Herrule~, Inc., 631 F.2d
           party lias a duty ... to use reasonable diligence t~ attain                                         1161 (5th Cir.1980)(Public policy does not support
           substantially similar employment and, tlicreby, mitigate                                            double recovery by an cn~ployce of unemployment
           datnages." Jackson v. Host lrrten7., Inc., 2011 VVL                                                 benefits and wades for the same (overlapping} period of
           2119b44, * *6 (5th Cir.2011); Palasotu v. Haggur                                                    time. The decision of offset is left to the sound
           Clothing Co., 499 F.3d 474, 486 (5 th Cir.2007). Tl~e                                               discretion of the trial court); Pnlasota v. Haggnr
           burden is on the employer to prove that: (I)                                                        Clothing Co., 499 F.3d 474 (5th Cir.2007)("C~:rtain
           substantially equivalent work was available; and (2) the                                            events or circumstances mzy serve to cut off an
           foz~mer employee did not exercise reasonable diligence                                              employee's entitlement to back pay prior to the date of
           to obtain it. Icl., citing WE:st n. A~aba~s Drilli~tg L SA,                                         the judgment, such as, for example, the plaintiff's
           Inc., 330 F.3d 379, 393 (ith Cir.20~3). "Substantially                                              ~mploymeni in ahigher-plying job or 'the plaintiff's
           equi~~alent employment. i5 that employment ~}hich                                                   failure to seek other employment with reasonable care
           affords virtually identical promotiozi opportunities,                                               and diligence' ").
           compensation, job responsibilities, ~k•ocking conditions,
           and status as the position from which the [Former
           employees has been discrin~inaYorily terminated."
           Jncksnri, at * *6. If an employer can demonstrate that                                  Finally, although,. generally, when a plaintiff claims a
           llie former employee did not exercise reasonable                                        personal interest in the confidentiality of the information
           diligence, it need not prove the availability ~F                                        requested by a Rule 45 subpoena, he/she has standing to
           equivalent ~~ork. Id.                                                                   challenge the subpoena on that basis even though it is
                                                                                                   directed to a third party,v it has nevertheless been held by
                                                                                                   the U.S. Supreme Court, in U.S. v. Miller, 425 U.S. 435,
                                                                                                   96 S.Ct. 1619, 48 L.Ed.2d 7( (1976), that there is "no
           See, Slrir-u~i v. Clrildcame Learni~ag Center•, Itrc., 20Q8                             legitimate `expectation of privacy' " in the contents of
           WL x792694 (W.DAk1a.20U8}(The court found that
                                                                                                   original checks and deposit slips field by a bank.
           the piaintif~i's recent s~ilary, including prior to and after
           his employment with the defendan[, was relevant to the                                  "[b]ecause      the    checks      are    not    confidential
           inquiry ~f what type of employmt-nt might be                                            communications but negotiable instruments to be used in
           "substantially equivalent"); De Bm~che ~,. Harlev—                                      commercial transactions" and that "financial statements
           Dnvidrnn tYfntor Cn. Operc7tions. Inc., 2004 WL                                         and deposit slips, contain only information voluntarily
           260277        (7th     Cir.2004)("[I]nform~tion        about                            conveyed to the banks and exposed to their employees in
           [plaintiPPs] current. empi~yment-or the extent to which                                 the ordinary course of business." Miller•, at 442.
           she I~as rejected any additional enxployment offered to                                 Nothwithstanding Miller, some federal courts have
           her-was relevant to (defendant's mitigation] defense,                                   differed on the issue of whether a person has a privilege
           and thus discoverable").
                                                                                                   in or a privacy right to bank records held by his bank and
                                                                                                   whether that right is sufficient to provide standing to
                                                                                                   challenge a subpoena issued to 1 bank. Kc~vha,~k, at *7,
           .See, Johnsvrz v. ,'Martin, 473 F.3d 220, 222 (5th                                      n.7. Phis Corot, however, has previously held that a
           C~rr.2006)( "Undzr the ADEN, "[c]ourts uniformly                                        plaintiff lacked standing to challenge a subpoena issued to
           aPlsef interim earnings from back pay awards in order                                   leis 'bank for his bank records in die context of a civil
           to make the plaintiff t~~hole, yet avoid windtaU                                        action un privilege/privacy grounds because the plaintiff
           awards"); Stephens v. C. I.T. Grouf~lE~/uip. Fin .. /nc.,                               failed to cite a case decided by the U.S. Fifth Circuit
           95~ F.~d ]U23, 1028 (5th Cir.1992)(In the context of                                    Court of Appeals, or any federal court in Louisiana,
           the AREA, courts must offset lost wage awards with
                                                                                                   holding that such standing exists. Id .Since Frazier has
           post-temaination earnings); Ga!l~rwav v. State of La.,
           R17 F.2d 1154 (Sfh Cir.1987)(plaintiff Kos reinstated                                   likewise failed to cite any such jurisprudence in the
           with Full back pay retroactive to the date of his                                       present case, his motion to quash RadioShack's subpoena
           suspension, subject to an offset far wa~*es earned and                                  tar his banking records in the context of this civil suit
           unemployment benefits received); Grace v. Gn. UuIJ                                      should be denied. Furthermore, the undersigtzed finds fliat
           C'urp., 2002 U.S. Dist. LEX1S 19997, at * t2                                            auy privacy concerns plaintiff may have relative to
           (M.D.La?002)("[H]ad plaintiff proven sloe was entitled                                  discovery of his banking documents in the context of this
           to damages, the award would have been offset by any                                     litigation (as well as any privacy concerns relating to his
           scans thzt the plaintiff received from other sources,                                   wife's contidential information) are sufficiently addressed
           such as unemployment compensation or subsequent
                                                                                                   by the protective order entered on 1~1ay 17, 2011.~~~~
           en~ployule~nP'); Martiry v. An.slingei•, Ii7c.. 794 F.Supp.
           640 (S.D.Tex.1992); St. John The Ba~tisz Parish Assn
           qf' F.~lucutois v. St. Joltn The Baptist Schaal Bc1., 556                                          See, B~•nwiz ~~~. Brartdiek, 595 F.Zd 9G1, 967 (~tlt
                                                          .,
tP`i: F~.,.r~{R+,~~(pY   ~i a.. _.   ~~..~ .:~..   ..k ,S~ .,.   .,   __.:.~,.   ..   ,..   ~,.F   ~`.,>   ~._,..,. ._r   ~~~x   ~ l .., ~K u..
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           Cir.1979); Je~ v. D~~v Clremica! Cv., Irsc.. X02                                           financial records, not access in litigation beCween two
           F.Supp.2d 783 (S.D.Tex.2005)(A motion to quash or                                          (2)private pantie;).
           modify a subpoenz under Rule 45 may only b~ made by
           the party to whom the subpoena is directed, except
           when tl~e party seeking to challenge the subpoena has
           alleged some personal privacy right. or privilege in the                      Finally, the undersigned finds that RadioShack's request
           documents sought). Bro4,.•~a i•. Brraddick, 595 F.2d 961,                     fc~r an award of the attorney's fees that it incurred in
           967 (5th Gir.1979); Jez v. Dnw C'henrica! Cn., Inc., 402                      o~posine ttie present motion should be granted. Pursuant
           F.Supp.2d 783 (S.D.Tex.2005}.                                                 t~ Eed.R.Civ.P. 37(a}(5)(B}, where a discovery motion
                                                                                         (such as a motion t~ quash) is denied, a court most require
                                                                                         the movant, the attorney filing the motion, or bath to pay
                                                                                         the party who opposed the motion its reasonable expenses
~~'        See, K~~~bunk Nut'1 Assn v. Perkins Rowe Assocs.,                             incurred in opposing the motion, including attorney fees,
           LLC; 2010 U.S. Dist. L~XIS 121192, *7
           (M.D.La.2010)("To the extent that the subpoenas                               unless it is determined that the motion was "substantially
           require production of confidential or proprietary                             justified" or that other circumstances make an award of
           i.nfonnation, the protective order previously issued                          expenses unjust. Fed.R.C3v.P. 37(a)(5)(B). As mentioned
           affords [mover) suftici~nt protection from public                             above, during the December 16, 2011 telephone
           disclosure"}.                                                                 conference in This matter, wherein the undersigned denied
                                                                                         plaintiff's prior motion to quash subpoenas directed to
                                                                                         Louisiana Workforce Commission and Lofton Security
                                                                                         Services      concerning    plaintiff's     post-ternlinatiou
           This Court leas previously noted that La. R.S. 6:333, by
                                                                                         employment and income information, the undersigned
           it's terms, does not crepe a privilege that bars discovery
           of financial records from a banking institution that arc
                                                                                         expressly informed plaintiff that, by filing this suit, he had
           relevant and otherwise discoverable in a parCicular case.                     "opened himself up'" to discovery concerning his incon~z
           Ke~~Bnnk, at *fi. Instead, that statute only provides for                     and employment.
           specific procedwes that are to be followed before z
           customer's financial records may be produced by a                              According to RadioShack's present opposition, despite
           bank. Id., at *6-7. Ti~~se procedures appear to have                           the undersigned's comments during that conference,
           been follo~~ed by RadioShack in that'. plaintiff was                           plaintiff nevertheless filed tt~e present motion, seeking to
           personally served with the subpoena on December 21,                            quash a subpoena requesting income information through
           2011, which is more than fii'tc~n (15) business drys
                                                                                          his banking records. RadioShack also informs the Court
           prior w tl~c; Jaiauary 16, 2012 return date on Yl~c
           subpoena, and because RaelioShack provided an
                                                                                          that it contacted plaintiff and requested that he voluntarily
           affidavit establishing that service. See, La. R.S. 6:333.                      withdraw the present motion to quash in light of the
                                                                                          undersigned's advice and decision on his pt-ior motion to
                                                                                          quash during the December 16, 2011 conference.
                                                                                          Hotivever, plaintiff refused to do so, resulting in
*3 Furtherniore, regarding Frazier's argument concerniiag
                                                                                          RadioShack incurring attorney's fees to oppose the
the Right to Financial Privacy Act of 1978, 12 U.S.C'. §
                                                                                          motion.. Because plaintiff has not demonstrated that the
3401, et seq., such Act does not. apply to a private
                                                                                          present motion was substantially justified~~ and that an
corporation, such as RadioShack. Such Act only limits file                                a~a~axd of attorney's fees to RadioShack is unjust,~~
power of a government agency to issue subpoenas for the                                   RadioShack will be awarded the reasonable amount of
recorJs of bank customers. See, Tallier v. United States                                  attorney's fees that it incurred in connection with this
DOD, 2005 U.S. Dist. L.EXIS 13495 (W.D.Tex.2005).                                         motion.
The Act provides no justification for a bank's
noncompliance with a subpoena issued in a civil action by
a private corporation. Clay°tnn Bf•okcr•age Cnnt~~ay~v. Inc.                                          Considering this Court's express recognition, in
                                                                                                      Kei~l3arrk, that (1) La. R.S. 6:333 does not create a
 >>. Clement, 87 F.R.D. 569 (D.Md .198U); I~~ybcrnk Nat?
                                                                                                      privilege barring discovery of financial records that are
.As,s'n }~. Perkins RoN~e Assncs., LLC, 201O U.S. Dist.                                               relevant and otherwise discoverable in a particular case;
LEXIS 120344 (M.D.La.2010).                                                                           (2) that, under U.S. Supreme Caput jurisprudence, there
                                                                                                      is "nu le~itimnte `expectation of privacy'         in the
i~         See also, Sneirsorr, at 161 (The pri~~ile~;e against a                                     contents cjf original checks, deposit slips, and financial
           bank's disclosure ~Pa customer's [financial retards in a                                   statements;(3) that the Right to Financial Privacy Act,
           bank's custody is not established by reference co the                                       12 U.S.C. § 3401, et sey., only limits a government
           Right to Financial Privacy Act, 12 U.S.C. § 3401, et                                       authority's ability to acquire personal financial
           seq„ which limits government access to individual                                          informaYian fz~om banks and similar financial.

      g'' g; ~s  fa                            r
  ~~4 r.~?al-,~'~t~€    _-                    ~ _., ,..   v„ _~-sji   _   .7~=`...,   s~~ _.~ .,   ~aE.1~`-r   ifi;.z> ~ ~. °-.r.':C>.
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           institutions and does nat apply when records are sougUt                                     seat to the Court for irr camera inspection, pursuant. to fhe
           in the context of a civil action between private parties;                                   Court's Febniary 23,?012 Order, as soon as possible.
           and (4) that a private party only has standing to object
           to a third party subpoena when he or she has a "specific                                    IT [S FURTHER ORDERED that the Cterk of Court
           personal right wUicl~ would bar production" of his/her                                      shall mail a copy of this Order to J.P. Morgan Chase
           financial records, Frazier did not have a "substantial                                      National Corporate Services, lne., through its Registered
           justification" for Tiling the present motion.                                               Agent, CT Corporation System, 5615 Corporate
                                                                                                       Boulevard, Suite 40QB, Baton Rouge, Louisiana 7Q808.

~~         Although Frazier filed a supplemental memorandum in                                         TT IS FURTHER ORDERED that, defendant,
           support. of his motion to quash sifter RadioShack Tiled                                     RadioShack Corporation, is entitled to an award of the
           its apposition requesting attorney's fees, he did not                                       reasonable attorney's fees that it incurred in opposing the
           present any specitic arguments as to why an award of                                        present motion and that, in connection ~~-ith thai award,
           attorney's fees would be unjusi.                                                            thz parties are to do the following:

                                                                                                       (1) tf the parties agree to the amount of attorney's fees,
Accordingly;                                                                                           plaintiff shall pay that amount;

1T IS ORDERED that the "Objection to Notice for                                                        (2)If the parties do not agree to the amount, RadioShack
Records Deposition Motion to Quash"(R. Doc. 47) filed                                                  shall, within twenty (20) days of the date this order is
by plaintiff, David ~'V. Frazier, tivhich the Court conshues                                           signed, submit to the Court a report setting forth the
to be a motion to quash the subpoena duces tzcum and                                                   amount of attorney's fees incurred in obtaining this Order;
notice of records deposition directed to J.P. Morgan                                                   ar~d
Chase National Corporate Services, inc., is hereby
DENIED.                                                                                                (3) Plaintiff shall have ten (10) days aver the tiling of
                                                                                                       RadioShack's report to file an opposition.
*4 IT IS FURTHER ORDERED that J.P. Morgan
Chase National Corporate Services, inc., shall produce the
dacumeuts requested by the subpoena to defendant,
                                                                                                       AD Citations
RadioShack Corporation, subject to the protective order in
dace in this matter, within ten (10) days of receiving this                                            Not Reported in F.Supp.2d, 2012 WL $322$5
Order, and can do so by retrieving the documents that it

End of Dac~iment                                                                              ~; 2n17'1'>,arzisor~ f'E;t.aiets. Nr Clair+: t;.> or!ginal U.S. G:averrrr~terlt `•.rJCrk~;;




 ~~,fq~,   g ,n                  a
 'Y~G-~    R:. Z*t ~~`~   ~ ,~ 4~ I -   tTS.3r_ ~_{   ...,.. ~....   ~~f. ..~ :SS   ~   :jt     Y' ~   I~   ~..   ~~:=..~    ~-      .4~~~.L'.
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Hall v. Louisiana, plot Rep~r4eci in F.Sugap.3d (2014}




                                                               Election Plan of 1993, Louisiana Revised Statute
                 2oi4 WL i65279i                                13:1952, intentionally dilutes and/or has the effect of
   Only the Westlaw citation is currently available.           diluting the voting power of African Americans in
            United States District Court,                      violation of Section 2 of the Voting Rights Act of 19b5,
                  M.D. Louisiana.                              42 U.S.G. § 1973, as well as the First, Fourteenth and
                                                               Fifteenth Amendments to the United. States ConsCitution.
          Kenneth HA.t.L and F3yron Sharper                    (R. Docs.l, 74, 76, 128, 133, 180). According to
                          v.                                   Plaintiffs, since implementing die 1993 Judicial Elecrion
             State of LOUI5IA1vTA, et al.                      Plan, the demographics of Baton Rouge's voting
                                                               population has signiticandy changed. anti African
          Civil Action No. i2-65~-BAJ-RLB.                     Americans now constitute the majority of the voting age
                                                               population. In an attempt to redistrict the Baton Rouge
                 Signed Apri123, 2oi4.                         City Court sub-districts to address the changing
                                                               demographics, House Bills 1013, 945, 318 and 198 were
Attorneys and Law Firms                                        proposed in 2004, 2006, 2013 and 2014, respectively. All
                                                               were unsuccessful.
Ronald Ray Johnson, Ron Johnson and Associates,
Stephen M. Irving, Steve Truing LLC, Joel Gerard Porter,               The Louisiana (.,~gislative Digest summarized the
Baton Rouge, LA,for Plaintiff.                                         purpose of each House Bill as: "Changes the election
                                                                       sections for the City Court of Baton Roue and
Patricia Hill Wilton, Angelique Duhon Free], .iessica                  provides that three judges are elected from election
Marie Field Thornhill, Madeline S. Carbonette,                         section one and two judges are elected from election
Department Of Justice, Willia►n P. Bryan, ITT, Attorney                section tw-o." 2004 H.B. No. l0(3; 2006 H.B. No. 945;
General's Office, Edmond Wade Shaves, John Carroll                     2013 H.B. No. 31$; 2014 H.B. No. 198.
Walsh, Shows. Cali, Berthelot &Walsh, LLP, Elizabeth
Everett, Grant Joseph Guiliot, Shows, Cali &Walsh,
L.L.P., Christina Berthelot Peck, Roedel, Parsons, Koch,       As applied to modern demographics, the 1993 Plan
Blache, Balhoff &McCollister, Ashley Walton Beck,              allegedly dilutes the voting power of African Americans
Sarah Shannahan Monsour, Parish Attorney's Offce,              and results in the under-representation of African
.Tames L. Hilburn, Mary E. Roper, Baton Rouge, LA, for         American judges to die Baton Rouge City Court.
Defendants.                                                    Plaintiffs also suggest the actual process of electing
                                                               judges to the Baton Rouge City Court is racially
                                                               discriminatory. Plaintiffs urge that the State's conrinued
                                                               use of the 1993 Plan, at die least, disparately impacts
                                                               African Americans, if it does not intentionally
                        ORDER                                  discriminate.

                                                                Tha State of Louisiana, Governor Jindal, Attorney
RICHARD L. BOURGEOIS, 7R.,                United   States       General Caldwell, Secretary of State Scliedler, the City of
Magistrate Judge.                                               Baton Rouge, the Parish of East Baton Rouge, and Mayor
                                                                Holden remain as Defendants.= According to the Febniary
*l Betore the Court are various Motions to Quash
                                                                19, 2014 Scheduling Order (R. Doc. 202), the discovery
Nonparty Deposition Subpoenas and Subpoenas to
                                                                deadline was April 2 I,2014(R. Doc. 202 at 1).
Produce Documents. (R. Docs.220, 222, 223, 227). On
April 14, 2!)14, after hearing oral. argument, the Court
took the Motions [o Quash under advisement. For the                    Governor Jindal, Attorney General Caldwell, Secretary
reasons detailed below, the Motions to Quash are                       of State Schedlcr, and Mayor Holden are ail sued in.
GRANTED in part and DENIED in part.                                    their ofticial capacities.




                   I. BACKGROUND
In this action, Plaintit~; Kenneth Hall, and Intervenor,                        II. APPLICABLE LAW
[3yron Sharper (PlainCiftsl. allege Louisiana's Judicial
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  A. Voting Rights Act and Constitutional Violations                 (5th Cir.1990)(quoting Fed.R.Civ.P. 26(b){1)). The scope
To prove racial discrimination in violation of the                   of discovery is not without limits, however, and the Court
Fourteenth Amendment's Equal. Protection Clause and the              may protect a party from responding to discovery when:
Fifteenth Amendment's right to vote, a plaintiff must                (i) it is unreasonably cumulative or duplicative, or
prove the goveriunent acted ~~itll discriminatory intent. To         obtainable from some other less-burdensome source; (ii)
demonstrate discriminatory intent, a plaintiff can, but              the party seeking discovery has had the opportunit} by
need not offer direct evidencee.g., statements made by               discovery in the action to obtain. the information sought;
the legislative body or its members. Instead, a plaintiff            or (iii) the burden or expense of the proposed discovery
may rely on circumstantial evidence to show that                     outweighs its likely betaefit. Fed.R.Civ.P. 26(b)(2).
lawmakers purposefully discriminated against that
plaintiff on the basis of race. See. Ketchum v. By~~se, 740         Rule 45 governs the issuance of subpoenas to obtain
F.2d 1398, 1406 (7th Cir.19£34) ("In [Rogenr v. Lodge,              discovery from non-parties. The party issuing the
458 U.S. 613, 622-27 (1982] j, the Supreme Court                    subpoena "must take reasonable steps to avoid imposing
affirmed the district court's finding of intentional                an undue burden or expense on a person subject to the
discrimination based on indirect and circumstantial                 subpoena." Fed.R.Civ.P. ~5(c)(1). Additionally, the Rule
evidence and endorsed its reliance on a `totality of the            provides that, ou a timely motion, the issuing court must
circumstances' approach.").                                         quash or modify a subpoena if it requires disclosure of
                                                                    privileged or other protected matter, or otherwise subjects
*2 To evaluate claims of racial vote dilution under the             the subpoenaed person to undue burden.. Fed.R.Civ.P.
Fourteenth Amendment's Equal Protection Clause, courts              45(c)(3). The moving party has the burden of
rely on the totality of tl~e circumstances test. The test           demonstrating that compliance with the Subpoena would
allows courts to infer an "invidious discriminatory                 be unduly burdensome. See. Wiwa v. Royal Dutch
purpose ... from the totality of the relevant facts,"               Petrolcum Ca., 392 F.3d $12, 81 R (5th Cir.2004). A
including the discriminatory effect of a redistricting              court's consideration. of a motion to quash athird-party
scheme, by considering either circumstantial or direct              subpoena as unduly burdensome should be governed by
evidence. Rogers, 4S8 U.S. at 61$.                                  the following factors: (1) relevance of the infottnation
                                                                    sought;(2)the requesting party's need for the documents;
Unlike the Fourteenth and Fifteenth Amendments, proof               (3) the breadth of the document request; (4) the time
of discriminatory intent is sufficient, but not necessary, to       period covered by the request;(5) The particularity of the
sustain a claim wider the Voting Rights Act. Instead, a             description of the documents; and (6)the burden imposed.
Voting Rights Ac[ plaintiff may carry his or her burden by           F~Vix•a, 392 F.3d at 81.8.
either satisfying the more reserictive intent test car the
more lenient results test. See Thornbui•~~ v. Giia~>/es, 478        *3 Subpoenas issued for discovery purposes, such as
U.S. 30,43-44(1986). Under the results test, the essential          those at issue here, are also subject to the discovery
"questiol~ ... is whether as a result of the challenged             limitations outlined in Rule 26(b). See Htu:S•ey v. State
practice or structure plaintiffs do not have an equal.              Fcr~•rn Llc~vds If:s. Co., 216 k'.R..D, 591, 596
opportunity to participate in the political processes and to        (E.D.Tex.2003); 9A Wright &Miller, Federal Practice &
elect candidates of their choice." Tlor•nburg, 47€i U.S. at         Procedure 2d ~ 2459 ("Of course, the matter sought by
44. To effectively answer this question, "a count must              the party issuing the subpoena must be reasonably
assess the impact of the contested structure ar practice on         calculated to lead to admissible evidence as is required by
minority electoral opportunities on the basis of objective          the last sentence of Rule 26(b)(1).")
factors."Id.


                                                                                        III. DISCUSSION
     B. Rules 26 and 45 of the Federal Rules of Civil
                          Procedure                                    A.1Vlotion to Quash Subpoena lssued to Christina
Rule 2fi(b)(I) of tl~e Federal Rules of Civil Procedure                                        Peck
governs the scope of discovery. Under Rule 2b, a party              nn April 4, 2O14, Plaintiffs issued. a Rule 45 subpoena to
"may obtain discovery ~•egarding any nonprivileged                  Christina. Peck. The subpoena asked Ms. Peck to appear
matter that. is relevant to any party's claim or defense." A        for a deposition on April I5, 2014 and to produce
relevant discovery request seeks infarmation that is                documents. (R. Doc. 220—I at 3, 7). The Notice of
"either admissible is reasonably calculated to lead to the          Deposition explains that questions "will be limited to
discovery of admissible evidence." McLeod, Alexande~~,              [Ms. Peck's] testimony given before the House and
Pot~~el c~ :~~~f1el. P.C. v. Qta~ii•les, ~9~ f=.~d I~S2, 148        Governmental Affairs Committee on May 19, 20Q4 a.nd
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infornlation related to House Bilf 1013.(R. Doc. 220-1 at                                            by the attorney-client privilege and the attorney work
1). The subpoena additionally seeks production of the                                                product protection, a~ad is unduly burdensome."(R. Doc.
following documents:                                                                                 22O at 3).

   Document Request No. 1                                                                                        P1ainYiff Halt had alleged, among other things, that the
                                                                                                                 three judges "actively campaigned and testified in
   All documents and commu«ications, including e-mails,                                                          opposition" Co legislation          that would        have
  concen~ing the Baton Rouge City Court, the Judicial                                                            reapportioned the City Courtjudgeships and also "acted
  Election Plan, and the Voting Rights Act, including:(a)                                                        rndividually and in concert with others in. the
  contracts of employment between you and Judges                                                                 intensional defiance of the Plaintiff's righC of suffrage."
  Ponder, Wall and Davis and the Baton Rouge City                                                                (R. Doc. 1 at ~~ 77; R. Doc. 74 ac ¶ 13).
  Court;(b) evidence of payment under those contracts;
  (c) expert reports, opinions and drafts of reports and
  opinions from any expert retained as a result of airy                                              *4 An opposing party's counsel is not. "absolutely
  contracts of employment; and (d) revisions and/or                                                  immune tro~n being deposed." Shelton v. Arr~c:rican
  changes to the 1993 Judicial Election Plan.                                                        r~9otors Corgi., SOS F.2d 1323. 1327 (8th Cir.1986).^
                                                                                                     Ho~sever, courts should only allow an opponent's counsel
  Document Request Nos. 2-6                                                                          to be deposed in limited circumstances—i.e., where the
                                                                                                     party seeking the deposition has shown that:(I)"no other
  All documents related to the legislative redish•icting
                                                                                                     means exist to obtain the information than to depose
  process leading to the planning, development,
                                                                                                     opposing counsel;"(2)"the infoinlation sought is relevant
  negotiation., drawing, revision or redrawing of the 1993
                                                                                                     and nonprivileged", and (3)"the information is cnicial to
  Judicial Election Plan, House Bill 1013 of 2004, House
                                                                                                     the preparation of the case." Slrelt~ra, 845 F.2d at 1327.
  Bill 945 of 2001, House Bill. 318 of 201.3 and House
                                                                                                     Regardless of the movant, Shelton makes cle~►r that the
  Bill 198 of 2014, and any documents related to the
                                                                                                     party asking to depose its opponent's counsel bears the
  defeat of House Bilf lOl3 of 2004, 945 of 2006, 318 of
                                                                                                     burden of proof.
  2Q13 and 198 of 20].4 (proposed House Bills).

  Document Request Nn. 7                                                                                         Ms. Peck. cites several Eastet~~ and Middle District
                                                                                                                 cases to support her suggestion that article 508 of the
  All documents—including payments for services,                                                                 Louisiana Code of Evidence instructs the Coart's
  agreements of representation and contracts of                                                                  resolution of her Motion to Quash. (R. Doc. 22(}-3 at
  employment--ot any person or eniity as a voting rights                                                         2-3). However, Louisiana's Code of ~vidcnce is
                                                                                                                 inapplicable because: "Questions of privilege that: arise
  expert, attorney, ar lobbyist relating to the planning,
                                                                                                                 in the course of adjudication of federal rights are
  development, negotiation, drawing, revision or                                                                 governed by the principles of the common law as they
  redrawing of the 1993 Judicial Election Plan, House                                                            may be interpreted by the courts of the United States in
  Bill 1013 of 2004 and House Bill 945 of 20QCi.                                                                 the light of reason and experience." tI.S. v. 7_olin, 491
                                                                                                                 U.S. 554, 562 (1939)(quoting Fed.R.Evid. 501). But,
(Peck Subpoena, R. Doc. 220-1 at 13-14).                                                                         even though article 508 is not controlligg, the Couri
                                                                                                                 notes that article 50$ Ind the federal common law
According to Plaintiffs, Christina Peck appeared and                                                             essentially employ the same substantive analysis in
testified before the Louisiana Legislature on behalf of                                                          considering whether to al]ow the deposition of
former Defendants, City Court Judges Suzan Ponder,                                                               opposing counsel. Compare La. C. livid. an. 508
                                                                                                                 {considering whether the inf~i•mat~on sought is (a)
Alex Wall and. Laura. Prosser (the judges), in opposition to
                                                                                                                 essential to thz case,(b) not intended is harm or harass,
the redistricti~lg legislation, House Bill I()13 of 2004 and                                                     (c) narrowly tailored and (d) nut mailable from any
House Bill 945 of 2 06. Plaintiffs dterefore suggest the                                                         oilier source), 4ti•ith Fed.R.Civ.P. 26(b),(g) (discovery
testimony and documents sought from Christina Peck are                                                           requests may not be overly broad or intended to harass),
relevant and discoverable.' The three judbes are fornler                                                         and Shelton, 805 F.?d at 1327 (considering, among
Defendants, bus R1s. Peck did not represent them in this                                                         other Chings, whether the informati~~~ is "crucial" and
litigation. (Order Dismissing Judges, R. Doc. 177).                                                              may be obtained by any other means).
Instead, Ms. Peck currently serves as counsel of record
for Defendants, City of Baton Rouge, Parish of East
Baton Rouge and Mayor Holden. As such, Ms, Peck                                                      Plaintiffs' case does not present the limited circumstances
moved to gl►asll the subpoena o►~ April 8, 2014 "because it                                          described. by the Shelton Court.. To begin, to the extent the
is overly broad, seeks production of i~iformation protected                                          questioning in the deposition will be limited to Ms.Peck's
                                              ..             ~,                                                                  _.                  ~a      ~.~,~.
                   i
 ~ay1~4r~. a._, ~ss2   e. ~   ~   ~ ~,   ,.. ?E   t   a.i., .,~   ~bs.. i s<~3   ., _. ."~4 E   .~   ~., .,   ...-.fit. _,S   ,{e:<   _ ~=.,, c~'1.~,.                   ~~S
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testimony on House Bill 1p13 given before the House and            discrimination and non-privileged, that information is not
Governmental Affairs Committee on May 19, 2004,                    "crucial" to those claims, liven they may be proven
counsel his obtained a transcript of that testimony. (R.           through circuinsta~~ti~l evidence. See Miller v. Joh~i.cnn,
Doc. 225 at 5).~ There is no nezd to depose Ms. Peck               515 U.S. 90O, 916 (1995) (plaintiffs may use direct or
about what was said when the testimony itself is                   circumstantial evidence to establish violation of Voting
available. As the District Judge previously explained to           Rights Act); Vilinge c?f Arlington Heights v. .Met~•n.
Plaintiffs, "to the extent [Ms. Peck] ►nay have testified          Housi~ag Dev. Cnrl~., 429 U.S. 252, 266—fi7(1977} (direct
before a legislative body or any~~~here else where there           and circumstantial evidence can be tiled to show
has been a transcript of her testimony ... that certainly          intentional di;criminatiou under the Equal Protection
would be enough."(Mot. to Disqualify Hr'g Tr., R. Doc.             Clause).
2.(9 at 12).
                                                                   Finally, Plaintiffs only allee~ that Ms. Peck provided
       Plaintiff Hatl's opposition mistakenly refers Co z          testimony before lawmakers regarding House BiU 10(3 of
       transcript of testimony occurring in l~9ay, 2014 instead    2004 and House Bill 945 ~f 2006. Nonetheless, they have
       0l'2004.                                                    subpoenaed infc~rniation which potentially spans Ms.
                                                                   Peck's 30 year career of litigating Voting Rights Act
                                                                   cases, including all documents "concerning the ... Voting
Plaintiffs' remaining claims concern the current effects of        Rights Act" as well as al] documents "related to the
the 1993 Judicial Election Plan and the failure of the             legislative redistricting process" for specified time
legislature to enact subsequent legislation that would have        periods, regardless of whether any such documents were
allegedly remedied any negative effects resulting from the         ever provided to or presented to any legislative body.(R.
1493 Plan's continued use. Plaintiffs argue that Ms.               Doc. 220-1 at 13). The subpoena gave Ms. Peck
                                                                   approximately i l days to camply. Plaintiff has made no
Peck's testimony is relevant to the claims of intentional
discrimination and the claim for vote dilution "based on           showing to justify such an overreaching and burdensome
                                                                   request.
the 2010 Census Data."(R. Doc. 225 at 5). Plaintiffs ha>>e
not sufficiently identified how any lobbying efforts or
testimony by M5. Peck before the legislature, years prior          To the extent that the requests far documents seek to
to that data being available, are relevant, much less              obtain evidence of communications, contracts and
cnicially relevant, to their claims before the Court. The          payments between Ms. Peck and her forrrier clients,
                                                                   Plaintiffs have not Shown how Chose items arz both na~~-
Court reiterates the District ,fudge's reasoning that the
outcome of this case "will not be based upon any                   privileged and relevant to the remaining causes of action.
lobbying efforts made by anyone" and so long as Ms.                The city court judges are nn longer parties to this suit.
Peck adheres to any rules governing "lawyer conduct with           Even if non-privileged evidence exists of a relationship
respect to legislative bodies ... she's certainly entitled to      between Ms. Peck and her former clients, Plaintiffs have
engage in that sort of conduct."(R. Doc. 219 at 14).               not demonstrated the relevance of that relationship to the
                                                                   remaining causes of aetiaa.
Beyond that, even assuming that Ms. Peck's testimony
before any legislative body some ten years ago is relevant         The Court finds that the circumstances sufficient far the
to the remaining claims, questioning Ms. Peck regarding            deposition of opposing counsel are not present. The Court.
the circumstances surrounding that testimony such as any           also finds that the subpoena request fails to allow for a
communications she bad ~~~ith 1}er clients in preparation          reasonable time to comply and. is also unduly
for such appearance, would necessarily infringe upon               burdensome. For these reasons, Ms. Peck's Motion. to
confidential    attorney-client communications. Tl~e               Quash is GRANTED.
attorney-clieu2 privilege is held by the clients, not Ms.
Peck, and she is without authority Co waive it. See
An2er•iccur Can Co. a Citt-tts Feed Co., 436 F.2d 11.25,
                                                                   B. Motion to Quash SubpoenA Issued to the City Court
1128 (5th Cir.1971) (explaining that as holder of
                                                                                             Judges
privilege, only client may waive it and fact that "one
                                                                   On. April 4, 2014 and. April 7, 2014, Plaintiffs subpoenaed
ceases to Ue a client after communication with the
                                                                   Judges Ponder, Prosser and Wall ("the judges") to appear
attorney makes no difference; the lawyer's lips must
                                                                   for depositions and to produce the following:
continue to remain sealed").
                                                                     Document Request Nos. 1-5
*5 Even if the legislative testimony provided by Ms. Peck
is relevant to Plaintiffs' claims of intentional                     X111 documents related to the legi~lati~-e rcdisU•icfing
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   process which led to the defeat, planning, development,       benefit of the citizens of Baton Rouge generally." (R.
   negotiatiop, dra~~~ing, revision or redrawing of the 1993     Doc. 177 at 18). The Court noted. that even allegations of
   Judicial Election Plan, House Bill 1O13 of 2Q04, House        bad faith or malice are not sufficient to overcome
   Bil! 94.5 of 2()Ofi, House Bill 318 of 2013 and House         immunity. The Court detern~itied that the judges were
   Bill I y8 of 2014.                                            entitled to absolute judicial immunity and dismissed the
                                                                 suit against them.•
   Document Request No. b
                                                                        1"hc District Judge noted that judicial immunity
  All documents—including payments for services,
                                                                        included immunity from suit as well as in~muniry from
  agreements of representation and contracts of                         damages.(R. Doc. 177 at 15).
  employment—indicating retention of any person or
  enTity 1s a voting rights expert, attorney, or lobbyist
  relating to the planning, development, negotiation,
  drawing, revision or redrawing of the 1993 Judicial            Despite having those claims dismissed, Plaintiffs seek to
  Election Plan, House Bill 1013 of 2004 and House Bill          depose the judges and presumably inq~iire about the
  945 of 2006.                                                   circumstances surrounding those same acts that have
                                                                 previously been found to be judicial in nature. The judges
*6(R. Doc. 222-3 at I l ).                                       argue that any testimony ar information they could.
                                                                 provide is irrelevant. 1n opposition, Plaintiffs summarily
In their• Motion to Quash and supporting Memorandum              assert that the judges' actions over the past ten years go to
(R. Doc. 222}, the City Court judges request that this           the very heart of his case. Plaintiffs' case, however, no
Court quash the subpoenas because (1) Plaintiffs have            longer includes those claims against the judges that they
failed to comply with Louisiana Code of Evidence article         "actively campaigned and testified in opposition" to
519 aiad (2) the information sought by the subpoenas is          legislation that ~=ould have reapportioned the City Court
irrelevant.(R. Doc. 222—I).                                      judgeships and also `'acted individually and in concert
                                                                 with others in the intentional defiance of the Plaintiffs
In opposition, Plaintiffs argue that article 519 is              right of suffrage."'(R. Doc. 1 at ~i 77; R. Doc. 74 at ¶ 13).
inapplicable because this is a federal case involving            There is also no question that the judges have no role in
matters of federal law. Plaintiff HaU further cotes that the     the enforcement of the 1993 Judicial Election Plan and no
judges' attempt to apply, by analogy, cases regarding            duty or responsibility to take action in response to any
Lauisiaiaa Code of Evidence article SOR, are                     shift in the voting population in the Baton Rouge area.
distinguishable for this same reason. The Court agrees
and will not gztash the subpoenas fir failure to follow the      *7 Plaintiffs also contend the judges' interest in
procedural and substantive requirements of article 519.          incumbency protection may be relevant to their claims.
                                                                 Plaintiffs have not sho«n, ho~~ever, ~vhy the subjective
In both the Opposition and during oral argument, counsel         intent or motivations of an individual citizen regarding a
for Plaintiffs explained that he intends to depose the           decision. by the legislature as to whether to enact a ta~~ is
judges as "merely fact witnesses] who opposed, testified,        relevant. Plaintiff Hall. has provided no legal. support for
and who may have lobbied the Defendants anc{Jor state            the proposition that the subjective intent of the judges
legislataxs before, during, and post legislative hearings        bears on the presence of discriminatory intent of the
considering amendments to the Judicial Election Plan."           legislative body.
(R. Doc. 22fi at 3). Essentially, Plaintiffs intend to
question the judges about their activities before the            Even if tl~e Court were to assume that the statements of
le~isl~ture.                                                     the judges to the legislature were relevant, the testimony
                                                                 opposing the proposed House Bills is available in the
Conhary to Plaintiffs posiCion, however, the judges were         transcripts of those hearings. Second, there is no dispute
not mere fact witnesses when testifying before the               that the three judges have an interest in incumbency
legislature. Plaintiffs repeat their argument that the           protection.(R. Doc. 219 at tQ)("Na question about it.").
judges' actions were non-judicial and outside of their           As such, facts relevant to those points are readily
function as judicial officers. This argument was rejected        available from. other sources. Finally, the District Judge
by the District Judge in his arder dismissing the judges'        conceded his willingness to assume that lobbying efforts
fi•om this lction. (R. Doc. 177 at 14-19). In that ruling,       occurred in connection with the proposed House Bills.(R.
the court specifically concluded that these acts were            Doc. 219 at 15) ("B~sed upon the arguments that were
`judicial in nature" even if certain actions "may" Have          previously made at prior hearings, it's clear to me that
been taken `'for their o~vn ~~ers<m~( benefit, and not for the   there ~~-ere some lobbying efforts."). The District Jude,
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however, also made clear that Plaintiffs did not show liaw
those lobbying efforts ire relevant to their claims. (R.                                    *8 The legislators also argue that the documents sought
Doc. 222—fi}. Plaintiffs have likewise failed to do so here,                                ire irrelevant because the iutent of the legislaiors has no
especially ~~~here the claims against those judges have                                     bearing on Plaintiffs' claims which may be proven by
been dismissed .' This Court agrees that Plaintiffs have                                    circumstantial, as opposed to only direct evidence. (R.
again not shown the relevance of any lobbying efforts by                                    Doc. 223-1 at 8, 10-i l).
the judges. As such, the Court GRANTS fhe judges'
Motion to Quash the Rule 45 subpoenas issued by                                             Finally, the legislators suggest that the subpoenas are
Plaintiffs.                                                                                 unduly burdensome. Plaintiffs seek. documents spanning
                                                                                            21 years and covering 23 specific categories. The scope of
             1n ar~umenc before the District Judge at a hearing                             the documents in each category is essentially limitless.
             concerning a motion t~ disqualify Ms. Peck, counsel for                        The subpoenas commanded the legislators and staff to
             Plaintiils stated that the lobbying efforts of the judges                      appear for deposition and produce those documents on
             and Ms. Peck "might be an element of the claims                                April 16, 2014—within less than two weeks of service
             against some of the parties ... such as the judges." (R.                       and only 6 days before the discovery deadline, all while
             Dec. 222-6 at 1A-15}. Again, those claims are no                               the legislature is in session.(R. Doe. 223-I at 12).
             1Qnger part of this litigation.
                                                                                            The legislators do not object, however,"to furnishing Mr.
                                                                                            Hal] with any document or files considered public records
                                                                                            under Louisiana law including the legislative histories,
                                                                                            committee minutes, and available audio and video for the
      C. Motion to Quash Subpoenas Issued to the                                            named bills."(R. Doc. 223-1 at 2).
                          Legislators
On April 4, 2014, Plaintiffs issued subpoenas to John A.                                    The District .Tudge, citing .Terrrrev v. Br•a~zdliove, 34:1 U.S.
Alai•io, Jr., P►•eside~zt of the Louisiana Senate; Charles                                  367 (1951), has already determined that the individual
Kleckley, Speaker• of the Louisiana Nouse of                                                legislators are absolutely immune from liability for their
Representatives; Dr. William Blair, Demographer of the                                      legislative acts. (R_ Doe. 178 at 16). The question here,
Louisiana Legislature; and Alfred Speer, Clerk of the                                       however, is whether that legislative immunity gives rise
Louisiana House of Representatives (legislators), for both                                  t~ a general evidentiary privilege, allowing them to refuse
the production of documents and deposition testimony.                                       to provide evidence in a civil la~vsuix related to their
Broadly summarized, the subpoenas ask for information                                       legislative activities.
concerning: (1) die identities of persons participating in
the legislative redistricting process; (2) communications                                   The Speech or Debate Clause of the First Amendment
the legislators had wikh any other government official or                                   gives ,federal legislators "two distinct privileges (1)
interested party about the 1.993 Plan or any of the                                         freedom from questioiain~, which is in the nature of a
proposed House Bills; (3} the factual information                                           testimonial privilege, and (2) freedom from liability,
considered in connection with the 1993 Plan and the                                         which means that reference may not be made in court to a
proposed House Bills; (4) tinalized snaps and any drafts                                    defendant's legislative activities." U.S. a Swindell, 971.
of maps relevant to the 1993 Ptan and the proposed House                                    F.2d 153], 1544 (11th Cir.1992) (member of the U.S.
Bills, as well as the individuals contributing to the                                       House of Representatives); Eastland v. C•'.S. Servicemen's
creation of those maps and the data they relied on; and (5)                                 Fund, 421 U.S. 491, 502-03 (1975) (absoh~te privilege
documents, reports or other infornlatio~i provided by any                                   from testimony and absolute immunity from liability in
experts or consultants associated with the 1993 Flan and                                    Speech or Debate Clause applies to Congress).
the proposed House Bills.
                                                                                            However, the Speech or Debate Clause only applies to
The legislators argue that the subpoenas should be                                          U.S. Congressmen and not to state legislators. Instead, the
quashed because, as Judge Jackson previously held,                                          state lawmaker's "legislative privilege is governed by
Senator Alario's aid Representative Kleckley's conduct                                      federal common law, as applied through Rule ~O1 of the
related to Plaintiffs' claims was legislative in nature and                                 Federal Rules of E~~IC{021CC." Favors v. Cuomo, 2H5 F.R.D.
entitled them to absolute immunity.(R. Doc. 223-1 at 7);                                    187, 2U9 (E.D.N.Y.2012); Vallagc ofArlingtofa~, 424 U.S.
(Order, R. Doc. 178 at 18j. The legislators suggest that                                    at 2(8 (recognizing a testimonial privilege for state
because the requested documents and intended testimony                                      legislators and severely limiting, Uut not foreclosing, the
center on the same legislative acts, the legislators ai d                                   possibility of piercuig the privilege in ~iiscriminatory-
their staff are absolutely immuii~ from testifying nn those                                 intent claims). Unlike the absolute privilege afforded to
matters.(R. Doc. 223-1 at 7).
 ~~`'a ^:. Y,T $l~ia$H$'N   <~~.5                                   I."';t    ~ (~1j   ..   ✓   ,.   ~.✓r~3`.,'.,.   i s ...    f .,, i..1„
                                                                                                                               r.
                                    I~,'!   .. ~'   »_..ems.   .-
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 members of Congress, the legislative privilege for state                                                           legislation, the Court wi11 look to
lawmakers is qualified and. capable of yielding. Rodri~,nrez                                                        statements by legislators for
 v. Pc~taki, 28(7 F.Supp.2d fig, 93-94 (S.D.N.Y.20Q3);                                                              guidance as to the purpose of the
(Hobert a Cite q/' Stafford, 784 F.Supp.2d 732, 763                                                                 legislature, because the benefit to
(S.D.Tex.201 1) (recognizing a qualified privilege for                                                              sound decision-making in this
 local legislators).                                                                                                circumstance is thought sufficient
                                                                                                                    to risk the possibility of misreading
The Count, therefore, recognizes the existence of a                                                                 Congress' purpose. It is entirely a.
common ]aw statz legislative privilege that may yield in                                                            different matter when we ire asked
certain circumstances. As such, the question becomes                                                                to void a statute that is, under well-
whether the disclosure of certain e~°idence should be                                                               settled criteria, constitutional on its
allowed. In making this determination, the Court must                                                               face, on the basis of what fewer
balance ttie interest of the party seeking the evidence                                                             than a handful of Congressmen said
against the interest of the one claiming the privilege by                                                           about it. What motivates one
considering the following factors:                                                                                  legislator to make a speech about a
                                                                                                                    statute is not necessarily ~~hat
       *9 (i) the relevance of the evidence sought to be                                                            motivates scores of others to enact
       protected;                                                                                                   it, and the stakes are sufficiently
                                                                                                                    high for us to eschew guesswork.
       (ii) the availability of other evidence;
                                                                                              Hunter v. Undertivoott, 471 U.S. 222, 228 (1985); ,see also
       (iii) the seriousness of the litigation and the issues
                                                                                              Palmer v. Tftom~sori, 4~3 U.S. 217, 224 (1971)("no case
       involved;
                                                                                              in this Court has held that a legislative act may violate
       (iv) the rote of the government in the litigation; and                                 equal protection solely because of the motivations of the
                                                                                              men who voted foc it"}; Hispanic Coal. orz
       (v) the possibility of fi►ture timidity by government                                  Reuppvrtivnrnent v. Legzslativc Reap~ortio~~ment Comm.,
       employees ~vho will be foxced to recognize that their                                  S36 F.Supp. 578, 586 (D.Pa.1982) (discri.minatory
       secrets are violable.                                                                  statements made by chairman of city redistricting
                                                                                              committee were insufficient to prove discriminatory intent
Perez v. Per•~y, No. 11-360, 214 WL 106927, at *2                                             abseiat a showing that state legislative body adopted
(W.D.Tex. Jan. 8, 2(11.4)(citing Rudrioccez, 280 F.~upp.2d                                    chairman's views). The Court finds that while certain
at 101.). in considering these factors, "the court's goal is                                  requested evidence may be relevant, "it is not central to
to determine whether the need for disclosure and accurate                                     the outcome of this case." Comm.,for a Fair- cY~ Bcalaraceci
fact finding outweighs the legislature's `need to act free                                    tLTcrp, 201 I tiVL 4837508, at *H.
of worry about inquiry into [its] deliberations.'" Vecrsey
v. Perrv, No. 13-193, 2014 WL 1340077, at *2(S.D. Tex.                                        Even where contemporaneous statements by members of
April 3, 2014)(citing Camm.fin• a Fuir & Bctlurrced R1ap                                      the decision. making body may be relevant, those can be
n. II/. State Bd. of Elections. No. ll—SOfiS, 2011 WL                                         reflected in transcripts, meeting; minutes, or reports.
4837508, at *7(N.D.IIL Oct. 12, 20l 1)).                                                       Village ofArlington, 429 U.S. at 2f8. The legislators have
                                                                                              recognized that these types of other e~~idence, specifically
The legislators argue that the evidence requested is                                          "any document or files considered. public records under
irrelevant to sho~~r discriminatory intent. Contrary to the                                   Louisiana law• including the legislative histories,
legislators' argument, statements made by members of the                                      committee minutes, and available audio and ~~ideo for the
lawmaking body are relevant to slio~v discriminatory                                          named bills," are not objected to and will be provided.(R.
intent, which may be part of the proof used to establish                                      Dac. 223-1 at 2). During argument, counsel for the
Plaintiffs' substantive claims. See Village nf' Ar-lingaota,                                  legislators indicated that. some of Plaintiffs' document
429 U.S. at 268. But this is just one factor among many                                       requests canceriung the objective evidence available to
that Plaintiffs may use to prove their claims. As                                             and relied upon by the le~*islators in connection with the
ackno«riedged by the Supreme Court,                                                           1993 Judicial Election Plan, including Election Sections 1
                                                                                              and 2, and. the House Bills proposed in 2004, 2006, 2013
                     Inquiries    into    congressional                                       and 2014 are matters of public record. As these
                     motives or purposes are a                                                documents are matters of public record, flats factor weighs
                     hazardous matter. When t11e issue is                                     against disclosure.
                     simply the interpretation of
      r.                                                                                                                      ~~                      ~.~.,..._
                                               .
 ~~~~'.",~~,3_r~~§t"'r'   '~,:   :.:'rf   it t• ,...~awis>..   ,,.   ~<`tiS`Y       ' § ...
                                                                                ..; r         ..,.,... ;_~,_;;...    7~...., 4. ...:{`..~.                    ,'
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        While such publicly a~~<lilable evidence may be useful         any procedures used by lawmakers in the legislative
        in establishing discrirninacory intent, the Court              process as well ~s the identification of any specittc
        re~;ognices, ho~~ever, the "practical reality that officials   legislators that were involved in any particular step in the
        seldom, if ever, announce ~n the record chat they are          process. The Court finds that any need for this
        pursuing a particular course of action because oP their        information is outweighed by the purpose of the qualified
        desire to discriminate against a racial minority."             privilege.
        Y"etiscv, 2Q14 WL 13400?7, at *3.
                                                                       With respect. to facts or information that were made
                                                                       available to lawmakers at the time of their decision, the
*10 The Court finds that the third and fourth factors                  Court concludes that these materials are not shielded.
weigh in favor of disclosure. Plaintiffs raise serious                 indeed, to the extent that this information is part of the
questions about the continued use of the Judicial Election             public record, the legislators represent that they will
Plan of 1993 and its effect of diluti~ig the voting power of           provide that inforrnation.° This also includes, however,
African Americans iu violation of Section 2 of the Voting              information, reports or recommendations provided by
Rights Act, as well as the First, Fourteendl and Fifteenth             outside consultants, experts or lobbyists utilized in
Amendments to the United States Constitution. Plaintitifs              consideration of the legislation and any contractual
allege that discriminatory motives were likewise involved              agreements related thereto.
in the tailed attempts to redistrict the Baton Rouge City
Court sub-districts to address the changing demographics                      Assuming Defendants intend to present expert
in the defeat of House Bills 1013, 945, 318 and '198 that                     testimony, much of this is likely discoverable under
were proposed. in 2004, 2006, 2Q13 and ?Q14,                                  Rule 26(a)(2)(B)(ii) of the Federal Rules of Civil
respectively. The rote of the government in the alleged                       Procedure.
conduct is direct.

The fifth factor weighs against disclosure. Couirts have               *11 With these parameters in place, the Court no~x turns
long recognized that disclosure of confidential documents              to the specific document requests made by the Plaintiffs.
and communications concerning intimate legislative                     In their Opposition, Plaintiffs claim that the subpoenas
activities should be avoided. Vecrsey, 2O14 WL 1340077,                were issued "narrowly" acid should not be quashed in any
at *3 n.7 (collecting cases). Failure to atiford proeection to         way. (R. Doc. 235 at I ). Contrary to that assertion, the
such confidential commanications between lawmakers.                    subpoena is quite expansive in both the time periods
and their staff will not only chill legislative debate but             covered as well as the near limifless scope of materials
also discourage eaxnest discussion within governmental                 requested. Perhaps realizing the privileged nature of
walls. The Court also recognizes that inquiries regarding              certain infornlation that would be responsive under the
the specific motives of individual legislators, or advice              subpoena, Plaintiffs have ottered to "amend the subpoena
and recommendations used by those legislators to support               daces tecum to remove" any documents or inforniation
their decision, will encourage timidity and hamper the                 "containing; the motives and intent of:individual members
legislative process.                                                   of the Louisiana Legislature."(R. Doc. 235 at 9).

The Court finds that the balance struck by the district                As noted above, Plaintiffs also served these subpoenas
court in Cornn:ittee fnr a Fair and Bulartcc~c! ;l~a~ is               during the legislative session and demanded production of
instructive aid also ap~roPriate in this case. 241.1 WL                the documents and depositions to occur in less than two
4837508, at *9-1~. As the Committee Court explained,                   weeks. Considering the expansive scope of the requests
the privilege applies to any documents ox information that             and the potentially privileged nature of the information
contains or involves opinions, motives, recommendations                requested, it was also unreasonable to expect the
or aduice about legislative decisions between legislators              preparation of a privilege leg within the requisite amount
or between legislators and their staff. The broad and                  of time. In addition, Plaintiffs also failed to give the
speculative assumptions made by Plaintiffs are                         required notice to the remaining Defendants of these Rule
insufficient to warrant a finding that the legislative                 45 subpoenas. The Court therefore finds that the
privilege should yield in this case to allow disclosure of             subpoenas did not give the third party legislators and their
the motives, intent and commui~ic~tions of the                         staff a .reasonable time to comply and also subjects theme
subpoenaed legislators or the identities of specific                   to an undue burden. Pursuant to Rule 45, the Court must
legislators involved in the decision-making process. The               quash or modify any such subpoena. Fed.R.Civ.P.
privilege therefore also applies to any infarmafion that               45(d)(3)(A).
would reveal such opinions and motives. This includes
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Hall u. Lbuisian~, hJot Reported in F.Sug~p.3d ('2U94}



For the foregoing; reasons and for those set forth in the                                      Substantively, Plaintiffs have not set forth the
following section, the legislators' Motion to Quash is                                         discoverable, non-privileged end relevant information that
GRANTED in part end DENIED in part.                                                            would be obtained through these depositions in
                                                                                               accordance with the factors outlined above. The Court
The requests for documents contained in the subpoenas                                          finds that quashing the deposition subpoenas is
are modified in that the legislators are not required to                                       appropriate pursuant to Rule 45(A)(i),(ii) and (iv).
produce any responsive documents or information that
cantuins or involves opinions, motives, recommendations
or advice about the referenced legislation, including
communications between eittaer legislators, or legislators                                     D. Motion to Quasli by State of Louisiana and Notice
and their staff. This also includes any procedures used by                                                     and Timing of Subpoenas
lawmakers in the legislative process as well as the                                           Rule 45 of the Federal Rules of Civil Procedure provides
identification of any specific lebislators that were                                          that "[s]erving a subpoena requires delivering a copy to
involved in any particular step in the process.                                               the named person." Fed.R.Civ.P. 45(b)(1). "If the
                                                                                              subpoena commands the production of documents ..., then
To the extent there are documents responsive to Plaintiffs'                                   before it is ser~~ed on the person to whom it is directed, a
requests that have been made a part of the legislative                                        notice and a copy of the subpoena must be served on each
record or would otherwise constitute public records,                                          party." Fed..R.Civ.P. 45(a)(4). The "purpose of such
including "the legislative histories, committee minutes,                                      notice is to afford other parties an oprorhanity to object t~
and available audio and video for the named bills" as                                         the production or inspection." Westside—Marrero Jeep
identified by the legislaTors in the Motion. to Quash, those                                  Ecigle, Inc. v. CF:rysler Corp. Inc., No. 97-3012, 1998
documents are properly the subject of discovery and the                                       VVL 1$6705, at ~`7 (E.D. La. April 17, 1998)(citing prior
Court does not find that trey ~~ould be co~~ered by any                                       version at Fed.R.Civ.P. 45(b)(I)). Rule 30(b)(1) of the
privilege. (R. Doc. 223-1 at 2). Ttie responsive date on                                      Federal Rules of Civil Procedure requires that "[a] person
the subpoena, however, is modified and this inPonnation                                       who wants to depose a person by oral questions must gi~~e
sha11 be provided no later than 1V1ay 7, 2014. Plaintiffs are                                 reasonable written notice to every other party." Failure to
responsible for providing a copy to all other parties in the                                  serve a copy of a subpoena upon au opposing party or to
litigation.                                                                                   give notice of its content deprives that party of any
                                                                                              meaningful right to object or to otherwise protect its
Finally, to the extent not covered by documents in the                                        interests.
public record, the legislators shall provide any facts or
information in their possession that were made available                                      Plaintiffs issued 8 subpoenas to thz various third parties
to lawmakers at the time of their decisions, including any                                    nn either April 4, 2014 or April 7, 201.4 commanding
i~~farmatio», reports or recommendations provided by                                          them to appear for depositions and produce documents on
outside consulta~its, experts or lobbyists in consideration                                   either April 15, 201.4 ar April 16, 201.4. Defendant, State
of the legislation, as well as any contractual agreements                                     of Louisiana first learned of the subpoenas issued to the
related thereto. This information shall be provided nn                                        various third parties upon either contact with the third
later than May 7, 2014. Plaintiffs are responsible for                                        parties or when those third parties filed their Motions to
providing a copy to all other parties in the litigation. Any                                  Quash. In any event, Defendant did not become aware of
documents being withheld as privileged under this Order                                       the various subpoenas before Thursday, April Ip, 2014—
shall be identified in a privilege log pursuant to Rule                                       only 1 business day before the Gourt's April 14, 2Q 14
45(e)(2) of the Federal Rules of Civil Procedure and                                          Bearing and just. 2 to 3 days before the depositions were
provided to Plaintiffs along with the production of                                           scheduled and the requested documents were due.
documents.
                                                                                              "A party's failure to serve a copy of a subpoena on leis
*12 1~1~'ith :respect to the subpoenaed depositions, the                                      opponent, as required by [Rule 45(a)(4) ), has been held
Motion to Quash is GRANTED. Plaintiffs did nat                                                to substantiate a decision to quash the subpoena."
provide reasonable notice to the other parties in tl~e                                        ~i'illiams v. GS'eem,e Camnxunrt~~ ~Lfental Health Center,
litigation or to the subpoenaed parties. Plaintiffs waited                                    No. 04-179, 2006 WL 905955, at *2 (S.D. Miss. April 7,
until the legislative session had begun, and with less than                                   2006)(citing Bcrtler- ~~. Biocor-e Med. Tech., lizc., 348 F.3d
three weeks remaining to conduct dascove~y, to subpoena                                       1 163, 1173 (l Oth Cir.2003}); Firefighter's Irtsr.for Racial
the President of the Senate, t3ze Speaker of the House, a                                     Egzsalrty v. City of St. Lnuis, 22Q F.3d 898, 9U3 {$th
demographer, and the Clerk of the Louisiana House of                                          Cir.2000). The Court finds that given the circumstances,
Representatives, as well as four other individuals.                                           Plaintiffs' failure to comply with Rule 30(b)(1) and
                                                                                              45(x)(4) depri~~ed Defendant of a fair opportunity to
   ,,.        ~,~~
                                                                                                                           ,''r s
  -Pp.,   >.,~~.,~3~   ~ ~   _~Y   .. ., ~~r r ~., ., .,t.,   ..~ ,~ , ~-t   _Pf e,   ,i .c;.i rs .,~,:.-_ ~~`~...,'1~~:.,,      r9 ._ ~s.
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protect its interests, resulting in prejudice. For that reason,   (R. Doc. 220)is GRAlYTED;
in addition to those already given, the Court. GRANTS in
part and DENIES in part Defendant State of Louisiana's            The Motion to Quash the Deposition Subpoenas and
Motion to Quash the subpoenas for Plaintiffs' failure to          Subpoenas to Produce Documents issued to Judges Suzan
provide notice and. serve a copy ~f the subpoenas on all          Ponder, Laura Prosser and Alex Wall (R. Doc. 222) is
parties (R. Doc. 227). The Court finds that the document          GRANTED;
requests contained in the subpoenas to the le~islatars are
modified in scope and timing as Invited above. All other          The Matio~i to Quash the Deposition Subpoenas and
subpoeuas are quashed.                                            Subpoenas to Produce Documents issued to John. A.
                                                                  Alario, Jr., President of the Louisiana Senate; Charles
*l3 In addition to not diving sufficient notice of the            Kleckley, Speaker of the Louisiana House of
subpoenas to all parties, the Court also finds Plaintiffs         Representatives; Dr. William Blair, Demographer of the
failed to provide sufficiel~t notice to all of the actual         Louisiana Legislature; and Alfred Speer, Clerk of the
subpoenaed third parties. Plaintiffs served their subpoenas       Louisiana House of Representatives, (R. Doc. 223) is
on either April 4 or 7 and required the third parties 2n          DENIED in part and GRANTED in part, Discovery
appear and produce documents beriveen April 15 and 1(.            regarding the categories of documents referenced above is
to other words, some of the third parties had at most 12          permitted and must be produced by May 7, 2014 but
days to respond, ~~~hile others ti~~ere given as little as 9      denied as to materials that remain shielded by privilege as
days to comply with numerous and, in some instances,              ~i-ell as the subpoenaed depositions.
lengthy renuests. The timeframes are clearly
unreasonable, particu(arl.y when The 14 day period for            Deteridant State of Louisiana's Motion to Quash
s~n~ing objections under Rule 45(c)(2}(.B) is generally           Nonparty Deposition Subpoenas and Subpoenas to
considered a reasonable time. And so, the subpoenas must          Produce Documents(R. Doc. 227) is GRANTED in part
additionally he quashed as they "fail(s) to allow a               and DENIED in part. The Motion is GRANTED as it
reasonable time to comply." Fed.R.Civ.P. 45(c)(3)(A)(i);          relates to the subpoenas issued to Christina Peck and
see also Thomas v. IE:'I~l, Irec., No. 06—R$6, 20U8 WI.           Judges Suzan Ponder, Laura Prosser and Alex Wall,
645230, at *3 (M.D.[.a..Mar. l2, 2008)(subpoenas would            wtaich are quashed. With respect to the subpoenas issued
be quashed where they only allowed 9 days business days           to John A. Alario, Charles Kleckley, Dr. William. Blair
to respond and produce documents); Frecpur•t Mct~fo,•crn          and Alfred Speer, the Motion is DENIED regarding the
Sulphur, LLC V. M1ItL' A~fullen Ener~~ Ec1eiip. Rcsorrrcc,        production of documents falling within the categories of
Inc., No. ~3—I49b, 2004 WL 595236, at *9(E.D.La. Mar.             documents referenced above but GRANTED as to
23, 2004)(on its face, 14 days to respond to subpoena to          materials that remain shielded by privilege as well as the
produce documents is generally considered reasonable,             subpoenaed depositions.
but reasonableness may vary depending nn the
circumstances of each case).                                      *14 Unless specifically set forth in this Order, all other
                                                                  deadlines set forth in the Scheduling Order (R. Doc. 202)
                                                                  or in the April 14, 201.4 Minute Entry (R. Doc. 241)
                                                                  remain in effect. Signed in Baton Rouge, Louisiana, on
                  l~l. CONC~LIISION                               April 23, 2014.
For the reasons given above, based on the parties'
arguments in their memoranda end during oral ~rg~~ment,
IT IS ORDERED that:
                                                                  ill Citations
The Motion to Quash the Deposition Subpoena and
Subpoena to Produce Documents issued to Clv-istina Peck           Not Reported in F.Supp.3d, 2014 WL 16 2791
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Ghamber(air~ v. Farrt~ington ~ay. Bank. Nof }~ep+~rted in F.Supp.2d (20037}




                                                                seeking the plaintiff's prior employment records.
                                                                (Dkts.26, 27; Exh. A). S~ecitically, the defendant.
                200 WL a~864ai
   Only the Westlaw citation is currently available.            requested "[a]ny and all records relating to [tlie plaintiff],
            United States District Court,                       ... including but not limited to his: personnel file; any
                  D. Connecticut.                               investigative file relating to complaints he lodged. or
                                                                complaints lodged about him; resume; background check
         Datiic~ ~~-IAhi13EKLAIN, I'1aii7tif'f                  documents; and notes from any interviews with or
                         v.                                     investigations relating to [the plaintift~." (ld., Exh. A at.
    FARI~2INGTON SAVINGS BANK, Defendant.                       5). The plaintiff has moved to quash the subpoenas and
                                                                for a protective order on the grounds that the defendant's
              Ci~zl No.3:o6CVoi437(CFD).                        requests are overbroad, not. reasonably calculated to lead
                                                                to the discovery of admissible evidence, and will subject
                      Sept. 25, 200.                            the plaintiff to an unwarraaited intrusion, annoyance,
                                                                embarrassment and oppression. (P.'s Mzm. at I ). !n
                                                                opposition, ehe defendant claims that the plai~itiffs prior
Attorneys and I.,A~v Ti~•ms                                     employment records are discoverable because they ma.y
                                                                contain information relevant to: (1) its after-acquired
Mary E. Kelly, Livingston, Adter, Pulda, Meiklejohn &           evidence defense; (2) the plaintiff's credibility ~s a
Kelly, Hartford., CT,for Plaintiff.                             witness; and (3) its defense that it terminated the plaintiff
                                                                for performance res~sons.(D.'s Mem. Opp. at 5).
James .F. Shea, Jackson Lewis, Sheldon D. Myers,
Kainen, Escalera & McHale, FC, Hartford, CT, for
Defendant.
                                                                                           II. DISCUSSION

                                                                       A. Plaintiff's Stranding to Move to Quash the
                                                                                          Subpoenas
                                                                As an initial matter, the court must consider whether the
  RULING ON PLAI~'VTIFF'S MOTION TO QUASH
       AJ!'D FOR A PROTECTIVE ORDER                             plaintiff has standing to move to quash the subpoenas
                                                                served on his former employers. Ordinarily, a party does
                                                                not have standing to quash a subpoena served on a third
THOiVTAS P. SMITH, United States Magistrate Judge.              party, unless the party has a personal right or privilegz
                                                                with respect to the requested documents. See, e.g.,
*l Plaintiff, David Chamberlain, moves to quash the             C}iEmic•al Bunk v. Dana, 149 F.R.D. Il, 13
subpoenas daces tecum served upon his former employers          (D.Conn.1993); see also 9A, Charles A. ~~right &Arthur
by the defendant, Farmington Savings Bank, and for a            R. Miller, Federal Practice & Procedure ~ 2459, at 41 (2d
protective order pursuant to Federal. Rules of Civil            ed.1995). The plaintiff clearly has a personal right with
Procedure 45 and 26(c). (Dkts.26, 27). For the reasons          respect to the information contained in his employment
stated herzin, the plaiutifts motions are GRAFTED.              records. Additionally, the court notes that the plaintiff has
                                                                standing to ehalleuge the subpoenas on the basis of his
                                                                having moved for a protective order pursuant co Rule 26.
                                                                It is well-settled that the scope of discovery under a Rule
                    I.BACKGROtiND                               45 subpoena is the same as that permitted under Rule 26.
This case arises nut oti the plaintiffs claim that he was       See Fed.R.Civ.P. 45 Advisi~ry Committee Notes to 1970
discriminated against and subsequently tern~inated by the       Amendment ("the scope of discovery through a subpoena
defendant because of ]lis age and disability and in             is the same as that applicable to Rule 34 and the other
retaliation for his exercise of rights under the Family         discovery rules"); see ulsc~ 9A Wright &Miller § 2459, at
Medical Leave Act, 29 U.S.C. ~§ 2612 et seq. (Complaint         42 (scope oti discovery through a subpoena is
¶ 40). The defendant maintains that. it temlinated the          "exceedingly broad" and incorporates the provisions of
plaintiff for poor perfannance.(D's Mem. Opp. at 2).            Rules 2((b1 and 34). The court, therefore, will consider
                                                                the pending motions in view of the standards set forth in
On July 27,?007, t11e defendant issued notices of intent to     Rule 26.
serve subpoenas daces tecum to the plaintiff's former
employers, Neu' Alliance Bank and Citizen's Bank,
                                                                 ~,..,. ~...,..    E , ~..„ _s ~,' ...
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ChamberEain v. Fartningtc~n 5ay. Bank, Ptcst R~g~+~rte~3 in F.Supp.2d (2C}Ct7}



                   B. Standard of Revie~~                          evidence of wrong-doing discovered after his or her
*2 Pursuant to Rule 26(b), "[p]arties may obtain                   terminarion that would have provided. a legitimate basis
discovery regarding any matter, not privileged, that is            for such tet-mination. Id. at 362. While recognizing this
relevant to the claim or defense of any party ....                 defense, the Court also cautioned against the potential for
Fed.R.Civ.P.       26(b)(1).     Furthermore,.   "[r}elevant       abuse of the discovery process by employers seeking to
information need not be admissible at the trial if the             limit their liability through an after-acquired evidence
discovery appears reasonably calculated to lead to the             defense, noting the ability of courts to curb such abuses
discovery of admissible evidence." Id. The teen                    through the Federal Rues of Civil Procedure. Id. at 363.
"relevant" should be construed broadly to encompass                The Court stated: "The concena that employers might as a
"any matter that bears nn, or that reasonably could lead to        routine matter undertake extensive discovery into an
other matter that could bear on, any issue that is or may          employee's background or performance on the job to
be in ttie case." Aluresco v. Evcins Chemetics, Div. of'Tfi~R_     resist claims under the Act is not an insubstantial one, but
Gtrrce c& Co., 964 F2d 106, 114 (2d Cir.1992) (quoting             we think the authority of the courts ... to invoke the
Ojrpenheirrter Fund, Ir~c. v. Sanders, 437 U.S. 340, 351,          appropriate provisions of the Federal Rules of Civil
98 S.Ct. 2380, 57 L.Ed.2d 253 (1978)).                             Procedure will deter most abuses." Ici. Several. lower
                                                                   courts have relied on ~1eKerinorr iu holding that the after-
Despite the broad scope of discovery, there are certain            acyuired evidence defense cannot be used to pursue
limitations. For instlnc,e, discovery of matters not               discovery in the absence of some basis for helievit~g that
"reasonably calculated to lead to the discovery of                 after-acquired evidence of wrong-doing will he revealed.
admissible evidence" is not r~rithit~ the scope of                 See, e.g ., Rivera v. Nibco, Inc., 364 F.3d 1057, i 071-72
Fed.R.Giv.P. 26(b)(1). 4~pe~ilieznaer Find, Inc., 437 U.S.         (9th Cir.2004); ~1c~;rwell v. Health Ctr. ofLake City Inc.,
at 351-52. The Federal Rues afford courts wide                     Nn. 3:05—CV-1056--J-32MCR, 2006 WL 1627020 at *5
discretion in resolving discovery disputes, which should           (M.D. Fla. June 6, ?006); Prerrrer v. C~resta~f' Servs.,
be exercised by "determining the relevance of disco~~•ery          L.P., 232 F.R.D. 692 (IvI.D.FIa .2005).
requests, assessing their oppressiveness, and weighing
these factors in deciding whether discovery should he              *3 Here, the defendant has not presented any evidence to
compelled." Yuricey v. Nooten, 180 P.R.D. 203, 207                 sugbest that the plaintiff may have misrepresented
(D.Conn.1998). The party resisting discovery bears the             information to the defendant, which would have provided
burden of showing why discovery should be denied.                  legitimate grounds for has termination. For example, the
Blakenship v. Necarst Crn~~.. 51.9 F.2d 4(8. 429 (yth              defendant has not pointed to any statements made by the
Cir.l)7S).                                                         plaintiff during his deposition or in response to
                                                                   interrogatories indicating that he may not have fiilly
                                                                   disclosed infornlation to the defendant regarding his prior
                                                                   employment. See Premer, 232 F.R.D. at 693 (limited
               1. After—Acquired Evidence                          production from former employers appropriate to support
The defendant claims that the plaintiffs prig                      after-acquired evidence defense in view of discrepancy
employment records may contain information relevant to             between         plaintiff's interrogatory responses    and
an after-acquired evidence defense and are, therefore,             employment application); Grcrhnm v. G'usey's General
discoverable. (D's Mem. Opp. at 5-6). Specifically, the            Str~r•c:,s, 20(i F.R.D. 251, 255-56 (S.D.lnd?{}p2) (certain
defendant asserts that the plaintiffls records may contain         prig employment records discoverable in view of
evidence that the plaintiff misrepresented information on          concession made by plaintiff as to prior criminal
his employment application or during the course of has             conviction in order to dete~mi~ie whether plaintiff was
employment with the defendant concerning his previous              truthful about events surrounding the termination of her
employment and performance history, which would limit              previous employment). Rather, the defendant szeks
his claim for relief pursuant to this defense. (Id.). The          discovery of the plaintiff's records in order to search for
plaintiff maintains that discovery for the purpose of              information from which to establish such a defense. The
uncovering e~>idence from w}aich to establish an after-            court finds that the defendant cannot use the after-
acquired evidence defense is improper and. would subject           acquired evidence defense to conduct extensive discovery
the plaintiff to unnecessary embarrassment, annoyance              into the plaintiff's prior employment records on the basis
and. oppression.(P's Mem. at 4-6).                                 of pure speculation. Under such circumstances,
                                                                   production of the plaintiff's records would constitute an
The after-acquired evidence defense, recognized by the             unwarranted intn~sion.
Supreme Court in Mch'ennon v. Nash~~r.'lle Banner
P~i1~li.sltrng C'n., 513 U.S. 3.i?, 115 S.Ct. 87y (1995},
provides that an employee's relief can be limited by
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Chamberlain v. Farmingtr~n 5ay. Bank, Nc~t Reprsrted in F.Supp.2d (2007}



                        2. Credibility                                      history in order to show that he has a propensity for
The defendant also claims that information contained in                     certain perfornlance deficiencies. Such evidence is
the plaintiff's prior employment records is relevant to his                 inadmissible under Federal Rule of Evidence 404(a),
credibility as a witness. The defendant maintains thaT the                  which provides that"[e] vidence of a person's character
records are discoverable in order to determine whether the                  or a trait of character is not admissible for the purpose of
plaintiff has been truthful aboui his performance history                   proving action in conformity therewith...." Fed.R.Evid.
~tnci his reasons for leaving his former positions. (D's                    404(a); see also, e.g., Zubulake n. Z~BS ti4'harbu~~ LLC,
Mem. Opg. at 5). As above, the defendant has not alleged                    382 F.Supp.2d 536, 54p-41 (S.D.N.Y.2005). The
any reason. to believe that the plaintiff has misrepresented                plaintiff's performance history, therefore, does not
information during the course of this litigation ~~ith regard               provide a basis for the discovery sought here.
to his previous employment to substantiate such. a broad
search of his employment records on this ground.

                                                                                                III. CONCLUSION
                                                                            *4 The couri finds that the defendant's discovery requests
                  3. Performance History                                    are overbroad, not reasonab]y calculated to lead to the
Finally, the defendant claims that information as to the                    discovery of admissible evidence, and would subject the
plaintiffs performance history is relevant to its defense                   plaintiff to unwarranted intrusiou. For the foregoing
that it terminated the Plaintiff because of poor                            reasons, the plaintiff's motions to quash and far protective
performance.(D's N1em. Opp. at 7). The defendant asserts                    orders, (Dkts26, 27), are GRANTED. This is not a
that the plaintiff's records may reveal that he did not have                recommended ruling. This is a discovery ruling and order
the ability to perform. similar duties in his fot-mer                       reviewable pursuant to the "clearly erroneous" standard of
employment.(I~i. at 8).                                                     review. 28 U.S.C. 636(b)(1)(A}; Fed.R.Civ.P. 6(a), (e)
                                                                            and 72(a); and Rule 2 of the Local Rules for U.S.
The defenciai~t's argument i, unavailing. The court finds                   Magistrate Judges. As such, it is an order of the court. SeE
that evidence of the plaintiffs performance history is                      28 U.S.C. § 636(b) (written objections to ruling must be
neither relevant nor admissible for the purpose of showing                  filed within ten days after sereice of same).
that the plaintiff performed poorly in his position. with the
defendant. First, the plaintiffs performance history is not
relevant to the issues involv~ci in the current case; rather,               1T IS SO ORDERED.
at issue is tt~e plaintiff's per#i~rmai~ce in tiffs position with
the defendant. Second, the defendant's request for
production of documents relating to the plaintiff's                         f111 Citations
performance history is not reasonably calculated to lead to
                                                                            Not Reported in F.Supp2d, 2007 WL 2786421
the discovery of admissible evidence. The defendant
seeks to discover evidence of the plaintiffs performance
~x7ti of 17aCurts~ni                                                ?` 2~~'=7 i ~T~hort~ison FZe~.ters. Nc~ :lain, t,~ ortii~iai 1J.:~. Gcverr7rr~~eni 4fb`ork5
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Stewart v. Mitchell Transpart, Nat Rep~~~ci ire F.Sup~.2c!( 0fl2)




                                                                Mitchell Transport, Tnc., Larry G. Ramsey, and Insurance
                 2oa2 41~L i~582io                              Corporation of Ha~ulover (hereinafter refen•ed to
   Only the Westla~v citation is currentl}- available.          collectively as "Defendants") (doc. 43); (2) Motion to
             United States District Court,                      Quash, or in the Alternative, for Protective Order, filed by
                     D. Kansas.                                 Associates Insurance Company (doc. 24); and (3) Motion
                                                                to Quash Second. Subpoena, or in the A►ternative, for
        Jamc;s S'1'E6VAR'1', t;t al., Plaintiffs,               Protective Order, filed by Associates [nsurance Company
                          v.                                    (doc. 5]).
    h~1ITCHELL TRANSPORT,et al., Defendants.

           CIVIL ACTION NO.01-2546—JWL.
                                                                           I. Nature of the Matter Before the Court
                        July 1i, 2002.                          This is ri personal injury action arising out of the collision
                                                                between a pickup truck driven by Plai~itiff James Stewart
                                                                and a d•actor-trailer driven by Defendant Larry Ramsey
Motorist brought personal injury action against tractor-
                                                                ("Ramsey"). According to Plaintiffs' Complaint, the
trailer's driver, operator, and insurer, asserting claims for
                                                                tractor-trailer was operated by Defendant Mitchell
alleged violatiol~s of interstate Transportation Act,
                                                                Transport, Inc. ("Mitchell Transport") and i~isured by
negligence, reckless conduct, and breach of insurer's duty
                                                                Defendant Insurance Corporation              of Hannover
to act in good faith. Defendants moved to quash
                                                                {"Hannover"). Plaintiffs assert claims against Mitchell
subpoenas served by motorist on third parties, and one
                                                                Transport and Ramsey for violations of the Interstate
third party moved to quash subpoena, or, alternatively, for
                                                                Transportation Act. Plaintiffs also assert claims against
protective order. The District Court, David J. Waxse,
                                                                Mitchell Transport and Ramsey for negligence and.
United States Magistrate Judge, held that: (1} driver had
                                                                reckless conduct. In addition, Plaintiffs assert a claim
standing to move to quash subpoenas issued to his former
                                                                against Hannover for breach of the insurer's CIl1C}' TO c~Cl lIl
and current employers;(2) operator had standing to move
                                                                food faith.
to quash subpoenas issued to insurers; (3) use of terms
"regarding" and "all infi~rmation" made subpoenas
                                                                Plaintiffs have served. six subpoenas on v~riol~s entities
facially overbroad; (4) driver was not entitled to
                                                                that are not parties to this action, including Associates
protective order on grounds that subpoenas issued to his
                                                                Insurance Company ("AIC"'). AIC is located in Texas,
employers were simply attempts to annoy, harass, and
                                                                while the other entities served are located in Kentucky,
embarrass him; (5) time period for disclosure of
                                                                Tennessee, and Wisconsin.
inforn~ati~n from third-party insurers was properly limited
to one-year period following accident;(G)subpoznas were
overly broad to the extent that they commanded                          In their reply brief, DeFendants state that Plaintiffs later
production of "information" and all docuanents and                      served a seventh suhpocna on AXA Global Risks U.S.
records "regarding" operator; a~~d {7) subpoena could not               Insurance Company ("AXA subpoena"}. See Ex. L,
                                                                        attached to doc. ~2. The AXA subpoena was signed by
be quashed on grounds that it required insurer to divulge               Plaintit'fs' counsel on May I5, 202 and aNparently
information about driving records cif 36 drivers wl~o were              served some time thereafter, which was aY (east more
not parties to action.                                                  than eight days after Defendants' Renewed Motion to
                                                                        Quash ti as filed. There is no indication That counsel for
(3rdered accordingly.                                                   the parties hive e~~c;A~ conEcrred regarding the AXA
                                                                        subpoena, as required by D. Kan. Rule 37 .2. Because
                                                                        the document. request contained in thz AXA subpoena
                                                                        differs from the document requests contained in the
                                                                        other six subpoenas at issue, and because Defendants'
                                                                        counsel has failed to satisfy the duty to confer as to the
            1VIEMORAND[li'VI AND ORDER                                  AXA subpoena, the Court will decline to entertain
                                                                        Defendants' Motion to Quash as it applies to tl~e AXA
                                                                        subpoena.
DAVID J. WAXSE, Magistrate Judge.

*1 This matter is before the Court on the following
Motions: (1) Renewed Motion to Quash Subpoenas
anc~/or Motion for ProtecYi~e Order tiled by Defendants         I1. DefendanCs' Renewed Motion to Quash andior Motion
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~te~v~rt v. Nlitcheli Tr~r~sp~rt, Nc~t Rep~rt~r! irs F.~ug~~.2d ~2(l~2)



                       for Protective Order(doc. 43)                      applications, your complete underwriting file, and
                                                                          complete claims files regarding all collisions or incidents
      A. Defendants' Standing to Move to Quash the                        that trucks operated by Mitchell Transport or any driver
                          Subpoenas                                       employed by Mitchell Transport were involved in from
Before the Court analyzes the merits of Defendants'                       July 1, 1907 through the present." Exs. E—F, attached to
objecCions to the subpoenas and their arguments in                        doc. 44. Mitchell Transport asserts that these documents
support of their Renewed Motion to Quash, the Court                       contain proprietary information such as Mitchell
must first determine whether Defendants have standing to                  Transport's client lists, routes of travel, and net worth. It
 move to quash the subpoenas. These subpoenas were not                    also contends that these documents likely contain
served on Defendants but rather on various third parties.                 privileged communications and materials protected by the
Generally speaking, a party to the lawsuit does not have                  work product doctrine.
standing to quash a subpoena served on a nonparty.
Johnson v. GnTettder, 191 F.R.D. 638, 640 n. 2                            The Court finds that Mitchell. Transport has a personal
(D.Kan.2000); Hertensteis2 v. Kimberly Home Neulth                        right with respect to these requested documents.
Care, Inc., 189 F.R.D. 620, 63~ (D.Kan.1999). A motion                    Accordingly, the Court holds that Mitchell Transport has
to quash a subpoena "may only be made by the party to                     standing to move to quash the subpoenas served nn AIC
 whom the subpoena is directed except where the party                     and Sentry. In contrast, Ramsey and Ham~over have
seeking to challenge the subpoena has a personal right or                 presented nn inti~rmation or argument that ~rould lead the
privilege with respect to the subject matCer requested iii                Court to believe that they too have any personal right in
the subpoena." Icl. (quoting Smith v. rL,lctlai~cl Brake, Inc.,           any of the inti~rmation contained in the documents
 162 F.R.D. 6#33, ~i85 (D.Kan.1995)).                                     requested by these subpoenas. The Court therefore holds
                                                                          that neither Ramsey nor Hannover has standing to move
~~~ Thus, for Defendants to bring this motion, each must                  to quash the subpoenas served on AIC and Sentry.
have a personal right or privilege ~~ith respect to the
subject matter of the documents requested in the                          in light of the above, the Court will deny the Renewed
subpoenas. The subpoenas directed at Ramsey's former                      Motion to Quash to the extent it is brought by Ramsey
employers (Boyd Brothers Transportation, Mayfield                         and Hannover to quash the subpoenas served on AIC and
Printing, anal General Tire and Rubber) and his present                   Sentry. The Court will also deny the Renewed Motion to
employer (Goodyear Tire and Rubber) seek "all records,                    Quash to the extent it is brought by Mitchell Transport
documents or information ... regarding Larry G. Ramsey.                   and Hannover to quash the subpoenas served nn
includi~~g, but not limited ro your complete personnel tile,              Ramsey's employers, Boyd Brothers Transportation,
job application, joU description and performance                          Mayfield Printing, General Tire and Rubber, and
evaluations." Exs. A—D,attached to doc. 44.                               Goodyear Tire and Rubber.

*2 The Caurt finds that Ramsey clearly has a personal
right with respect to the information. contained in his
personnel files, job applications, and performance                               B. Ramsey and Mitchell Transport's Procedural
evaluations. Thus, the Court holds that .Ramsey has                                       Objections to the Subpoenas
standing to move to quash the subpoenas served on his                     ~'~ Ramsey and Mitchell Transpoil object to all of the
employers anti to assert objections to the document                       subpoenas on procedural grot►nds, arguing tJ~at each of the
requests contained therein. See Becrch v. City l)lathe.                   entities upon which these subpoenas were served is
Kansas, No. 99-221(?—GTV, 2001 WL 1Q98(?32, at *1                         outside the 10(~inile geographical IimitaCion provided for
(D.Kan. Sept.l7, 2U~1) (defendant "clearly has a                          in Rule 45(b)(2). That provision allows a subpoena to be
`personal right' in his personnel file and applications for               served "at any place within the disirict of the court by
employment that. would give him standing to move to                       which it is issued., or at any dace without the district. that
quash the sub~~oenas."). In contrast, the Court finds that                is w-ithin 100 miles of'the dace ofthe depvsitio~~, hearing,
neither Mitchel( Transport nor Hannover has any personal                  tr•iul, p~•oduction, or irzs~~ection specitied in the
right or privilege with respect to the perso~viel tiles and               subpoena...." Fed.R.Civ.P. 45(b)(2) (e►nphasis added).
other employment-relaied records sought.. The Gourt thus                  Ramsey and Mitchell Transport contend that. the
rules that neither Mitchell Transport nor Hannover has                    subpoenas should be quashed pursuant. to Rule
standing to move to quash the subpoenas served on                         45(c)(3)(A), which states that the court fiom which a
Ramsey's employers.                                                       subpoena was issued shall quash the subpoena if it
                                                                          requires a third party "ta travel to a place more than IbQ
~'-~ The subpoenas served on A1C and Sentry Select                        miles from the place where that person resides, is
Insurance Coi~~pany ("Sentry") ~regaest "all insurtii~ce                  employed or xegularly transacts business in person,"
  ~°~'~~~ _,~~~"rofi                  ..   ~~.f,~ ..   ~,~~   ,..   ,~,
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Ramsey and Mitchell Transport a►•gue that these                                      [A]II records, documents or
subpoenas should be quashed because they require the                                 information in your possession
subpoenaed parties, who are located in Kentucky,                                     regarding Larry G. Ramsey,
Tennessee, Texas, and ~'~'isconsin, "to travel outside the                           including, bur not limited to, your
100 mile limii allowed. by Rule 45 ." Doc. 44 at p. 4.                               complete personnel file, job
                                                                                     application, job description and
*3 The Gourt disagrees. The subpoenas do not require the                             pel•formance evaluations.
attendance of any witnesses. Tliey only require the
production of documents.' The documents are required to                 Exs. A—D, aTtached to doc. 44.
be produced at ~'laintiffs' counsel's law firm in Prairie
Village, Kansas. In other words, the place of production is             Ramsey objects to the subpoenas nn the basis that the
in Prairie Village, Kansas. The entities subpoenaed are                 document request contained therein is overly broad and
merely required to mail the documents, or have them                     seeks irrelevant documents. He also objects on the basis
delivered, to Plaintiffs' counsel's office in Kansas. Na                That the subpoenas seek. confidential documents, including
representative is required to travel to Kansas.                         some that contain contidential medical information about
Furthernlare, Rule ~5(a)(2) expressly states that stich                 himself.
document subpoenas rnust issue from the district in which
the production is to take place. It provides:

       Rule 45 expressly pro~~ides thzt a subpoena may be                              1. O~~erbreudth urtd irtelevunce
       issued to compel a nonparty to produce documents                 Overbreadtl~ and irrelevance are not contained within
       independent of any deposition, hearing, ar trial See             Rule 45's list of enumerated reasons for quashing a
       Fed.R.Civ.P. 45(c)(2)(A) ("A person commanded to                 subpoena. Tt is well settled, however, that the scope of
       produce ... designated books, papers, documents or               discovery under a subpoena is the same as the scope of
       tangible things ... need not appear in person. at the place      discovery undzr Rules 26(b); and 34. See Advisory
       of production ... unless commanded to appear for                 Committee Note to khe 1970 Amendment of Rule 45(d)(1)
       deposition, hearing or trial.") S'ee also Fed.R.Civ.P.           (the 1970 amendments "make it clear that the scope of
       45(a)(1) (setting Earth procedure for Issuance of
                                                                        discovery through a subpoena is the same as that
       subpoena far production of doctunents thlt is "separate
       from a subpoena. commanding the attendance oI' a                 applicable to Rule 34 and the other discovery rules."). See
       person").                                                        also 9A Charles A. ~TJ~ight and Arthur R. Miller, Fecierul
                                                                        Practicz ar7c! Procecltu~e,~~' ?459 at p. 42(2d ed.)(scope of
                                                                        discovery thmueh a subpoena is "exceedingly broad" and
                                                                        incorporates the provisions of .Rules 26(b) and 34). Thus,
  [f separate from a subpoe~la commanding the                           the court must examine whether a request contained in a
                                                                        subpoena duces tecum is overly broad or seeks irrelevant
   attendance of a person, a subpoena for production or
                                                                        information under the same standards as set forth in Rule
  inspection shall issue from tl~e court for the district in
                                                                        26(b) and as applied to Rule 34 requests for production.
  ~c~hich the production or inspection is to be wade.
   Fed.R.Civ.P. 45(a}(2)(emphasis added).                               See Phalp v. City of Overland Purk, .Kan., No. 00-2354—
                                                                        JAR, 2002 WL i 162449, at * 3-4 (D.Kan. May 8, 2002}
In light of the above, the Court holds that the subpoenas
                                                                        (applying general principles of nverbreadth and
were properly issued from this district, where the
production was to take place, and that the subpoenas do                 irrelevance to subpoena daces teclim).
not require any of the entzties served to travel in violation
of the Rule's 100—mile limitation. The Cou~~t thus declines                     Fed.R.Civ.P. 26(b) provides that "[p]artics may obtain
to quash. the subpoenas based on this procedural                                discovery regzrding any matter, nit privileged, that is
objection.                                                                      relevant to the claim or defense of any party....
                                                                                Relevant information need not be admissible at tl~c trial
                                                                                if the discovery appears reasonably calculated to lead to
                                                                                the discovery of admissible evidence."
  C. Ramsey's Substantive Objections to the Subpoenas
               Served on His Employers
Ramsey objects to the subpoenas directed. to three former
employers and to his current employer. The subpoenas
request.:                                                                                     a. Overbreadth
                                                                        *4 ~'~ The Court will first turn to Ramsey's objection thae
                                                                        the request is overly broad. A party objecting to a
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Stee~v~rt u. NtiYcheN Transport, Not R~pc,rteci in ~.~upp.2d (2CDU2j



discovery request on the grounds that the request is overly        have no possible bearing" on the claim or defense of a
broad has the burden to support ats objection, unless the          party. !d. (citations omitted). When the discovery sought.
request is overly broad on its face. Etienne u. YG'oli~erirxe      appears relevant on its face, the party resisting the
Tube, Inc., 185 F.R.D. at 656; Hilt v. SFC Irtc., 170              discovery has The burden to establish the lack of relevance
F.R.D. 182, 1&b (D.Kan_1997). Here, the subpoenas                  by demonstrating that the requested discovery (1} does
request "all records, docr~ments or informatio►1 in your           not come wiHiin the broad scope of relevance as defined.
possession regarding Larry G. Ramsey, including, but not           under Rule 26(b)(1), or (2) is of such marginal relevance
limited. to, your complete personnel file, job applications,       that the potential harm the discovery may cause would.
job description. and performance evaluations." Exs. A—D,           outweigh the presumption in favor of broad disclosure.
attached to doc. 44 (emphasis added). The Court fnds               Scott v. Lecrvenwvorth Unified School Dist. No. 453, 190
that the use of the term "regarding" makes this request            F.R.D. 583, 585 (D.Kan.1999). Conversely, when
overly broad on its face. See Brariley V. VL11MGJlC1S, No.         relevancy is not apparent on the face of the renuetit, the
00-2395—GTV, 2001 WL 1249339, *6 (D.Kan. nct.9,                    party seeking the discovery has the burden to show the
2001)(use of the term "pertaining to" rendered document            rele~~ancy of the request. Steil v, Nu~s~ana, Irtc., 197
request overly broad on its face); Mackey v. L$P, Inc., 167        F.R.D. 442, X45 (D.Kan.2000}.
F.R.D. ]86, l97 (D.Kan.1996) (same). The use of such
omnibus ptarases as "regarding" or "pertaining to"                 *5 Applying these principles, the Court finds that the
requires the answering party "to engage in mecital                 request fir Ramsey's personnel file, job application, job
gymnastics to determine what infornlation may car may              description, and performance evaluations appears relevant
not be remotely responsive." Icy.                                  on its face, and Ramsey has failed to convince the Court
                                                                   otherwise. The Court is unable to find that there is "no
Ttae Court also finds the request overly broad nn its face         possibility" that the documents requested could have a
to the extent it commands the employers to produce "all            "possible bearing" on a claim or defznse of the parties.
... information" regarding Ramsey. Rule 45 expressly               Ramsey's safety record, work history and perforniance
provides that a subpe~ena may require the production of            issues—~~hile employed as a truck. driver or even in some
"designated books, d~~cuments or tangible things" in the           other capacity—may reveal that .Ramsey has a history of
possession, custody, ~r control of the subpoenaed                  other accidents or safety violations. The Court therefore
individual or entity. Fed.R.Civ.P. 45(a)(l j. There is Rio         overrules Ramsey's relevancy objections to these
provision for a subpoena that seeks "information."                 subpoenas to the extent they request his personnel fles,
                                                                   job applications, .job descriptions, and performance
The Court does not, however, find that the renuest is              evaluations.
overly broad nn its tiace to the extent it asks the employer
to produce discrete documents, i.e., Rantsey's personnel
file, job application, job description, and performance
evaluations. Moreover, the Court does not find that                                     2. Cnrfderaticrlity
Ramsey has satisfied his burden to show how the request            Ramsey also objects to the subpoenas on the grounds they
for these particular documents is overly broad. The Court          seek private and contidentiai information about himself;
will therefore overrule his overbreadch objection to the           including some medical information that he contends
extent the subpoena► requests each employer to produce             should remain private. Ramsey does not elaborate on the
Ramsey's personnel tile, job application, job description,         contidentiai nature of the requested documents.
and performance evaluaCions.
                                                                    ~~~ Ramsey fails to reca~nize that a party may not rely on
                                                                   the confidential nati}re of documents as a basis for
                                                                   refusing to produce them, because "[c]onfidentiality does
                          Irrelevance                              not equate to privilege." Hzll v. Dillard 's, Inc., No. QO-
 ~'~ The Court. will now turn to Ramsey's eelevance                2523—JWL, 2001 WL 1718367, *4 (D.Kan. Oct.9, 2001)
objections Yo the requested personnel files, job                   (quoting Folsom v. Heartlajid B~rnk, No. 48-2308—GTV,
applications, job descriptions, and performance                     1999 WL 322(91, *2(May 14, 1999)). See also Feclei~al
evaluations. Relevancy is broadly construed, and a                 Open h9kt. Coratm. v. ;i~len-ill, 443 U.S. 340, 362, 99 S.Ct.
request for discovery should be considered relevant it             28Q0, fil L.Ed.2d SA7 (1979)) ("there is no absolute
there is "any possibility" that the information sought may         privilege for ... confidential information"). Thus, the
be relevant to the claim or defense of any party. Sl7eldan         Court ~~~ill overnile Ramsey's confidentiality ubjection to
 v. Vi:rmnnty, 204 F.R.D. 679, X89-90 (D.Kan.2001)                 the subE~oenas.
(citations omitted). A renuest for discovery should be
allowed "unless it is clear that the inforn~~tic~n sou~~ht~ can    ~7~ Apparently recognizing the tact that the Court might
           :~.
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overrule his c~ntidentialiey objection, Ramsey asks the                                             lawsuit. Plaintiffs shall the their response to the motion
Court, in the event it enforces the subpoenas, to enter a                                           for protective order within five (5) days after service of
protective order to prevent the disclosure of the                                                   the motion.
documents to third parties. Althougl~ documents are not
shieldec{ from discovery on the basis of confidentiality, it
is true that a party may request the court to enter a
protective order pursuant to Fed.R.Civ:P. 2E~(c) as a                                                     3. ~lnnoynnce, harassrnetit, a:~r~ emharrnssment
 means to protect the confidential information from                                                 ~K~ Ramsev also urges the Court to quash the subpoenas on
disclosure to individuals or entities not connected with the                                        the basis t}~at "Alaintiffs [through the subpoenas] are
litigation. Hill, 2001 WL 17]8367, at *4. The decision                                              simply attempting to annoy, harass and embarrass" him.
 whether to enter a protective order is within the court's                                          Doc. 44 at 2. Rule 45 does n~~t provide for the quashing of
discretion. See. Thoi7m.s a Lat'l Bus. hfac{t., 48 F.3d 478,                                        a subpoena on this basis. Rule 26(c), however, does allow
482 (10th Cir.1995). Rule 26(c} nevertheless requires that                                          a court to enter a protective order to protect a party from
the party seeking the protective order establish "good                                              annoyance, embarrassment or oppression. The Court will
cause" for the protective order. Jolirzson v. Gmeiracter, 191                                       therefore treat Ramsey's request as a Rule 26(c) motion
F.R.D. 638, 642 (D.Kan2000). 7n determining ~vt~ether                                               for protective order to prevent the discovery from being
good cause exists for the court to issue a protective order                                         had.
that prohibits partial or complete dissemination of
documents or other materials obtained in discovery to                                               As noted above, the moving party has the burden to show
non-parties, "the initial inquiry is whether the moving                                             good cause for granting a protective order. Johnsor: v.
party has shown that disclosure of the information will                                             G~neincler, 191 F.R.D. (38, 642 (D.Kan.2000). To
result in a `clearly defned and very serious injury.' "                                             establish food cause, that party must make "a particular
Zunuta i:. IBP, I~~c., 16Q F.R..D. 625, 627 (D.Kan.1.995)                                           and specitic demonstration of fact, as distinguished from
(quoting Koster' v. Chase .jllfurrhuttni2 Bank, 93 F.R.D. 471,                                      stereotyped and conclusory statements." Gulfnil Co. v.
480(S.D.N.Y.1982))(internal quotations omitted).                                                    Bernnrcl, 4~2 U.S. 89, t02 n. 16, 101 S.Ct. 2193, 68
                                                                                                    L.Ed.2d 693(I 981). Ramsey has made nothing more than.
*6 Although Ramsey has asked the Court to enter such a                                              conclust~ry statements that Plaitrtiffs seek to annoy,
protec[ive order, he has failed to show how disclosure of                                           harass, and embarrass him throu~l~ these subpoenas.
the alleged confidential and medical information to any                                             These conclusory statements are insufficient to satisfy
non-parties would result in a "clearly detined" or "serious                                         Ramsey's Rule 26(c) burden.. The Court therefore
injury." Without such information, the CourC is not in a                                            declines to enter a protective order on this basis.
position to determine whether the requisite good cause
exists to issue a protective order prohibiting dissemination
of Ramsey's personnel files and other requested job-
related documents. The Court does, however, reco~~ize                                                 B. ]Viitchell Transport's Substantive Objections to the
that at least the potential for injury exists if the alleged                                                   Subpoenas Served nn AIC and Sentry
confidential documents, and, in particular, documents                                               *7 The subpoenas served on AIC and Senhy command
containing medical information about Ramsey, are                                                    them to produce the following:
disclosed to non-parties. In the interest of justice, the
Court will direct the parties to submit ~n agreed protective                                                           [AJny and         all   information,
order prohibiting disclosure of the alleged confidential                                                               documents or records in your
documentsiinformation to non-parties and prohibiting the                                                               possession rega►•ding Mitchell
use of these documents,~information outside of this                                                                    Transport, [nc., including but not
lawsuit. See Hill, 2001 WL 1718367, at *5 (directing                                                                   limited     to      all    insurance
parties to attempt to draft a protective order to prevent                                                              applications,     your      complete
disclosure of requested documents to non-parties).                                                                     underwriting file, and complete
                                                                                                                       claims files regarding all collisions
Within ten (10) days of the date of tiling of this Order,                                                              or incidents that trucks operated by
cowlsel for the parties shall confer end attempt to agree                                                              Mitchell Transport or any driver
upon such a protective order. If the parties are unable to                                                             employed by Mitchell T►~ansport
reach an agreement, the Court will allow Ramsey five (5)                                                               were involved in from July 1, 1997
days thereafter to move far a protective order prohibiting                                                             through the present.
the disclosure of these documents to non-parties and
prohibiting the use of these documents ouCside of this                                              Exs. E—F, attached to dos. 44.

 ~'B P`K..~#l-3; ~~   .. ~   ;,41   sty'.:   5   ~"it .....:3::. €eft   se'!i   a.. {):''   3   5   ... v.   ...1i.'v ~,.,~~t:...., v d. i~r''~7,              .~
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Stewart v. lVl6tcheii Tr~nspt~rt, Rtat Rept~rteti ire ~.~upp.2d ~2(l02)



Apparently, Mitchell Transport applied for, or obtained,                           2. Prnprietctry stature of the rlocarm.ents
liability insurance from these entities at one time.                     «i~ The Court wilt next address Defendants' objection that
Mitchell Transport objects to the document request                       the sitbpoetiaed documents contain "proprietary
contained in the subpoenas on the grounds that it is overly              information" such as "client lists, routes of travel, i~et
broad and does not seek relevant information. It Viso                    worth, etc." See Doc. 44 at p. 3. Defendants contend that
objects on the basis that "the information contained in the              this proprietary infor►nation falls within the scope of Rule
insurance applications and underwriting files is                         45(c)(3)(B)(i), which requires the Court. to quash a
proprietary in nature in that it contains information such               subpoena that will result in "disclosure of a trade secret. or
as client lists, sautes of travel, net worth, etc." Doc. 44 at           other confidential research, development, or commercial
p. 3. Finally, it asserts that any unden~~riting or claims               information." Fed.R.Civ.P. 45(c)(3)(B)(i).
tiles produced "wit] likely contain' privileged
information. Doc. 52 at 5.                                              *8 The Federal Rules of Civil Procedure do not define the
                                                                        term "trade secret" or "confidential research,
                                                                        development, or commercial information." Case law,
                                                                        however, has defined these terms to mean "information,
              1. ~verbreacith acrd irrelevance                          which, if disclosed would cause surstlntial economic
~9~ Mitchell Transport argues that the request is overly                harm to the competitive position of the entity from. ~~vhom.
broad in its scope and time frame (July 1, 1997' to the                 the iiaformation was obtained." I» r•e .S3 LTD., 242 B.R..
present) and that any records relating to any other                     872, &76 (Bankr.E.D.Va.1999) (quoting Dicrmvrr~l State
accidents or claims involving Mitchell Transport drivers                Ins. Co. v. Rebel Oil Co., 157 F.R.D. 691, 697
have no bearing oii the issue in this case, i.e., whether               (D.Nev.1994}).
Ramse}: negligently caused the accident involving
Plaintiff James Stewart. Plaintiffs do not directly respond             The party moving to quash a subpoena under Rule
co these averbreadth and relevance arguments, and instead               45(c)(3)(B}(i) has the burden to establish that the
assert that irrelevance and overbreadth are not proper                  information sought is confidential and that its disclosure
grounds for quashing a subpoena.                                        will tivork a clearly defined and serious injury to the
                                                                        moving party. Heat c~ Control, lne. v. Hester .Incicrs., .Inc.,
          The collision in this case occurred on July 1, 1997.          785 F.2d 1.017, 1025 (Fed.Cir.l9$6); Composition
                                                                        Rogfers Union Local 30 Welfare Tr-etst Farad v. Gruvelcy
                                                                        Roofing Enter., Inc., 160 F.R.D. 70, 72 (E.D.Pa.1995).
                                                                        The claim "must be expressly made and supported by a
As discussed above, a court nay quash a subpoena duces                  sufficient description of the nature of the documents,
tecum that is overly broad or that seeks irrelevant                     communications, or things n.ot produced so as to enable
documents. The Court will thus examine the merits of                    the demanding party tc~ contest the claim." Dicrmvnd State
Mitchell Transport's objections. The Court tinds the                    Iras., l57 F.R.D. at 697-98.
request to be relevant on its face and can easily conceive
how the requested documents might reveal information                    Mitchell Trantiport has not satisfied this burden. it has
about ether accidents and safety violations that would he               failed to show that any specific or serious injury would
relevant to Plaintiffs' punitive damages claims. At the                 result. from the disclosure of this alleged "proprietary"
same time, hou••ever, t17e Court finds t11e time period                 information. !n addition, it has failed. to describe the
covered to be overly broad. The Court will therefore limzt              documents with sufficient particularity so as to enable
the subpoena. to the time frame July 1, 1997 through June               Plaintiffs to contest its claim. The Court will therefore
30, 199$, which is the one-year period following the                    decline to grant the motion to quash under Rule
collision in this ease.                                                 45(c}(3)(B)(i}. Mitchell Transport asks the Court in the
                                                                        event it denies the motion to quash—to enter a protective
~10~ In addition, for the same reasons discussed above in               order preventing disclosure of this alleged proprietary
Part II.C.l.a, the Court. finds the request to be overly                inforn~arion to non-parties and prohibiting the use of these
broad to the extent the subpoenas command AIC and                       documeaits outside of this lawsuit. For the same reason
Sentry to pi-oduca (1) "information," end (2) all                       discussed above with respect to Ramsey's request for a
docume~ats aad records "regarding" Mitchell Transport.                  protective order (,see Part. II.C.2, supra }, the Court will
The Court Eherefore quashes the subpoenas served on AIC                 direct counsel for the parties to wprk together with A1C
and Sentry to the extent they request this information and              and Sentry to sabmit an agreed protective order guarding
these documents.                                                        the confidentiality of the alleged proprietary
                                                                        documents/information.
                                                                                                                               ,~, ,~ ~.
~~d~'~~ ~, e~c4'1   . ~~_~ ~   ~ .~            ..,. ~ ,               ~ '~., .. ~.,~,,> ,r ..r._~.   ......
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stew~rt ~. ~n~tGnEn ~rr~~sport, Not Reported in F.Supp.2d (2002)


                                                                               however, the Court will direct Mitchell Transport to
                                                                               provide to Plaintiffs a privilege lob contai~zing "a detailed
                                                                               description of the materials in dispute and. specific and
                    3. Claim of~rivilege                                       precise reasons for its claim of protection from
~'~~ Finally, Mitchell Transport alleges that the requested                    disclosure." See id. (citation omitted) (requiring party
unden~riting and claims files "will likely contain                             ►noving io quash on privilege grounds to provide privilege
information which. is protected by the attorneyiclient                         log). The lob; should, at a minimum, include the following
privilege, work product doctrine and/or insurerrinsured                        for each document that Mitchell Transport contends is
privilege." Doc. 52 at 5. Mitchell Transport seeks to                          pri~~ileged or Protected by the work product doctrine:
quash the subpoenas pursuant to Rule 45(c)(3)(A)(iii),
which requires a court to quash a subpoena that «gill result                        1. A description cif the document (i.e., correspondence,
in "disclosure of privileged or other protected matter                              memorandum. etc.);
[where] no exception or waiver applies."
                                                                                    2. Date prepared or date notations made;
This Court recently summarized the rules regarding
subpoenas and privilege as follows:                                                 3. Date of document(if different from # 2);

                                                                                    4. Who prepared the document or made notations nn
Parties objecting to [a subpoena] on the basis of ...
prigilege hear the burden of establishing that it applies. To                       the document;
carry the burden, they must describe in detail the
                                                                                    5. For whom the document vas prepared and to whom
documents or information to he protected` and provide
                                                                                    it «-as directed;
precise reasons for the objection to discovery. A blanket
claim as to the applicability of a privilege does not satisfy                       6. Purpose of preparing the document or making the
the burden of proof.                                                                notations;

       Rule 45(d)(2) expressly provides that "when                                  7. Number ofPages of each document; and
       information subject to a subpoena is withheld an a
       claim that such information is privilebed ox subject to                      8. Basis far withholding discovery.
       protection as trial preparation materials, the claim shall
       he made expressly and shall he supported by a                           See id (settint forth minimum requirements for privilege
       description of the nature of tl~e documcnCs,                            log).
       communications or tl~in~s naC produced that is
       sufficient w enable the demanding party to cont4st the                  Mitchell Transport shall provide this privilebe log to
       claim."
                                                                               Plaintiffs within ten (10) days from the date of tiling ~f
                                                                               this Memorandum and Order. Plaintiffs may then request
                                                                               production of any document for which. the claim of
*9 Plzalp v. City Qf'Over•lar~d Purk, Kctri., No. 0O-2354—                     privilege/protection appears inadequate or waived, and, if
JAR, 2Q02 WL t f 62449, at * 2 (D.Kan. May 8, 2002)                            Mitchell Transport objects as provided for under Rute
(citations aiad internal quotarions omitted).                                  45(c)(2){B), Plaintiffs may file a motion to compel
                                                                               purs~iant to that same rule.
1~litchell Transport has failed to satisfy these requirements
with respect to its privilege and work product objections.
                                                                                         In Part III..B.I, below, the Court grants in part AIC's
The Court therefore does not possess sufficient                                          motion to qu~ksh the second subpoena served on it. The
information to enable it to determine whether each                                       Court recognizes that its rulings with respect to AIC's
element of the asserted privilege/protection has bee~a                                   motion to quash may render Mitchell Transport's
satisfied. Given Mitchell Transport's failure to provide                                 privilege concerns moot.
the required information, the Court could deny the motio►x
to quash to the extent it is based on Mitchell Transport's
assertion of privilege and work product protection. The
Court, however, will decline to do so at this time. Instead,
the Court will grunt die motion to quash as to the alleged                          III. AIC's Motions to Quash, or• in the Alternative, for
privileged/protected documents, anci AIC and Sentry shall                                     Protective Order(doe. 24 and S 1)
not be required to produce, at least at this time, the
requested documents that Mitchell Transport contends are                             A. AIC's Motion to Quash First Subpoena, or in the
privileged~`protected.    Notwithstanding       the    abo~,e.                            Alternative, for Protecti~~e Order (dc~e. 24)
                                                               ~ -z;           ,.        ..~., €.,r
                .., ~.~1 ~ rr ..   _<. .-. , ,. .. A   _. a.             -;r
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Plaintit~s have served., or have attempted Co serve, two               will, however, g►•ant AIC's motion for protective order to
subpoenas on AIC. AlC moves to quash the first                         guard against disclosiue of these documents to non-
subpoena, arguing that it was not properly served on AIC.              parties and to prohibit use of these documents outside of
Although Plaintiffs do not concede that the first subpoena             this litigation. Counsel for AIC shall work together with
was improperly served, they do state in their response that            cou~~sel for the parties to agree to a protective girder
they have re-served the subpoena on AIC. By sewing the                 prohibiting the disclosure of these documents to non-
second subpoena, Plaintiffs effectively withdrew the first             parties and prohibiting the use of these docu►nents outside
subpoena, thereby rendering moot die issues raised in this             of this lawsuit. In the event an agreement cannot be
first motion to quash.                                                 reached, AtC shall, within ten (10) days from the date of
                                                                       tiling of this Order, submit to the Court a proposed
                                                                       protective order for the Court's review.

  B. AiC's Motion to Quash Second Subpoena, or in the
                                                                              The Court recognizes that Cen drivers whose records are
        Alternative, for Protective Order(doc. 51)                            covered by the second subpoena were not even tired by
*1.0 AIC moves to quash the second subpoena on                                Mitchell Transport until 2002. Given the Court's ruling
numerous grounds. in the event the Court denies the                           as to the relevant time period of the second subpoena,
motion to t~uash, AiC requests that the Court enter a                         those drivers' records need not Ue produced.
protective order to guard the confidentiality of any
documents AIC prod~ices pursuant to this subpoena.


                                                                                3. Propriedary erne! trade secret informntiorr
                      1. IrrelevatrcE                                  AIC objects to producing certain documents that "contain
A1C raises much the same argument as Mitchell Transport                numbers, dollars and codes used by AIC in calculating
regarding the lack of relevance of the subpoenaed                      premiums"(doe. 51 at p. 2) on the basis that they contain
documents. For the same reasons discussed above in Part                proprietary and trade secret information. Plaintiffs
II.B.1, the Court will limit the second subpoena to the                respond. that they are not interested in these documents.
time period July 1, 1.997 to June 30, ].998 and will quash             The Court will therefore grant the motion to quash to the
the second subpoena to the extent it commands AIC to                   exte►it it commands r11C to produce documents containing
produce documents outside of that time frame.                          such infotmarion.

The Court also i~~tes that its ruling above with respect to            A[C: also objects to producing a "Fleet Safety Evaluation"
ttie overly broad nature of the subpoena (.see Part TI.C.I .a,         on the basis that. it too contains proprietary and trade
suPru), applies equally to AIC. The Curt thus grants                   secret information. AIC states that the Fleet Safety
AIC;'s motion to quash to the extent the second subpoena               Evaluation was conducted in September 2001. Because
commands AIC to produce (l) "information," and (2) all                 the Court has already ruled that the only relevant. time
documents and records "regarding" Mitchell Transport.                  period is July 1, 1997 to June 3U, 1998, AIC is not
                                                                       required. to produce the Fleet Safety Evaluation and the
                                                                       Court need not address AIC's trade secret argument
                                                                       regarding the Evaluation,
              2. Priv~cv r~ightr ofotfaer drivers
~'~~ ATC also moves to quash the second subpoena on the
basis that the subpoena requires AiC eo di~rul~e
information about the driving records of thirty-six drivers                   4. Claim ofI~rivilege as to AIG's cdaitns.files
who are not parties to this action. A1C asserts that                   *11 A1C states that it has already provided Plaintiffs with
disclosure of this inforn~ation would violate Tennessee                the claims file relating to Plaintiff James Stewart's
end federal law protecting against the disclosure of such              accident. A1C objects to producing privileged documents
information. See Tenn.Code Ann. § 55-25-107; 18                        from any other claims files, because those tiles all. relate
U.S.C. § 2721. As Plaintiffs cormctly point. out, however,             to other accidents. According to AIC, those accidents
those la~~~s allow the disclosure of such information "[fJor           occurred after September 2001. Because Chese other
use in connection with any civil ... proceeding." See                  claims files fall outside the relevant. time period, AIC is
Tenn.Code Ann. § 55-25-107; 18 U.S.C. ~ 2721.                          not required to produce them, and. the Court need not
                                                                       address AIG's privilege objection.
Accordingly, the Court will decline to quash the second
subpoena based on AIC's privacy objectio~ls.' The Court                IT IS THEREFORE ORDERED that Defendants'
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Renewed Motion to Quash (doc. 43-1) is denied to the              Rubber, and Goodyear Tire and Rubber. shall proceed
extent. it is brought by Defendants Lany G. Ramsey and            without the protection of any such order.
Insurance Corporation of Hannover to quash the
subpoenas served on Associates Insurance Company and              *12 IT 1S FURTHER ORDERED that Defendants'
Sentry Select lnstirance Company.                                 Renewed Motion to Quash (doa 43-1) is granted in parC
                                                                  and denied in part, as set forth herein, to the extent it is
IT IS FURTHER ORDERED that Defendants' Renewed                    brought by Defendant Mitchell Transport, Inc. to quash
MoCion to Quash (d~oa 43-1)is de~zied to the extent if is         the subpoenas served on Associates Insurance Company
brought by Defendants Mitchell Transport, inc. and                and Sentry Select Insurance Company.
Tnsurai~ce Corporation of .Hannover to quash the
subpoenas served on Boyd Brothers Transportation,                 iT 1S FURTHER ORDERED that Mitche]] Transport,
Mayfield Printing, General Tire and Rubber, and                   Inc. shall, within ten (10) days from the date of filing of
Goodyear Tire and Rubber.                                         this Order, serve on Plaintiffs a privilege log as set forth
                                                                  herein. Plaintiffs may than request productioia of any
iT 1S FURTHER ORDERED that the Court declines to                  document tier which the claim of privilege/protection
entertain Defendants' Renewed Motion to Quash (doc.               appears inadequate or waived, and, if Mitchell Transport,
43-1) to the extent it seeks to quash. the subpoena served        inc. objects as provided for in. Rule 4S(c)(2)(B), Plaintiffs
on AXA Global Risks U.S. Insurance Company.                       may file a motioia to compel pursuant to that same rule.

IT IS FURTHER ORDERED that Defendants' Renewed                    IT IS FURTHER ORDERED that the Motion for
.Motion to Quash (doc. 43—I) is granted to the extent it is       Protective Order (doc. 43-2) brought by Mitchell
brought by Defendant Larry G. Ramsey to quash that                Transport, Inc. to protect the confidentiality of alleged
portion of the subpoenas served oia Boyd Brothers                 proprietary information contained in the documents
Trinsportation, Maytield Printing, General Tire and               subpoenaed from Associates Insurance Company and
Rubber, and Goodyear Tire and Rubber which commands               Sentry Select Insurance Company is denied. However,
them to produce "all. records, documents or information in        ~z=ithin ten (10} days of the date of filing of this Order,
[their] possession regarding Larry G. Ramsey." The                counsel fir xhe parties, in conjunction with. Associates
Renewed Motion to Quash (doc. 43-1) is denied in all              Insurance Company and Sentry Select Insurance
other respects as it applies to the subpoetaas served on          Company, shall confer and attempt to agree upon such a
Boyd Brothers Transportation, Mayfield Printing, General          protective order. If an agreement is not reached, the Court
Tire acid Rubber, and Goodyear Tire and Rubber.                   will. allow Mitchell Transport five (5) days thereat~er to
                                                                  move for a protective order ~rotectiu~ the confidentiality
IT TS FURTHER ORDERED that the Motion for                         of the alleged proprietary documents/infarmation.
Protective. Order (dot. 43-2) brought by Larry G. Ramsey          Plainti#'fs shaU respond to the motion for protective order
to protect the confidentiality of documents subpoenaed            within five(5) days after service of the motion.
from Bayd Brothers Transportation., Mayfield Printing,
General Tire and Rubber, and Goodyear Tire aid Rubber             TT TS FURTHER ORDERED that Associates Insurance
is denied. However, within ten (10) days of the date of           Company's Motion to Quash Subpoena, or in the
filing of this Order, counsel for the parties shall confer        Alternative, for Protective Order (doa 24) is denied as
and attempt to agree upon a protective ardor guarding the         171oOt.
confidentiality of any private or medical information
about Ramsey contained in any documents subpoenaed                IT IS FURTHER ORDERED that. Associates Insurance
from Boyd Brothers Transpartati~n, Mayfield Printing,             Company's Motion to Quash Second Subpoena (dot. 51-
General Tire anti Rubher, and Goodyear Tire end Rubber.           1)is granted in paM and denied in part as set forth herein.
[f the parties are unable to reach an agreement, the Court
will allow Ramsey five (5) days thereafter to move for a          IT IS FURTHER ORDERED that Associates Insurance
protective order protecting the confidentiality of the            Company's Motion for Protective Order (dot. 51-2) is
documents/information. Plaintiffs shall respond to the            granted as to the records of those drivers that Associates
motion for protective order within five (5) days after            lnsuranee Company is requirzd to produce pursuant to
ser~~ice of the motion.!f neither an agreed-upon protective       this Order. Counsel for Associates Insurance Company
order nor a moeion for protective order is filed within the       shall work together with counsel. for the parties to agree to
time period. specified, production of the documents               a protective order protecting the confidentiality of these
requested in the subpoenas se►ved on Boyd Brothers                documents. In the event an agreement cannot be reached,
Transportation, Mayfield Printing, General Tire and               Associates Insurance Company sh111, within ten (10) days

 ~~r~.~t`~~~                                                  _         ....,    ~~..   ._
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St~~rart v. Mitctieli Trarispc~rt, Nit Repcsrted in F.Supp.2d (2Q02)



from. the date of filing of dais Qrde~•, submit to the Court a          AU Citations
proposed protective order for the Court's re~~iew.
                                                                        Not Reported in F.Supp.2d, 2002 WL 155821Q
IT IS SO ORDERED.

end crf L~cscu c?~2                                              ~~ 2~it7 TE~arns~,n Reu~f•~~. No claim ic, orsgina! tJ.S. uav~rnrrent'J~Jarks.
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Smith v. ServiceMaster Nailing Corp., Not Reported in F.Supp.2d (2011)




                                                                     time within the nationwide FLSA period, that the
                 aoii WL 45910$8                                     defendants viol~eed the FLSA by engaging in a common
   Only the Westlaw citation is currently available.                 policy and practice of not compensating the technicians
            United States District Court,                            for all the hours they worked and refusing to pay them
                  M.D. Louisiana.                                    overtime wages.

  Jcihn Sb~il'I'H, on b~halt of Himself and a Class of               Plaintiff tiled this collective action for violations of the
                those Similarly Situated                             FLSA under 29 U.S.C. § 216(b) in the VVestet-n District. of
                            v.                                       Tennessee on July 14, 20O9. On April 8, 2010 VJiI:(iam
     SERVIC;EII~IAS'1'F.R HOLI:)ING COKP., e;t al.                   Craig, a pest control technician, filed a notice of consent
                                                                     to join in the collective action.= This case proceeded in the
               Civil Action Na. io-444—B~—SCR.                       Tennessee district court for approximately one year.
                                                                     .During ehis time a scheduling order was entered,}
                            Sept. 30,2oii.
                                                                     discovery commenced focusing on collective acrion
                                                                     certification issues, a stipulated protective order was
Attorneys and Law Firms                                              issued, znd this motion was filed by the plaintiff.

J. Burton Leblanc, 1V, Baron &Budd, P.C., Jo Ann Lea,                        Record docwnent number 44.
Batten Roue, LA, Denyse F. Clancy, Baron &Budd,
Dallas, TX, Lori E. Ancin~s, Andrus Anderson LLP, San
Francisco, CA,for Plaintiffs.
                                                                             Record document numUer 31. This scheduling order
Rene' E. Thorne, Jackson Lewis LLP, New Orlea~ls, LA,                        was later modified. Record document number 52.
Amanda C. Sommerfield, Joan B. Tucker Fife, Winston
And Stra~vn LLP,San Francisco, CA,for Defendants.
                                                                             Recard document number 39.


  RULING ONMOTIOrV TO COMPEL DISCOVERY                               Defendants then filed a Motion to Change Venue and
                                                                     Transfer the Action to the Middle District of Louisiana
                                                                     and a Motion to Stay consideration of the plaintiff's
STEPHEN C. RiEDLiNGER, United States Magistrate
                                                                     Motion to Compel. Both motions were granted and the
Judge.
                                                                     case was traiasferred to this court.~~ At the time of the
                                                                     kransfer phis motion was still pending.
*l Before the court is Plaintift's Motion to Compel filed
by plaintiff John Smith. Record document number 45.
The motion. is opposed.                                                      Record document. numbers 60 and 62.

           Record document number S4. Plaintiff also filed a reply
           memoranciun~. Record document uumbcr 59.
                                                                             Record document numbers 6b, 79, and 81.


Plaintiff brought this representative action for violations
of the Fair Labor Standards :pct ("FLSA") against                    After a careful review of the record in light cif the
defendants Servic:eMaster Holding Corp., ServiceMaster               applicable law in the Fifth Circuit,' the proper course at
Co►npany, Inc., Terminix International Company, L.P.,                this time is to deny the pending motion without prejudice
and Tenninex Tnternational, Tnc. Plaintiff alleged that he           to the plaintiff re-urging it or filing another motion later.
worked as a termite technician in the defendants' Baton
Rouge, Louisiana branch from approximately May 2007                          Since this ease was filed iu the Tennessee e~istrict court.
to December 2007. He claimed on behalf of himself, and                       the parties cited and relied on Sixth Circuit decisions in
for all other persons employed by the defendants as a pest                   their memoranda.
or terniite technicians throughout the United States at any

        n -~           .~                {..
 ~aa~ :r~,                                ~      ~              _    ~, _. _-_,       ~ _ .... __
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Smith v. 5erviceMaster Nalcfin~ Cc~r~., Nit Reported in F.Supp~.~d ~ZQ1 ~f }




Plaintiffs collective action is gover►~ed by ~ 2]6(b),
which provides in part as follows:
                                                                         .Lang v. DirecTV, .l~rc., 735 F.Supp.2d X21, 434--35
                An action to reco~~er the liability                      (E.D.La.2010); Johnsen v. Big Lots Stores, hoc., 561
                prescribed in either of the                              F.Supp.2d X67, 569 (E.D.La.2008); Englcx~tcf v. 1Vei+~
                preceding sentences may be                               Century .Financial C:a~., 370 F.Supp.2d 504, S09
                                                                         (M.D.La2005).
                maintained. against any employer
               (includinb a public agency) in any
                Federal or State court of competent
               ,jurisdiction by any one or more                          See nCs~. Wert v. Lower Hame Centers, Irac., 2010 WL
               employees for and in behalf of                            5582941 (W.D.La. Dee. 16, 20IQ), report c7ntf
                himself or themsei~es and other                          recannxenclution nilople~d h~-, 2011 VVL 12690f3
               employees similarly situated. No                          (VV.D.La. Jan. 14, 2011).
               employee shall be a party plaintiff
                to any such action unless he gives
                his consent in writing to become                  *2 Plaintiffs in an FLSA collective action have the burden
               such a parry and such consent is                   of establishing that they are similarly situated to the other
               filed in the court in which such                   employees. Err~larul, 370 F.Supp.2d at SU7. Section
               action is brought.                                 216{b) requires that the employees be similarly, not
                                                                  identically, sihiated. An FLSA collective action is
The Fifth Circuit has not established a standard for FLSA         appropriate when there is a demonstrated similarity
collective action certification, declining to choose              among the indi~~idual situations, that is, some tactual
between the two methods it set forth in r~foo~zey i~.             nexus which binds the nanied plaintiff and the other
Ar•amco Servicesx—the two-step Lusarcli v. Xerox Corp.'           employees together as victims of a particular alleged
 method and the spurious class action method of Sushan ~~.        policy or practice. Id., at 508.
 U~iiversity of~ Colcrr~acto.i0 Since M~~or~ey> the prevailing
method used by district courts in the Fifth Circuit has           Under Lr~sarcfi the trial court approaek~es the "similarly
been the Lusur-da two-step method.~~ The Lusurdi method          situated" collective action requirement using atwo-stage
is consistent with the Fifth Circuit's statements that there     analysis: (1} the notice stage, and (2) the merits stage. [n
is a fundamental, irreconcilable difference benveei~ the         the notice stage the count deternlines whether the
class action described by Rule 23; Ped.R.Civ.P., and the         plaintiffs a.re similarly situated in ocder to give notice of
collective action provided by the FLSA. The Fifth Circuit,       the action to potential members of the collective action.
in comparing ~ 21 b(b) of the FLSA to Rule 23(c), has            This initial determination is usually based only on the
stated that Rule 23 provides for "opt nuY' class actions,        pleadings and any affidavits which have been submitted.
and the FLSA provision allo~~s as class members only             Because typically little if any discovery has taken place,
those ~vho "opt in." These two types of actions are              this determination is usually made using a fairly lenient
fundamentally different, muriially exclusive and                 standard and usually results in conditional certification ~f
irreconcilable. Sarrdnz v. Cingular bG'ireless LLC., 553         a collective action.' If the district court conditionally
F.3d 913, 916 (5th Gir.2008), citirt~, La Chapelle v.            certifies a collective action the potential members are
(l~verts—!(lr~ior.s, Inc., 513 F.2~i 2~6, 288-49 (5th            given notice and. the opportunity to opt-in. The case then
Cir.197~).~=                                                     proceeds as a collective action throughout discovery.
                                                                 Mooney, 54 Fad at 12]3-14; Clarke v. Convergy:s
                                                                 C'trstamer tL1g1. Group, 370 F.Supp.2d 6U1, 6~5--t)6
        SA F.3d 1207(5th Cir.1995).
                                                                 (S.D.Tex2005); E~~glnnd, su~~ru.

                                                                         At the notice stage the courts appear to require nothing
        118 F.R.D. 351 (D.N.J.1987).                                     more than substantial allegations that tUe employees
                                                                         were victims of a single decision, policy or plan. While
                                                                         the standard at the notice stake is not pnrti~ularly
                                                                         stringent, it is not automatic Monnev, 54 F.3d at 121.4,
~~     1.32 F.R.D. 263 (D.Coto.1990), Russel! v. .Brinker                n.8; Xavier is Belfor LISA Grorrp, Inc ., 589 F.Sup.2d
       Irrternrrtiorzcel Incvrporuted, 2011 WL 4067]71 (Sth              873, 878(E.D.La.20U8).
       Cir. Sept. l4, 2011).

          ..                           -
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                                                                        focusing nn collective action issues, the case was still at
After the opt-in period ends the second stage takes place.              the initial or notice sTage. Under Li.i,sccr~'d the court must.
Generally, the second-stake determination is precipitated               decide `'whether to provide notice to fellow employees
by a motion for decertification by the defendant, usually               who may be similarly situated to the named. plaintiff,
filed after discovery is largely complete and the case is               thereby conditionally certifying a collective actiai."" At
reedy for trial. At this stage the court has much more                  the nonce stage the conditional certification decision is
information on which to base its decision and makes a                   usually based only on the pleadings and any affidavits.
factual determination as to whether there are similarly-                Tlius, under the more lenient standard ~vllich governs at
situated employees who have opted in. Id.; Scr+idoz, 553                the first stage of the Lu.sarcli analysis, the present record
F.3d at 915, ~~.2. Several factors are considered at this               and any discovery or other information that has been
stage:(1)the disparate factual. and employment yettin~s of              obtained thus far is adequaTe for the court to make the
tl~e individual plaintiffs;(2)the various defenses available            conditional certification determination, i.e. whether the
to the defendant which appear to he individual to each                  named plaintiffs and other employees are similarly
plaintiff; and, (3) fairness and procedural considerations              situated in order to give them notice of the action and the
that would make certification improper. England, 370                    opportunity to opt in.
F.Supp.2d at 509-10; West, su~rca, citing, !Lfi~nnc:y. J4
F.3d at 1213, n.7.                                                                 Scxndv:. 553 F.3Ci at n.2.

If the cut►rt makes a factual fiiading that the plaintiff and
the opt-in plaintiffs are similarly-situated employees the
court allows the collective action t~ proceed to trial..                *3 Therefore, it is ui~c~eces5ary to resolve the merits of the
Moa~aey, 54 F.3d at 1214; Suradoz, stcpra: Kaluom v. Stolt              ptaintift's motion at this time. The next step in this
Uf~shore, Tiac., 474 F.Supp.2d 866, 871. (S.D.Tex.2007)."               litigation is filing a motion fir conditional certitication of
If tl~e court finds they are not, the court decertifies the             a collective action, based on t}ie pleadings, any affidavits,
collective action, the opt-in employees are dismissed                   any discovery obtained by the parties since the case was
without prejudice, and the original named plaiiatiffs                   filed, and any other available information relevant to the
proceed to trial nn their individual claims. Id.                        certification issue.

                                                                        Accordingly, the Plaintiff's Motion to Compel is denied,
~d     See also, Gcrr~dlri v, Dell, Inc. 2O09 V6'L 1940144
                                                                        without prejudice to the plaintiff re-urging it or filing
       (FV.D.Tex., July 2. 20U9), rep~~•t card recommendation
       c~c~npted August 4,2009.                                         another motion after the court decides the motion for
                                                                        conditional certification of a collective action.


Iii light of the above legal principles this case should
proceed in accordance with the Lusurcli two-step method  A11 Citations
for determining whether a collective action under
216(b} is proper. it is apparent from the record that    Not Reported in F.Supp.2d, 201.1. WL 4591088
although the initial scl~edulin~ order entered in the
Tennessee court allowed some time_ for discover ~~~~                ~ ~~ ~~ ~~
end of C3aeu~nent                                               s' <'01 I 'tharr~san t?enters,. ivc~ f?~ssr, tCi t7fit1:'lc]I   U.J. CiCSVE'fTlf?lf?(it   Vdc>rks.




           _s,      .,,
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                                                               August 2005 to August 2008, at Defendant's Coppell
                  2oi6 WL 1622880                              location from approximately August 2008 to August
    Only the Westlaw citation is currently available.          201.1, pit Defendant's Flower Mound location fr~►n
                                                               approximately August 2011 to September 2011, and
             United States District Court,
              N.D. Texas, Dallas Division.                     at Defendant's Plano location from tipproximately
                                                               September 2011 to May 2014. Dnc. ?5-3 nt 1. Izaguirre
            l~'t~ria Orozcu, et a.l., Ylaintifts,              worked at Defendant's Plano location from the summer of
                            v.                                 2013 to February 2014. Doc. 25-4 ut 1.
          Anamia's Tex-Mex lnc., Defendant.
                                                               Plaintiffs also seek to bring this action on behalf of
           Civi] Action Nn. 3:i5-CV-2800-L-BK                  other similarly-situated employees and former employees
                                                               of Defendant., pursuant to 29 U.S.C. § 216(b} of the
                    Signed o2/io/2oi6                          FLSA. Doc:. .l at 2. Plaintiffs now seek. conditional
                                                               certification of the class by this court. !n support of
                                                               conditional certification, Plaintiffs argue that Defendant
          FINDINGS, CONCL USIONS, AND                          forced Plaintiffs and other similarly situated employees to
        RECOAIME;~'DATION OF THE UNITED                        "deep clean" the restaurant, to surrender a portion of their
           STATES MAGISTRATE JUDGE                             tips to ineligible employees, and to pay for customer walk
                                                               outs, otherwise known as "dine and dash." They further
KENEE HARRIS TUi_1VF.,R, UNITED STATES                         allege that Defendant failed to inform them and other
MAGISTRATE JUDGE                                               similarly-situated employees ofits intention to take the tip
                                                               credit. ~ Doc. lh at 16-17. Plaintiffs represent that they
 *l Pursuant to the District Judge's Staricling Order
                                                               and opt-in Plaintiff', Gabriel Munoz, have worked at all
of~ RerercneE:. Doc. 8, the undersigned now considers
                                                               four of Defenda►lt's restaurant locations, and declare that
Pl~tintif,Js' Expedited hlntinnfor Conditional CertiTcatian,
                                                               violations of the FL5A occur at each one. Dac. 16 at 17.
Notice to Pc>tenticrl Plr~irrtiffs, and Limited Ex~~eclited
Discover}~, Doc. 16. For the foregoing reasons, Plaintiffs
motion should be GRANTED IN PART.                                     Lnder 29 U.S.C.~~' 203(m),there is ~n exception to the
                                                                      57.25 per hour minimum wage for tipped employees.
                                                                      Employers are permitted to pay such employees at
                    I. BACKGROUND                                     a rate of $2.13 per hour, provided tips received by
Maria Orozco and Karin~i Martinez bring this suit under               the employees make up the difference b~twcen tl~e
the Fair Labor Standards Act ("FLSA") against their                   national minimum wage of $7.25 and $2.]3 per hour.
                                                                      ,L1c~ntuno i•. ,~1wt~rose Rest. ,~ssocs, !nc•., 8U0 F..3d 186,
former employer, Anamia's Tex-Mex, lne. Doc'. 1 ut
                                                                      IH8 ,/5th C'ir. ?015). This is referred to as a tip credit.
1-2. Defendant operates restaurants in Coppell, Plano,
                                                                      Id.
South Lake, and Flower Mound, Texas. Dnc. I at 3.
Plaintiffs are former employees who worked as waitresses       Plaintiffs request that the Court approve and disseminate
who received tips at Defendant's restaurants. Doc. 1           notice to persons who were employed as waiters,
ut 3. Plaintiff Orozco worked at Defendant's Plano             waitresses, bartenders, and other employees receivi~ig tips
location from approximately April 2~1? to May 2015.            at Defendant's restaurant. at any time from August 27,
Doc. 25-1 at 1. Plaintiff Martinet worked at Dzfendant's       2012, to the present. Doc. .16 a~ 1~. Alaintiffs ftuther
Coppell location from approximately September 2013             request that all potential plaintiffs be given 90 days from
to May 2014, anti at Defendant's Plano location fi•om          the date the notices are mailed to "apt-in" to the collective
approximately May ?014 to March 19, 2015. Doc. 25-2 ut         action. Uac. 16 ar 18.
1.
                                                                *2 Defendant argues that Plaintiffs have not met the
The two Opt-in Plaintiffs, Gabriel Munoz and Elvin             standards required to obtain conditional certification
Izaguirre, are former waiters at Defendant's restaurants.      because they have not shown that persons exist that are
Dnc. ZS-3 at 1; Doc. 25-4 ut 1. .Munoz worked                  both interested in this litigation and similarly situated as
at Def'endant's Sauthlakc location from approximately          Plaintiffs. Doc. 18 at 7, 12. Specifically, Defendant asserts


   ,.      rf
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th~►t the affidavits submitted by Plaintiffs are conclusory,     properly paid for such time.".Doc. 1.5-1 at 2; Doc. 25-2 ~~t
vague, unsupported, and fail to identify a single current or     2; Doc 25-3 cat 2; Doc•. 25-4 at 2.
former employee that wishes to join this suit, other than
themselves. Doc.!8 at 13. Further, Defendant alleges that        Plaintiffs aver that thc~~ frequently were required to stay
Plaintiffs have failed to meet their burden of showing a         up to two additional hours to "deep clean[ ]the kitchen.,
common illegal pay policy or decision on a company-wide          walls, and scrub[]restaurant tables/floors and el~airs and
basis, considering the alleged unlawful activity is specific     clean[ J mold out of refrigerators" and `clean walls at the
to one manager and one location. Doc'. 18 cit 14-1~.             restaurant with ... faam cleaner, sweep, and take out the
                                                                 garbage." Doe. 25-1 ut 2; Dvc. ZS-2 at 2; Doc. 2~-3 at Z:
                                                                 Doc. 25-4 ut 2. They assert that these tasks were normally
                 II. APPLICABLE LAW                              performed by "bus boys or a cleaning crew that is typically
The FLSA provides that a suit may be instituted by               paid at least minimum wage or better." Doc'. ?S-1 at 2:
"one or more employees for and in behalf of himself              Doc. 25-2 at 2; Doc. 25-3 at ';.Doc. 25-4 at 2. Plaintiffs
or themselves and other employees similarly situated" to         performed these tasks at the rate of ~2.]3 an hour or, an
recover unpaid minimum wages, overtime compensation,             occasion, without compensation. Doc'. 25-1 at 2; Doc'. Z.i-
and liquidated damages from employers who violate the            2 at 2; Doc. 2s-3 at 2; Dor•. 25--~ at Z.
statute's provisions. 29 tJ.S.C'. ~ 216(b). This type of
collective action follows an `bpt-in" procedure in which         Further, Plaintiffs state they are required to contribute
nn "employee shall be a party plaintiff to any such action       4`%, of their tips for the night. to a tip pool from which
unless he gives his consent in writing to become such a          "bartenders and expediters received t'%~ each ... while
party and such consent is filed in the court in which such       bus boys received 2%." Doc'. ?5-1 at 2; Dac. 25-2 ut
action is brought." Id.                                          2; Doc. 25-3 at 2; Doc. 25-4 at ?. The expediters work
                                                                 in the kitchen, do not interact with customers, and,
Under the FLSA,courts have discretion to allow a party           thus, are nat regularly tipped. Doc. 25-1 at 2; Doc. 25-
asserting claims nn behalf of others to notify notentia]         2 uc 2; Doc'. 25-3 at ?; Doc. 25-4 ut 2. Additionally,
plaintiffs that. they may choose to "opt-in" to the suit.        "[m]anagement ... consistzntly threatened to terminate
See Hc~Jf"n~nnn-I.cr Roche, tnc. i~. Sperling, 493 U.S. 165,     employees who refused to pay for 'dine and dash' meals,
169 (1989). Although the Court of Appeals for the Fifth          breakage, or register shortages." Doc. 25-1 ar 2; Doc. 2S-
Circuit has not adopted a specific standard to be used           2 ut 2; Doc. 25-3 ut 2; Dac. 2.5-4 ut 2. Plaintiffs also
in determining the propriety of class certification under        declare they were never informed of the "tip credit," and
the FLSA, this Court has utilized the ~revaiJing two-step        that Defcnclant has never had a sign concerning minimum
approach. Agzu/ar• i~. Corrz~/ete Lcmrlscu/ptt~i•e, !ru•., Na.   wage rights conspicuously displayed. Doc. 25-1 nt 3;.Doc.
3:t)4-CV-{)776, 2004 VVL 2293842,at * 1 (N.D.Tcx. Oct. 7,        ?5-2 at 3; Dc~c. 25-3 at 3; Dac. 2.i-4 at 3. Lastly, Plaintiff's
2004)(Fitzwater, J.); see also Suncfn~ v. Cingular 6[~7rele•ss   were required to work during their paid breaks. Doc. 25-
I.I.C, 553 F.3d 413. 915 n.2 (nth Cir. 2O08)(noting that         1 ut 3; Doc. 25-2 crt 3; Doc. 25-3 at 3; Doc•. 25-4 art 3.
collective actions are "typically" analyzed this way).

                                                                                       IV. ANALYSIS
     1TI. PLAINTIFFS'EVIDENCE TO SUPPORT
           CONDITIONAL CERTIFICATION                                    a. There are other similarly-situated aggrie~~ed
Alaintiffs have submitted to the Conrt four at~'idavits                  indi~~duals ~vho desire to the join the lawsuit.
in support their motion, including the affidavits of the          *3 At the first or "notice" stage, the evidentiary standard
two opt-in plaintiffs. Doc. 25-1; Dnc. 25-2; Dnc. 25-3:          is lenient, requiring `'nothing more than substantial
Dac. 25-4, Plaintiffs and opt-in Plaintiffs submit nearly        allegations that the putative class members were together
identical declarations in which Plaintiffs state they were       the victims of a single decision, policy, or plan." <'~laoney
waitresses or waiters at the Defendant's restaurant, and         r•. Arn~nco S'ervs. Ca., 54 F.3d l?Q7, 1214 n.8 (5th Cir.
were tipped employees. Doc. 25-1 at 1; Doc. 2.i-2 ut             1990. The court may only foreclose the plaintiffs' right to
1; Doc. 25-3 cat I; Doc. 25-4 art 1. Plaintiffs aver they        proceed collectively if the: action relates to circumstances
were "consistently required to perform job duties outside        personal to each. plaintiff rather than any generally
[theirs responsibilities as waiters/waitresses and were not      applicable policy or practice. ~Iltie~ v. F~~or! Sclf~~t~- e'Vet
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Sens•., l.rc~'., No. 3:14_._CV _0642, ?O14 1~'I:, 4(.)81213, at *3       ?$?. 289 (N.I~. 7'ex. 2!)1.2) (Boyle. J.) (siting :'~foralc:s v.
(N.D. Tex. t'~ug. 18, ?01~)(Kinkeadc, J.).                               Tlzc~ng Nang Corp., 2009 VdL 252461)1, at *3 (W.D. Tex
                                                                         Aug. I4, 2009}). Additionally, Plaintiffs have sufficiently
 To demonstrate th~~t conditional certification and notice               demonstrated that the allegations in the declarations ire
 to pote►1tia1 plaintiffs is proper,, a plaintiff must, at a             based on personal knowledge. Ii~xired Stares v. Cantu,
 minimum, show that "(1) there is a reasonable basis for                 167 F.3d 198, 204 (5th Cir. 1999j ("Personal knowledge
 crediting the assertions that aggrieved individuals exist,              can include inferences and opinions, so long as they
(2) those aggrieved individuals are similarly situated to                are grounded in personal observation and experience."}.
 the plaintiff in relevant respects given the claims anti                Moreover, Gtt this stage, the Court typically relies only an
 defenses asserted, and (3) those individuals want to opt                the pleadings and affidavits, necessitating a more lenient
 in to the lawsuit." Janes ~~. JGC Dallas I.L.C', Na. 3:11.-             standard. Ne~eg v. ~c~czn~,s Fltcrris. [nc., 907 F.Supp.2d ~3Sti,
CV-?743, 2012 WL 6928101, at *3 (N.D. Tex. Nov.                          861 (S.D. Tex. 2012). Tlie Curt tines not consider the
29, 201.2) (Ramirez, M.J,) (internal alterations omitted)                underlying merits ofthe actign, ld. Accordingly,the Court
(citing Pralc~~• ~~. C'arrrrr~c~r•cr I;cltrrtres ;~9grnt. ('o.. Nn. 07   finds that Plaintiffs have successfully demonstrated the
CV -2349, 2O07 WL X146714, at *~ (S.D. Tex. Nov. 19.                     existence of ether aggrieved individuals.
 2t)07)j, recn~rarriencic~ti~n accepted by 2t)13 WL 271615
(?013)(O'Connor, J.). Ta determine whether the requisite                  '~4 Likewise, Plaintiffs have provided sufficient. evidence
showing has been made, courts look to the similarity                     that such.aggrieved individuals ~~re similarly situated. JGC'
of job requirements and pay provisions, whether the                      Dcillcrs LLC, 2Q12 WL G9281~1, at *3 (citing .1~Ivr~ney, 54
 ptrt~itive class members appear to be passible victims of               F.3d at 121314.). Plaintiffs provided declarations from
a common }policy or plan, whether affidavits of potential                both class representatives end opt-in Plaintiffs attesting to
plaintiffs were submitted, and whether evidence cif a                    similarities in job duties and pay practices for waiters and
wides}~read discriminatory plan was submitted. Id. Courts                waitresses in Defendant's restaurants. Doc. 25--I ud 1; Doc.
also consider whether potential plaintiffs were icienti~ed.              25-2 ~t l: Doe. 25-3 a~ 1; Dc~c. 25-4 cat 1. All declarants
Sotx~er• v. 17i11~~n Rc~sc>rt:•ces, Crrc., aG) F.Supp.2d 703, 7O7        aver they wcr~(1}tipped ~mpio}ee~,(2)required to exceed
(N.I:a.'Tex. 2(}OK)(McBryde,1.}. Once a plaintiff meets this             the scope of their job responsibilities, (3) required to
lenient burden, the court conditionally certifies the class              participate in an impermissible tip pool,(4) required to
and facilitates notice to the patentia] plaintiffs. Aguilcz~•,           pay for "dine and dash meals,"(Sj uninformed of the tip
?004 WL 2293842, at * 1.                                                 credit, and (5) required to work during paid breaks. Doc.
                                                                         25-1 at 1-3;.Doc. 25-2 at 1-3; Doc. 2.5-3 nt 1-3; Doc. 25-
Defendant argues that the declarations consist of general,               4ar1-3.
vague, conclusory, and hearsay comments made by
unnamed family, friends, and coworkers. Doc. 1~ at                       Defendant argues that Plaintiffs have not carried their
9-IU. Defendant further asserts that the declarations                    burden of alleging sufficient facts establishing common
are not supported by specific facts, such as dates on                    illegal pay policies or decisions on a company-wide
which the FLSA violations occurred, who was behind                       basis. Doc. IS at 14. Specifically Defendant asserts that
tl~e atlegecj violations, or the names of the family,                    Plaintiffs claims stem from their experiences as servers
fiiends, and okher tipped employees who discussed their                  only at the Plano location. Dec. 18 cr.t 14. The Court
situation with Plaintiffs. Dnc. 1~ at ll. Defendant                      agrees. Plaintiff Martinez and Opt-in Plaintiff Munoz
argues that, consequently, the Court should not consider                 have nit produced competent evidence supporting their
the declarations. The Court does not tind Defzndant's                    allegations that Defendant has a uniform. tipping and
argument availing.                                                       wage payment policy at each of their restaurants. The
                                                                         declarations allege misconduct from three managers, all
Each named Plaintiff has pro~~ided a declaration that                    located at the Def'endant's Plano location. Dnc. 25-1
describes Defend~.~nt's alleged failure to comply with.                  at 1; Doc. 25-2 crt 1; Doc. 25-3 art .1; Doc. 25-4 ut 1.
previsions under the FLSA. Declarations such as these                    Plaintiffs fail to show that they have personal knowledge
"are ideal for analysis of ~~~ilether 'the putative class                of violations at Defendants other locations. Specifically,
members were together the victims of a single cie:cision,                Plaintiffs fail to identify the managers at Defendant's other
policy, or plan.'" Jrnxes v. Sulx>rMdia fnr., 281 F.R.I..                locations or detail any violations at the other restaurant
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locations. Plaintiffs' vague and conclusory assertion that        be ordered to confer in an attempt t~ agree on notice
they have "friends and family" that currently or fornlcrly       1~3nguage that is consistent with the circumstances of the
worked for Defendant who informed them of violations             case. See A,~uct}~~> v. Bcr,s,s~na Ocleh, lnc., No. 3:13-CV-
at Defendant's other locations is not pertivasive. Doc. 2S-      ?951--8, 2Q14 WL 737314, ~~.t *6(N.D. Tex. Feb. 26, 2014)
I ut 2-3; Dnc:. 25-2 crt?-3; Doc. 25-3 at 2-3; Doc. 25-4 at      (Boyle, J.)(ordering the parties to confer nn the contents
2-3; SeE: H & R Block, Ltcf v. Hausden, 186 F.R.D. 3~9,          of tl~e notice). Such notice should include bartenders, as
4t)O (F.~.D. Tex. 1999} (finding conditional. certification.     thz evidence indicates that they tao are tipped employees.
improper where the two plaintiffs submitted declarations         See ~4guilcir, 2Q04 WL 2293842, at ~`4 ("The court holds
"simply stating] that they believe other workers were            that no distinction should be made between foremen and
discriminated against in similar ways").                         l~~borers ... because they appear to be similarly situated in
                                                                 all relevant respects ... The p~siti~ns need to be siinilae,
Accordingly, the Court finds th~~t Plaintiffs have                but not identical."). However, the notice should exclude
sutficiently established the existence of similarly situated     references to overtime and credit card percentages being
potential plaintiffs and, thus, have met the requirements        withheld. And, as discussed +u~r~a, the notice should be
for conditional certification of the class inclusi~°e only of    limited to Defendants Plano location. Lastly, all potential
«~aitecs, ~~~aitresses, bartc~~ders,and other tipped personnel   plaintiffs should be given 90 days from the date of mailing
employed at Def'endant's Plano location at any time from         to opt-in to the collective action. If the parties are unable
August 27, 2012, to the present.                                 to agree nn the contents of the notice, they should be
                                                                 required to submit a joint report to the Curt detailing
                                                                 any unresolved issues and their respective positions. Sec:.
                b. Form and 1~lethod of Notice                   .4~atu}'o, 2014 WL 737314, at *6.
Plaintiffs rc;quest that t1~e Court approve and disseminate
the notice attached to Plaintiffs' Brief in Support. Doc. 16
eft 17,- Doc. 16-5; Doc°. 16-fi. They argue that the notice is                      c. Expedited Discovery
neutral as to the merits of the case and specifically states     Plaintiffs request that the Court compel Defendant to
that the Court is not indicating whether any relic;f will be     provide the name,job titles, beginning and end dates of
granted..Doc..16-5. They further contend that the notice         employment, address, telephone number, date of birth,
states that potential plaintiffs are free to choose whether to   Social Security number,and e-ntaiJ address ofeach person
be represented by the undersigned attorney or an attorney        ~vho worked as a waiter, waitress, bartender, and other
of their own choosing. Doc. Ih-S crt 4. Plaintiff's also         tipped employees, and those who performed the same
request that all potential plaintiffs be given 90 days from      or• similar job duties to Plaintiffs during the relevant
the date of mailing t~ opt-in to the collective actin. Dnc.      time period—August 27, 2012 to present. Doc'. 16 ut
16 at 18.                                                        In; Doc. Ib-7. Defendant objects that Plaintiffs broad
                                                                 requests violate the privacy rights of the proposed class
Defendant objects to Plaintiffs' proposed notice as              members, and argues #hat Plaintiffs do not need all of the
biased, and suggests that the parties confer to develop          information requested to provide notice to putative class
notice language that is consist~t~t with the circumstances       members. Doc'. IS at 3~. In particular, Defendant objects
of the case before notice is issued. Dc~c. ICY err 2S.           to providing to Plaintiffs the telephone numbers, dates
Defendant further argues that the notice should be               of birth, Email addresses, and Social Security numbers
limited to Defendant's Plano location, should not include        of its current anti former employees. Doc. 18 at 30.
bartenders, sl~o~~ld not refer to causes of actions that are     However, "discovery of this sort ~f' int~ormation is a
not pleaded in Plaintiffs' complaint, and should retlect         routine component of court-facilitated notice in FLSA
the proper statute of limitations period. Doc'. IS art ?S-?9.    collective actions." fiehnlren v. Lttrr~inant Min. Co., LLC',
Defendant does not object to the request that all potential      997 F'.Supp.?d 511, 325--26(N.D. Tex. 2t)14)(Fitzwater,
plaintiff's be given 90 days from the date of mailing tc~ opt-   J.)(citing Hc~ffrnurz~a-La RaclaE: Irac.. 493 U.S. at 170).
in to the collective action.
                                                                 Thus, to improve the accuracy of notice and minimize
 *5 Defendant's position that a conference of the parties        delay, Plaintiffs' request for expedited discovery of the
regarding the notice is ~ppr~priate in this case is well         name,job titles, beginning and end dates of employment,
taken. Accordingly, it is recommended that the parties           and last known address of each person who worked as

     ~.          ~ ._                __      ~                              _               _   ~.... _._ .. _ .._w . _v__~_ ~~ _. .
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t3rozco v. Rnamia's Tex-Mex One., Slip Copy (ZQ16}
                  ~ _          .~_~,~,.,. .~.~~..~......a„~.,~,                         .~...~p_   ,._,.r. ~,_._,.., ~   a~u x~ __ ~,.aa   ,,.d,
2016 WL 1622880
                                                                        at any time beri~~een August 27, 2012, and the present,
a waiter, waitress, bartender, and other tipped employee,
or who performed thc~ same or similar jib duties as those
                                                                        incl usivc.
positions, during the period of August 201.2 through the
                                                                         *6 The parties should be ordered to confer and jointly
present, inclusive, and ~t Defendant's Plano location,
                                                                        submit a proposed notice to the Court in accordance with
should be granted. But Plaintiffs' request that Defendants
                                                                        the specific recommendations herein. If after conferring
also reveal the telephone numbers, dates of birth, SUcial
                                                                        the parties are unable to fully agree on the notice contents,
Security numbers, and email addresses of potential class
members should be denied, due to the "highly personal"
                                                                        they should be required to submit to the Court a joint.
                                                                        report outlining the disputed issues and the parties'
nature of the information sought. Aguilar, 2OO4 WL
229382, at *5 (declining request for telephone numbers);
                                                                        respective positions.
A/trc:~~, 2014 WI. 4081213, at *6 (declining request for
                                                                        Lastly, Defendant should be ordered to produce to
phone numbers and email addresses); Agurrti•c~, 2014
                                                                        Plaintiffs' cowlsel the names, job titles, dates of
WL 737314, at *6 (limiting production to names,. last
                                                                        employment, and address of every individual employed
known addresses, and dates of employmznt). However,
                                                                        at Defendant's Plano location as a wazter, waitress,
Defendant should be required to pravicie Pl~~intiffs'
                                                                        bartender, and other tipped employee, ar who performed
counsel with the last four digits of the Social Security
                                                                        the same or similar duties as those positions, at any time
number ~f any potential class member whose notice is
                                                                        between August 27, 2012, and the present, inclusively.
returned as undeliverable. A~nscar•r.>, 2(}l~l WI... 737314, at
                                                                        Further Defendant should be ordered to provide to
'~6.
                                                                        Plaintiffs' counsel the last four digits of the Social Security
                                                                        number of any potential class member whose notice is
                      V. CONCLUSION                                     returned as undeliverable.
For the above reasons, Plaintiffs' Expc3ciiied ..Motion far
Con~liti~7rz~a1 Ge~r•ti~fication, ?~'otice zo Ac~tentiul P/uintffs,     SO REC01~1MMENDED nn February l U, 201 G.
and Lrmitecf Ex~~eclitec~ Dr.s•covery, .D~c. Ib, should be
GRANTED IN PART. The Court should conditionally
                                                                        All CitaCions
certify this collective action. The prospective class should
be ti~nited to waiters, waitresses, bart~;nders, and other              Slip Copy,216 WL 1622~s0
tipped person►~el employed at Dzfendant's Plano location

 end of C9ocument                                                     ~f17 Thvrnson Reuters N~ cEaim :a origira! U.S. Gc;vemm~:nt'vt't>rks.




                                               _..       _.
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                  .... ..                                        ~~...
2006 WL 4660134


                                                                                                               (4) Derc~nr~'crnt's Arrpen~lix in Support <~f its Response in
                  2006 WL 466oi34                                                                                On~O.S%llOiI l0 PICllT111~S~ ftfiotinn to Facilitute S~ 21b(b)
    Only the ~vestlaw citation is currently available                                                            h'i~tice a~~d Brief'in Support, filed April 7, 2006;
              United States District Court,
                      N.D.Texas,                                                                               (5) 1'l~rintifs' Reply to Defendant's Re,s~c~nse irc
                    Dallas Di~~ision.                                                                            Oppc~s turn to Plaintiffs' Motion Zv Facilitate ~ti 21h(h)
                                                                                                                 Notice("Reply"), filed May 9, 2006;
             Wilford VOLT,.James P. Gauthier,
        Humberto Reyna,Jr., for'themselves and                                                                 (6) Srip~lementczl Appcnclrx in Support ~f' Plaintiffs'
          all others similarly situated, Plaintiffs,                                                             Re~~ly to DE?fcndcrnt's Rcspvnse in Oppasitzon try
                                          v.                                                                     Motiaz tU Facilitate ,~ 216(bj Notice, filed May 9,
       TEXAS INSTRUMENTS,INC., Defendant.                                                                        2006;

                                                                                                               (7) DefEndimP,s tillntiort to Strike and nbjeclion.s to
                  Civil Action No. 3:o5-CV-2244-L•
                                                                                                                 Neii~ Evidcrzce ir7 PlctntiJfs' Su~plententu/ A~pendi.L in
                                                                                                                 Su~por•t of'Plc~it~tiffr' Reply to De,Jert~lunt's Res~~onse iii
                                 Sept, ig, 2006.
                                                                                                                 Opposition to Plainziffs':~klotion tv Facrlirute ,5~ 21b(b1
Attorneys and I..a~v Firfns                                                                                      Notice cdrid BricJ'in Sarppar•t ("Mot. to Strike"), filed
                                                                                                                 May 23, 2006;
David K. Watsk}~, Hal K. Gillespie, James Dennis
Sanford, Gillespie Rozen Watsky Motley &Jones, Dallas,                                                         (8) Defendant's ,~I~~zir~n for Leai~e to File Sur reply in
TX,for Plaintiff's.                                                                                              Opposition to ~Plaint~fs' Nation to Facilitate ~ 2X6(b)
                                                                                                                 Notice crricl Brief~rra Support, filed May ~3, ?006, and;
Stephen E. Fox, Thomas M. Melsheimer, Elizabeth M.
Bedell, Robert L. Rickman, Fish 8c Richardson, S~ir~h                                                          (9) Plaintiffs' Response to Defen~lcrru's ~1~lotion to Strike
D~ncl1, Therese Ann Couch, Texas Instruments Inc.,                                                               anal MWt~nfor Leare to Fide: Sr.~rrepl~~("Res}. to Mot.
Dallas, TX,for Defendant.                                                                                        to Strike"), filed June 9, 2006.



      MEMORANDUM OPINION AND ORDER                                                                                                          I. BACKGROUND

7RMt~ ~ARRILLO                        RI~MIREZ,                        United               States         This is a putative collective action suit by current and
Magistrate Judge.                                                                                          former employees to recover unpaid overtime wages under
                                                                                                           the Fair Labor Standards Act ("ELBA"), 29 U.S.C. §
 ~1 Pursuant to the District Cou.rt's Order n~~Reference,
                                                                                                           201 er .~c~~_ Plainxiffs work as Manufacturing Specialists
filed May 15, 2006; the following pleadings were referred
                                                                                                           in specialized production rooms ("eleanrooms") in
to the t►ndersigned United States Magistrate Judge for
                                                                                                           Defendant's Dallas, Texas, manufacturing facility.(Mot.
}7(',£il'ltl~, if necessary, and for determination:
                                                                                                           at 3; Resp. at l.) In addition to tfie Dallas facility.
 (1} Plaintiffs' Mnt~iori to Facilitate ,~ 276(L~) Notice u~1cl                                            I~efenciant also has manufacturing facilities in Sherman,
   13rief'in SuP~~ort Thereof("Mat."), filed February 13,                                                  Tex~rs; Stafford,Texas; and Tucson, Arizona.(Resp. at 2.)
   2006;                                                                                                   The manufacturing facilities are sub-divided into several
                                                                                                           production units (`'fobs"). (M.ot. at 2.) Plaintiffs allege
 (2)ApPef~~~lia to ,~lotio~z to Facilitate ~ 216(b) r'Yatice ~~n~~                                         that Defendant requires the employees in its tabs to r~~ork
   Bf•ief ire SirE,part Thereof; filed February 13, 21)06;                                                 "compressed" shifts, which of~ciall}~ change every twelve
                                                                                                           hours, but employees who work "compressed" shifts arc;
 (3) Dc~/E~mJnnt',s Kesponse in D~r1~osition zo Plcriratr%fs'                                              paid for eleven and one-half hours per day. (Mot. at
   t~lolion to Facilitate ,~ 216(~~) Notice and Brlef i~z                                                  3-4.) Plaintiffs allege that prior to reporting to their
   Support("Resp."),filed April 7, 2006;                                                                   work stations at their scheduled start time, Manufacturing
                                                                                                           Specialists and Equipment Engineering Technicians in the
                                                                                                           fobs are required to go to the locker area to remove their


 ~'~`G:.7~~~~~~    `,~ ~.i~ ,'     ~~'.,,;~~..x~,-si ~~~~?,, .....:,1`-'_. i~s.i €.:2z.I[    .,   , ~ ~, 1„Ei ~_:.:5. i,;~)`v x'?2'1    i ,~:r i ,~: .,~"~c                  1
             Case 3:16-cv-00705-JWD-EWD                                                     Document 11-3                               01/06/17 Page 51 of 69
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         4660134„,.~. ,~..... x ...                        ..~,,,,, ~ ....
2006 WL

street shoes and don cleanroom shoes.(Mot. at 3.) They                                                       1207, 1213-14 (5th C x.1995), overruled on other grounds
are then to proceed to the gowning area, where they put                                                      by Uescrt Palace, Ir~c. r. Coster, 539 U.S. 90, 123 S.Ct.
on a hairnet, ~i~ash their hands, put on a cleanroom suit,                                                  2148, 1 Sfi L.Ed2d 84 (20(?3}.2 The two-stage approach
a hood, and gloves, and pass through an air shower. 1~1.                                                    involves a "notice" stage and a "decertification" stage,
Only then do they report to their work station and their                                                    and different evidentiary thresholds apply at each stage.
afficiai work clay begins. Icl. Plaintiffs also claim that after                                            Id. At the "notice" stage, a plaintiff files a motion to
the end oftheir official shift, they are required to remain at                                              authorize notice of the lawsuit to potential class members.
their work stations for twelve minutes fora "pass down"                                                     Id. The evidentiary standarcJ at this stage is lenient,
briefing with the next shift. (Mot. at 4.) Plaintiffs assert                                                requiring "nothing more thrin substantial allegations that
that they are not paid overtime for the time spent gowning                                                  the putative class mcmUers were together the victims
before the shift and in the "pass down'" briefing after the                                                 of a single decision, policy, or pl~~n...." /c1. pit 1214
shift, in violation of the FLSA. Ici                                                                        n. 8. Ho~~ever, courts are mindful that they have a
                                                                                                            "responsibility to avoid thz `stirring up' of litigation
                                                                                                            through unwarrantLd solicitation." Severtson }~. I'{iillrps
       II. MOTION TO FACILITATE § 216(b) NOTICE                                                             13ci~c>rc~,~e Co., 137 F.R.D. 2b4, 266-67 (I~.Minn.1991). If
                                                                                                            the notion is granted, the district court will conditionally
            r1. RC[flllYL7fiC71rS fOi~ §lX6(b) Notiet'                                                      certify the class sa that putative class members are given
 *2 The FLSA provides that a suit may be instituted                                                         notice and the opportunity to `'opt-in"' to the lawsuit. IGI. at
by '`one ar more employees for and in behalf of                                                             1214. The action then proceeds as a representative action
himself or themselves and other employees similarly                                                         throughout discovery. Ici. Once discovery is complete, the
situated" to recover unpaid overtime compensation and                                                       case proceeds to the second stage of litigation, in which
l quidatzd damages from employers who violate the                                                           thr court rc-visits the issue of certification, usually when
statute's overtime provisions. 29 U.S.C.§ 216(b). This type                                                 the defendant files a motion to decertify the class. Id.
ofcollective action follows an "opt-in" procedure in which
"[n]o employee shall be a party plaintiff to any such ackion                                                2             Although :1~lornrey addressed the collective action
unless he gives his consent in writing to become such a                                                                   procedure under the Age Discrimination in
party and such consent is filed in the court in which such                                                                Employment Act("ADEA"), it applies in the FLSA
action is brought." ~ Cd                                                                                                  context because the ADEA explicitly incorporates
                                                                                                                          29 [,~.S.C. ~ 2l6(b}. Y'd/lcatorn v. Kinz 5~~7 Re~~lraurant,
                                                                                                                          L.P., 28(i F.Sa~3p.2d 8~7,$U9 n. 7(S.[~.Tex.2003).
1            Sectian 2l6(b} ac~iions differ from NED. K. C'IV. P.
             23 class actions in that the members of the class are
             permitted to `bp[-in" rather than "apt-out" of the                                                          1. Members ofthe conditional class
             Class.:See Aloortev, e•t c~L r. AR4A~CO:Seri~s. C«„ et                                         Plaintiffs seek authorization to serve notice on all current
             ul.. S4 F.3d l20?. 1?1? (5[h C'ir.1995). Rule 23 and                                           and former employees ofDefendant who have been and/or
               ?lb(b) class actions are "mutually exclusive and                                             are employed as Manufacturing Specialists of Equipment
             irreconcilable", and those who choose not to opt-i~                                            Engineering Technicians working compressed shifts in
             to a class action under ~ 216(b) ~~rc not bound by,                                            deailroom f~Ycilities fram November I5. 20U2 to t}le
             and ma~~ ~aot benefit fi-om, the judgment. L,aC7uipe!!c~                                       present, to permit such individuals to "apt-in" to the
             v, p~verts-Illinois, I~rc., 51 i F.2d 286, 288-89 (5th                                         putative class pursuant to 2y U.S.C. § 216(bj. (Reply ai
             C:ir.1975).                                                                                    1.) Defendant does not contest P'laintifPs request that
LJncier the .ELBA, courts have discretion to allow a party                                                  notice be liven to all Manufacturing Specialists who work
asserting claims on behalf of others to notify potential                                                    compressed shifts in cleGinrooms at the Dallas, Texas,
plaintiffs that they may choose to "opt-in" to the suit. See                                                facility but does contest notice to other employees.
Hr~ffirzcrrr-Lcr Rac~f~e. In.c•, v. Sl~erlin;, 4~3 U.S. 165, 169,
   t) S.Ct.4$2, 107 L.F,ci.2d 48U (19&9). Although.the Fifth                                                 *3 In determining whether a plaintiff in an FLSA action
Circuit has not adopted a specific standard to be used in                                                   has met his burden to provide sufficient evidence that he is
determining the propriety of class certitication under the                                                  similarly situated to the intended notice recipients, courts
FLSA, it has recognized the two-stage approach used Uy                                                      have looked to the similarity of the job requirements and
many courts. See :'~Tot~ney v. Ar~rrncn Ser~~icc~s Co., 54 F.3d                                             pay provisions and at whether the putative class members


                                                                ', xr
    ~~ ~..   i~. i~?~<Y~   !..   ~   3'I ~~~TT <z..:Pi ~"i~.,.x ,     ;ti. ~ .., ._.~~~l,   ...' r..) .9 s ~atS t,J ..~   t,.,i.)-: ., :~, ~~~ a.T   ~ ... ~S `-:.
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Vogt v. Texas Instruments, Inc., Ncat Repnrtec! in F.Supp.Zd (2fl06j
2006 W Lq 4660134                                              ,"~ ~'~   N       '~

appear to he possible victims of a common. policy or plan.                            this reason, the Court GRANTS Defend;~nt's motion
See Xvel~ucl~ v. Hudruri ['cr/lc~i~ F'ar~rru•, Inca., 239 F.Supp.2d                   to strike the; supplcm~ntal appendix.
234, 23$(N.I.~.N.Y.2002}; I3irtle>r v.:SQl7 A%ltOtlla, ZO~)3 WI_                        'The Court notes that even if not stricken, the
22097520, ~t *1 {~~,D.Tex. Aug. 2 l. ?003). Other courts                                supplememal declaration of Vogt would still be
                                                                                        inadmissible for lack of persona] knowledge.
have looked to whether potential plaintiffs were identified,
                                                                                        See 6T'ltite v. ,~41P6Y" Indr~strirRl Se~reices°, Inc.,
tivhether affidavits of potential plaintiffs were submitted,
                                                                                        ?36 1~'.R.D. 363, 36~J (E.D.Tenu.200(i) (despite
and whether evidence of a widespread discriminatory plan
                                                                                        the relaxed evidentiary standards at the notice
was submitted. H Br R. 131oc°k, Ltrl. r. florr.rcte~7, 1 ~fi F.IZ.D.
                                                                                        stage, an affidavit in support must be based
399,400(ti.I~.Tex.1999).                                                                on the persona! knowledge of the af6ant);
                                                                                        see ulsr~ Nrrrrrsar r. :1-fcnonalCt's C'or~z. 411
Here, Defendant contends that Plaintiffs have not                                        F.Stinp.?d 862, 36:i-G6 (S.D.Ohi~ 2005) ("[Ojnly
provided sufficient evidence to show that they are                                      admissible evidence naay be considered. in
similarly situated to Equipment Engineering Technicians                                 connection with a [S4ction] ?16(b} m~tiou.").
such that noticz should also be given to that group.                                    While Vogt's supplement deelaratian states that
(Resp. at 8-I 1; Surreply at 2-4.)Defendant notes that none                             certain Equipment Engineering Technicians in the
cif Plaintiffs his worked as an Equipment Engineering                                   Plasma and Thin Fi]m sections of the DFAB
Technician. Defendant provides affidavits of several                                    were required to smock up nriar to their shift
                                                                                        start time and unsm~ck after the end. of their
its supervisors whn attest to th.e fact that Equip►nent
                                                                                        shift,(Supp.App. at S.), it does not state whether
Engineering Technicians do not smock up until after their
                                                                                        Vogt had personal knowledge of the practices
shift start time.(App. to Resp, at 7, 9, 11, 15, 17, 25, 29,
                                                                                        pertaining to Equipment Engineering Technicians
31, 33, 60.)                                                                            and contradicts afCiduvits of persons who did have
                                                                                        personal knowledge.
Because Plaintiffs have not provided affidavits of any
current or former Equipment Engineering Technicians to                                       2. Geographic sc~~e ofentice
attest to their job requirements, and because Defendant                      Plaintiffs seek t~ have notice sent to employees at all
has provided numerous affidavits from persons with                           four of Dcfend~nt's faciliti~;s in the United States. (Mat.
knowledge testifying that the jab requirements of                            at 8.) Defendant asserts that notice should be limited to
Equipment Engineering Technician are substantially                            Manufacturing Specialists at the Dallas, Texas, facility.
different from those: of ManufacTuring Specialist, the                       (Resp. at 11; Surreply at 4.).as noted above,Plaintiffs are
Court does not find that Alaintiffs have met their                           required to provide evidence supporting their claim that
burden to show that these two groups of employees are                        potential class members are similarly situated to Plaintiffs.
similarly situated.; Therefore, notice shall only issue to                   ,S'ee 29 U.S.C. § 216(b}; hlr~oney, 54 F.3d ai 1213-14.
Manufacturing Specialists who work compressed shifts in
a cleanroom.                                                                 Plaintiffs have provided no evidence showing that the shift.
                                                                             requirements at the Stafford, Texas; Tucson, Arizona;
        Plaintiffs t71ed a supplemental appendix to their reply              and Sherman, Texas, facilities are similar to those at
        brief which contained new evidence concerning the                    the Dallas location.4 Accordingly, Plaintiffs have not
        EET job requirements ~~+ithout seeking leave of court.               met their 'burden to demonstrate that the Manufacturing
        The local n~les do not permit do not. permit a p~irty                Specialists at those locations are similarly situated to
        to submit additional. evidence with a reply brief,
                                                                             Plaintiffs, and notice will thereforz not be given to those
        and a muvant desiring to submit additional evidence
                                                                             employees.
        in support of a motion must t7rst seek leave of
        court. 7Jt~lFaren~~ ~~. F'arh/cur~Illealth Hospi~crl.Srstenr,
        204 F'.R.[?. 1U2. 1O3-f?4 (N.D.'Tex.2OO1) (citations                 4        The Court notes th~it Plaintiffs submitted the
        omitted). "`[W]here <~ inovant has injected new                               Gauthier Supplemental Declaration in their
        evidentiary matcrixls in a r~pty without affording the                        supplemental appendix, ~vhcrein Gauthier states that
        nonmovant an opportunity for further response, the                            he was req aired to ~maek up prior to his sh.ift's official
        court still retains the ciiscrcCion to decline to consider                    start time and vas requir4d to remain at his work
        them." Spring Inttus[riE~s, Inc. a itrnericart A~ntar•ists                    station for a pass dow~i brie6t~g after the ~tlicial
        Iris. Cu., l37 r.R.D. ?~8, 239 (N.I~.Tex.l)91). For                           end of his shift during his tenure at the Sherman
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            facility. (Supp.App. at l-2.) However, Gauihier left         form to these individuals by first class mail. 1f any
            the Sherman, Texas facility approximately one year           notices arc returned to Plaintiffs' counsel because the
            before the relevant period; his declaration does not         contact information is inaccurate, Plaintiffs may petition
            ~~ddress the class period. Accordingly, even the Court       the District Court to order Defendant to produce the
            had considerec! the declaration, such consideration          phone numbers and/or Social Security numbers of these
            would not alter the outcome.
                                                                         potential opt-in plaintiff's. The consent forms must be
In conclusion, the Court conditionally certifies the class               postmarked by December 29, 2006, and tiled with the
of all current and fornier Manufacturing Specialists                     Court by January 12,?007.
working compressed shifts in cleanroom facilities at
Defendant's Dallas facility, from November 15, 2002,
through the present. The Court emphasizes that the record
                                                                                                III. CONCLUSION
is incomplete, so this Court cannot make a definitive
determination as to whether the putative class members                   For the foregoing reasons, it is
are similarly situated. After the potential opt-in plaintiffs
have filed their Notices ofConsent, the District Court may               ORDERED that Plaintiffs' ~Llotior~a to Facilizcate 5~ ?761b)
consider any motion filed by Defendant to decertify the                  Notice and BrieJ'in St~~pE~rt Thereof; filed February ]3,
class.                                                                   2006, is GRANTED, in part, and DENIED,in part, and
                                                                         the Court conditionally certifies the class of all current rind
                                                                         tbrmer Manufacturing Specialists working compressed
                    B. Lru:guage ofNntice
                                                                         shifts in cleanrooms at Defendant's Dallas facility, from
 K4 After considering the parties' positions with. respect to
                                                                         Novembc►- 15, 2002, through the present. It is further
the notice language and the District Cow•t's Mernor•andum
O~~iniori ar~c1 Order and Preli~ninar•~' hzjtinctian, the Court
                                                                         ORDERED that Defendant shall provide to Plaintiffs a
approves tl~e attachcci forni of notice to be sent to the
                                                                         list of the names and last known addresses (in electronic
conditionally certified class.
                                                                         form)of ~~11 current and former Manufacturuig Specialists
                                                                         working compressed shifts in cleanroom5 in Defendant's
                        C Discovery                                      Dallas facility by October 10, 2006. It is further
To facilitate the collective adjudication of this action,
Plaintiffs ask that Defendant be order•eci to provide                    ORDERED that Plaintiffs, through their counsel, shall
Plaintiffs' counsel with a "computer-readable data rile                  send the attached notice and conse►it form to the putative
containing the names, last known addresses, phone                        apt-in plaintiffs by first class mail, by October 24, 2006.
numbers and Social Security numbers far all non-exempt                   It is further
employees employed as Manufacturing Specialists and
Equipment Engineering Technicians from November 15,                      ORDERED that the consent forms must be postmarked
200? to the present." (Mot. at 2l.) Defendant objects                    by December 29, 2QQfi, and filed with tlic Court by January
that the requested discovery invades employees' privacy.                 12, 2007. It is further
(Resp. at 22-?5.) Defendant requests that notice be limited
to the n~rnes anci last known addresses of potential class              ORDERED that Dt~erlclunt's Motion to Strike rxr~d
members. Ict.                                                           Objections to Ne4u Evidence in Plaintiffs' Su~r~lernental
                                                                        Appenc~zx iti Sacpport of Plaintiffs' ReJ71y to Defejadc~r~a's
The Court agrees with Defendant's concerns regarding                    Response' in Opposition to Plaintiffs' Motinrz to Facilitate ,js
the privacy of its employees. At this stage, Plaintiffs have            21h(Gj Notice and Br~ief'in Sc~>>port, filet3 May 23, 20Q6, is
not demonstrated a need for locating information beyond                 GRANTED.Defendant,s Mvtiorz.for Lcczve to File Surrepl}~
names and addresses. Therefore, by October 10, 20O6,                    in O~pos•ition tv Pla~zr~tiffs•' Alotion to Facilitate t' 216(h)
Defendant shall provide to Plaintiffs a list of the names               :'Notice ar~d Briefi~7 Sunl~ort, filed May 23,2UU6,is therefore
and last known addresses(in electronic form)~fall current               DENIED AS MOOT.
and fornier Manufacturing Specialists in Defendant's
Dallas facility. By October 24, 2006, Plaintiffs, through                 *5 SO ORDERED.
their counsel, shall send the attached notice and conse~it


 g~   'g~
                    . _.~      ii,   .,._   _,...._   ..    ,;
                                                           ,.x       1 ,s.d. c., _,,   t   7,
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                                                   _..
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          IMPORTANT NOTLFICATInN TD                            Facsimile:(214)720-2291
           POTEIl~TIAL CLASS MEr'I~tBERS
                                                               email: David Watsky at watsky(agrw-lawfirn~.com or Jim
  TO:    ~►LL     CURRENT    OR       FORMER                   Sanford at jsandford Cc%g~tivla~vfirm.com
    EMPLOYEES OF TEXAS INSTRUMENTS,
   INCORPORATED ("'I"I."), WliO HAVE BEEN                     Generally, the overtime provisions of the Act require that,
    ANS/OR CURRENTLY ARE EMPLOYED AS                          for all hours over forty hours per week that an employee
   IYiANUFACTURING SPECIALISTS WORKING                        works, the employer must compensate the employee at
   COMPRESSED SHIFTS IN CLEANROOM                             the rate of one and one-half times his or her regular
    FACECITIES LOCATED IN DALLAS,TEXAS,AT                     hourly rate, unless that e►nployee is properly classified as
    ANY TI~~T~ SINCE NOVE MBER 1 ~, 2002.                     "exempt" from t he overtime provisions of the Act. The
                                                              named Plaintiffs claim that during one or more weeks of
       FROM: GILLESPIE, ROZEN, ~'ATSKY,                       their employment ~vitli TI, they worked in excess ~f forty
        MOTLEY &JONES,P.C.                                    hours, but were not paid overtime at t he rate of on and
                                                              one-half times their hourly rate far the hours they worked
       RE: RIGHT TO JOIN A LAR'SUIT SEEKING                   in excess of forty.
         TO RECOVER LNPAtD O~~ERTIi~'IE
         COMPENSATION                                         Sp~citically~, the narn~d Plainkiffs allege that (1)they were
                                                              not paid for the time spend dinning and doffing the
       DATE:[Plaintiffs'counsel shall. insert the date that   required cleanroom suit; (2) they were nat paid for time
        the notice is mailed.]                                spent walking to anti from their work stations; and (3)
                                                              they ~~ere not paid for time spend in required "pass
               1. PURPOSE OF NOTICE
                                                              down" brizfings at the end of their regularly scheduled
The purpose of this Notiticatioi~ is to inform you of the     shifts. Plaintiffs ~►re suing to recover unpaid overtime
exist~n~e of a collective action lawsuiC in which you may     compensation for the period from November I5, 2002 to
be eligible to partz~ipate because you ma} be '''similarly    the present.
situated" to the named Plaintitts. This Noti~eation is also
                                                              TI denies the named Plaintiffs allegations.
intended to advise you how your rights under the federal
Fair Labor Stand~rrcis Act ("the Act") may be affectzd                 3. COMPOSITION OF THE CLASS
by this la~~suit, and to instruct you on the procedure for
participating in this lawsuit, should you decide that it is   The named Plaintiffs seek to sue nn behaJt of themselves
apUropriate and you choose to do so.                          and also on Uehalf of other employees with whom
                                                              they ace similarly situated. Those individuals that the
        2. DESCRIPTIQN OF THE LAWSUIT                         nan~ed Plaintiffs allege are similarly situated are current.
A lawsuit has been bro~ight by VVilf~ord ~~ogt, James P.      and farmer employees of TI. who have been and/or
Gauthier, and Humberto Reyna, Jr.("named Plaintiffs")         currently are employed as Manufacturing Specialists
against TI in the United States DisCrict Court for the        working compressed shifts in TI's cleanroom facilities
Northern District of Texas as Cause No. 3:05-CV-2244-         located in Dallas, Texas and Sherman, Texas at any time
L. The lawsuit alleges that TI failed to provide uv~rtime     since November 15, 2002.
compensation as r~;quired by the Act. Plaintiff's' lead
counsel in this case are:                                      *6 This Notification is only for the purpose of
                                                              determining the identity of those persons who wish to be
                                                              involved in this case and has no other purpose. Your right
David K. Vt~'~rtsky and Hal Gillespie                         to participate in this Suit may depend upon a later decision
                                                              by the United States District Court that you and the
CILLESPIE,ROZEN,WATSKY,MOTLEY &JONES,
                                                              rePresentativc; Plaintiffs are actually "similarly situated."
P.C. 3402 Oak Grove Ave., Suite 200
                                                                             4. YOUR RIGHT TO
Dallas, Texas 75204
                                                                        PARTICIPATE IN THIS LAWSUIT
Telephone:(2]4)720-2009
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Vr+gt v. Texas Instruments, Inc., Nat Rept~rtec~ in F.Supp,~d (2006}
                                                                                                          ~,.... _ .   ~.,,,., ~~„~~...
2006 W L 4660134

                                                                 representative Plaintit7 wil] be binding on y~~i if you join
If you fit the definition above, that is, you were ar            this la~~~suit.
currently are cmploped as a Manufacturing Specialist and
work~ci/work a compressed shift in one ofTl's cleanrooms         The named PlaintitTs in this matter h4ive entered into a
located in Dallas, Texas, at any time from November 15,          contingency fie agrccment with Plaintiffs' counsel, which
2000, you may leave a right to participate in this lawsuit.      me~ins that if there is no recovery, there will be no
                                                                 attorneys' fees or costs chargeable to you. If there is a
You may file a consent form to seek to participate in this       recovery, Plaintiffs' counsel will receiae a part of any
lawsuit even if you did or did not keep records of you           settlement obtained or money judgment entered in favor
houxs worked.                                                    of all members of the class. You may request a copy of
                                                                 the contingency fee agreement executed by the named
   5. HOW Tn FARTIC.TPATE IN THIS LAWSUIT
                                                                 Plaintiffs u~ this matter from Plaintiffs' counsel. at tl~e
Enclosed you will find a form entitled "Notice of                address, telephone number, facsimile number, or email
Consent" ('`Consent Form"). If you choose to join this           address that appear an page one of this notice.
lawsuit and, thus, participate in any recovery that may
                                                                                8. NO LEGAL EFFECT IN
result front thzs lawsuit, it is extremely important that r'ou
                                                                                NOT JQINING THIS SLIT
read, sign, and return the Consent Form.
                                                                  *7 If you choose not to join this lawsuit, you will not be
The signed Consent Form must bcy postmarked by
                                                                 affected by any judgment or settlement rendered in this
December Z9, 2006. 1f yow• signed Consznt Form is
                                                                 case, whether favorable or• unfavorable to the class. You
not postmarked by December 29, 2006, you will not
                                                                 will not be entitled.to share any amounts recovered by the
particiE~ate .in any recovery obtained against Tt in this
                                                                 class. You will be frze to file your own la~rsuit, subject
la~~suit. IF you have any questions about ~Iling gut ~r
                                                                 to any defenses that might be asserted. The pendency of
sending in the Consent Form, please contact Plaintit~fs'
                                                                 this la~~sut will not stop the i~znning of the statute of
counsel listed on page one of this notice.
                                                                 limitations as to any claim you might have until you. opt-
         6. NO RETAL.IATI.ON PERMITTED                           in to it.

The Act prohibits an employer from discharging, or in any                    9, FURTHER INFORMATION
manner discri►ninati.ng or retaliating against an employee
                                                                 Further information about this Notification or the lawsuit
for taking pert in a case of this type. If you believe
                                                                 may be obtained fi•om Plaintiffs' counsel at the address,
that you have bec;n penalized. discriminated against, or
                                                                 telephone number, facsimile number, ar email address
ciisciplincd in any way as a result of your receiving this
                                                                 id~;ntified on page one of this notie~.
notification, considering whether to join this lawsuit, ~r
actually joining this lawsuit, you should contact Plaintiffs'
counsel immediately.                                                               CONSE!'VT TO JOIN

         ?. EFFECT OF JOI.IV7NG THIS SUIT                        1 understand that I may be eligible to join this lawsuit
                                                                 filed by current and/or former employees of Defendant to
If you choose to join in this lawsuit, you will be bound by      recover unpaid overtime wages and liquidated damages,
the judgment, whether it is favorable or unfavorable. You
will also be bound byr, and will share in, any settlement        1 hereby authorize the prosecution of this Fair labor
that may be rzached on behalf of this class.                     Standards Actin action in my name and on my
                                                                 behalf by Wilford Vogt, James Gauthier, and Humberto
By joining this lawsuit, you designate the named Plaintiffs
                                                                 Reyna, Jr., the "Representative Plaintiffs." I design~~te the
as your agents to make decisions on your behalf
                                                                 Representative Plaintiffs as my agents to make decisions
concerning the litigation, the method and manner of
                                                                 on my behalf concerning this litigation, including the
conducting this litigation, the entering of an agreement
                                                                 method and manner of conducting this litigation,
with Plaintiffs' counsel concerning fees and costs, and
                                                                 the entering of an agreement with Plaintiffs' counsel
all other matters pertaining to this lawsuit. These
decisions and agrremc;nts made and entered into by the



 'x~;~~3.~a~~                                      ,__             ,_                        ,.                                   ~~,
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Voct v. Texas Instruments., lnc., Not Reported in F.~upp.2d (2006)
                       -" ~~~,,.,, ~,. ~_~.~„~.~ .~,   _.,.F,.w~K~ . ,,._     ~..~.,.,~,,,..
2006 WL 4660134


concerning axtorneys fees and costs, and all other matters                                     or unfavorable. I will also be bound by, and will share
pertaining to this lawsuit.                                                                    in, any settlement that may be negotiated on behalf of gill
                                                                                               Plaintiffs and approved by the Court.
I understand that the R~presentarive Plaintiffs have
                                                                                               1 acknowledge and understand that if t had chosen not to
entered into a contingency fee agreement with the law
                                                                                               join this lawsuit, I waulcl not be affected by any judgment
office of Gillespie, Rozen, ~'Vatsky, Motley &Janes, P.C.,
which applies to all plainriffs why join the lawsuit. T                                        rendered or settlement reached in this lawsuit, whether
                                                                                               favorable or unfavorable.
understand that. I may obtain a copy of the contingency
fee agreement on request. By choosing to join this lawsuit,
                                                                                               I hereby consent to join this lawsuit.
I agree to be bound by the contingency fee agreement.

By choosing to join in this lawsuit. I understand that I
~~~ill be bound by the judgment, whether it is favorable


 Signature Date                                                                                Date


ALEASE PRINT OR TYPE THE FOLLO~ViNG                                                            Daytime Telephone:
INFORMATION:                                                                                   Evening Tele}~hane (optional):
Name:                                                                                          Cellular Telephone (optional):
Any        other       Names)                used            or             kno4vn             Email Address(optional):
by:
                                                                                               Alt Citatiarzs
Mailing Address:
                                                                                               Not Reported in F.Supp.2d, 2006 WL 4660134
City, State, and Zip Code:

 ~a~c! of C3ocume~at                                                                      ~....   ~I~v~~nsan Ftnuters. "~to ciairn `o nrigir~ai U.S. Government tr':rork>.
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flttcsr€~<~r~ v. Rig P~awer, Inc.. 5iip Copy (2015)
2015 WL 12532545, 2015 Wage &Hour Cas.2d (BNA)408,540

                                                                is Rig Power's parent company. (Id. ~; 11.) Plaintiffs
                                                                were employed by Rig Power and M3P (collectively,
                 2oi5 WL 12532545
                                                                "Defendants") as field technicians to perform manual
             United States District Court,
                                                                labor related to the transportation, operation, and
         W.D.Texas, Midland-Odessa Division.
                                                                maintenance of oilfield equipment. Ld. ¶ 16.)
           Garland Morgan, Ruben Ramirez,
        Jorge Pinedo, Da`~id Duroi~, and Alfelio                Plaintiffs allege that they routinely worked more than 4U
                                                                hours per week and th~it Defendants failed to compensate
         Martinez, on behalf of themseh~es and
                                                                them nt the required overtime rate for such work. (Id.)
         all others similarly situated, Plaintiffs,
                                                                Plaintiffs specifically allege that Rig Power paid a fixed
                            v.
                                                                amount for each dny an employee worked more than
  Rig Power, Inc. and MgP Eners;y, LLC, Defendants.             eight hours, regardless of how many additional hours the
                                                                employee i~orkzd on those days or how many adittional
                    No. ~:~.5-CV-~3-DAE
                                                                hours the zmployee worked in a given week..~)Plaintiffs
                                                                further allege that Rig Power subsequently stopped paying
                     Signed 12/1d/2o15
                                                                this "daily bonus" duz to the downtunz in the oil
attorneS~s and I..aw Firms                                      and gas industry, resulting in Plaintiffs being paid no
                                                                compensation of any kind for hours worked above 4U
Joshua C. Borsellino, BorSellino, P.C., Fort Worth, TX,         in a given v~>eek. (Id. ¶ 17.) Plaintiffs further allege that
for Plaintiffs.                                                 similarly situated field technicians were also not paid
                                                                overtime for hours worked in excess of'40 hours per week.
Lisa K. Hooper, Randall L. Rouse, Lynch, Chappell &
                                                                    T~{2t-22.)
Alsup, P.C., Midland, TX,for Defendants.

                                                                Plaintiffs support these allegations with nine dzciarations
                                                                signed by either current or former Rig Power field
              ORDER CONDITIONALLY                               technicians. (Dkt. # 16-1, Ex. A-I.) I.n each declaration,
               CERTfFYING A CLASS                               the declarants attest that they are currently or ~rere at one
                                                                time a field technician fir Rig Power.("Garland Decl.,"
DAt~ID ALAN EZRA, UNITED STATES DISTRICT
                                                                Dkt. # 16-I, Ex. A ¶ 2;"Hernandez Decl.," Dkt. # 16-1,
JUDGE
                                                                Ex. B¶ 2;"Miller Decl.," Dkt.# 16-1,Ex.C¶2;"Martinez
 '*1 Before the Court. is a Motion for Conditional              Decl.," Dkt. # 16-1, E:~. D ~( 2; "Barrera Decl.," Dkt. #
Certification and Notice to Potential. Opt-ln Plaintiffs        16-1, Ex. E ¶ 2; "Barrientos Decl.," Dkt. # 16-1, Ex. F ¶
filed by Garland. Morgan, Rubc;n Ramirez, Jorge Pinedo,         2;"Lovell Decl.," Dkt.# 16-1, Ex. G ¶ 2;"Varela Decl.,"
David Duron, and Alfelio Martinez, on behalf of                 Dkt. #ICS-1, Ex. H ~ 2; "H.ewitt Decl.," Dkt. # 16-I, Ex.
themselves and all others similarly situated (collectively,     I 1! 2.) Each of the affiants describes field technician work
"Plaintiffs")(Dkt.# l6.)Pursuant to Local Rule CV-7(h),         as "manual labor related to the transportation, operation
the Court finds this matter suitable for disposition ~-ithout   and maintenance ofequipment used in the oilfields."(E~~.,
~~ hearing. After careful consideration of the Motion           Morgan Decl. ¶ 2.) More specifically, field technician
and supporting memoranda, the Court, for the reasons            duties included t:ranspnrting Rig Power equipment an
That follow. GRANTS IN PART AND DElvIE5 IN                      Ford F-?~Os, making service calls to and from a job site,
PART Plaintiffs' Motion for Conditional Certification           purchasing items nzeded at the job site, retrieving items
and Notice to Potential Opt-In Plaintiffs.                      from Rig Po~~~er's relevant office, ~r purchasing fuel stored
                                                                in the tanks ofthe bed of the F-250s.(E~~., Martinez Decl.
                                                                ¶ 2; Morgan Decl. ¶ 2.}

                    BACKGROUND                                   *2 All nine a1'fiants attest that Rig Pawcr paid them
                                                                a salary. (id. ¶ 5; ~,Hernandez Decl. ¶ 2.) Further,
Rig Power is a Texas corporation that provides rental
                                                                all nine declarants indicate that Rig Power dicl not. pay
equipment and services to companies in tl~e oil and
                                                                them overtime competlsation, but instead paid a "daily
gas industry. (`'Compl.," Dkt. # I ~;~ 6, I5.) M3P
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Morgan v. Rig Power, lnc., Slip Copy(2015)
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 bonus."(E.~, Miller Decl.¶ 3.)Three declarants state that
Rig Power paid a "daily bonus" for each day worked in                                                              An action ... may be maintained ...
excess of eight hours(Dkt.# 16-1, Exs. A,D.E)and tour                                                              by any one or more employees
declarants state that Rig Power paid the "daily bonus" for                                                         for and on behalf of himself or
h~tu•s worked in excess of l2 hours.(Dkt. # 16-], EYs..F,                                                          themselves and other eniployces
G,H,I.) One declarant stated Rig Power paid him a "daily                                                           similarly situated. No employee
bonus," but could not recall if he received the payment for                                                        shall be a party plaintiff to any such
working in excess of eight or 12 hours.(Hernandez Decl.,                                                           action unless he gives his consent in
¶ 2.) The ninth declarant simply stated that he received                                                           writing to become such a party and
a "daily bonus" for working excess of 4~ hours a week.                                                             such consent is filed in the court in
(~Mil~ler Decl. ~( 3.)                                                                                             which such action is brought.

                                                                                                Id. Accordingly, the collective actin mechanism under
The purported class members also show that they worked
                                                                                                Sectiu~l 216(b) is quite different from a traditional class
as field technicians at a variety of Rig Po~i-er field offices:
                                                                                                action filed under Federal Rule of Civil Procedure 23(c}.
San Angelo, Texas (Morgan Decl. ¶ 6), Midland, Texas
                                                                                                Compare 29 U.S.C. § 216(b} ("No employee shall be
(Hernandez Decl.¶ 3), Wysox,Pennslyvania (Miller Decl.
                                                                                                a party plaintiff to any such action unless he gives
¶ 4), and Seguin, Texas (Barrientos Dcei.!( 3.)
                                                                                                his consent in writing to become such a party and
                                                                                                such consent is ~led'~) with Feci. R. Civ. P. 23(c)(2)(B)
On May 22,2015,Plaintiffs filed a Complaint in this Court
                                                                                                (requiring that the notice sent to all class members include
on behalf of themselves and all others similarly situated
                                                                                                a statement "that the court will exclude from the class any
alleging violations of the Fair Labor Standards Act, 29
                                                                                                member who requests exclusion"). Thus, whereas a Rule
U.S.C. § 2Ot et seq (`F[.SA").(Dkt. # i.) Plaintiffs seek
                                                                                                23 class action requires ~ prospective plaintiff to "opt-
unpaid overtime wages, liquidated damages, costs, and
                                                                                                out" to avoid being bound by the judgment, the FLSA
attorneys' fees.(Id. at 9.)
                                                                                                requires prospective p]aintiFfs to "opt-in" to benefit from a
                                                                                                judgment. See Srindoz v. Cin~ular ~~ireless 1.,1.,G 553 F.3d
Plaintiffs filed the Motion for' Conditional Certification
                                                                                                )13,915-16(5th Cir. 20(18).
currently before the Court on August 28, 2015. ("Pls.
Mot.," Dkt. # 16.) Defendants filed a .Motion for
                                                                                                The Fifth Circuit has not adopted a specific test to
Extension of Time to file ~ response to the Motion to
                                                                                                determine when a district court should certify a class or
Conditionally Certify a Class (Dkt. # 17) and the Court
                                                                                                grant notice under Section 21 ~(h). See Act;vec3<~_~~. Allsup'S
granted that motion on September 14, 2015. 5ubseyuent
                                                                                                Convenience Store. lac., 600 F.3d Sl~i, 518-19 (5th C r.
to the Court issuing an order denying a motion to dismiss,
                                                                                                201 Q)("We have not ruled on how district courts should
Defendants filed a Response to the current motion on
                                                                                                determine whether plaintiffs are sufficiently "similarly
November 2, 2015. ("Defs. Resp.," Dkt. # 23.) The
                                                                                                situated" to advance their claims together in a single §
following day Plaintiffs filed their Reply.("Reply," Dkt.
                                                                                                216(bj"). Yet, one method commonly used to certify a
# 24.)
                                                                                                class tinder the FLSA is a two-stage inq~iiry announced
                                                                                                in Lus~irdi v, Xerox. 11& F.R.D. 3~1, 359 (D.N.J. i987).
                                                                                                Most district courts in the Fifth Circuit, including this
                      LEGAL STANDARD                                                            Court, have generally adopted the Lusardi approach. Sce
                                                                                                I..ay v. Gold's Gym ltitern., Inc., No. 5:12-CV-754, 2013
The FLSA requires employers to compensate an employee                                           WL 559~95b, at * 3 (W.D. Tex. Oct. 4, 2013); Hee ~~.
one and one-hz~lf' times the regular rate for each hour                                         ,4ci~tms F_a...rt-s,.ln.c.., y07 F.Supp.2d 856. 86(1-61 (S.D. Tex.
 worked in excess offorty hours a week. 2~) U.S.C'. Y 2lt)7(~)                                  2O C'); Pedi~z~ v. 303 S. Lan~zir. LLP.666 F,Supp.2d Ei93,
(1). Tv enforce Section 207, the FLSA permits a district                                        697(W.U. Tee. 2(1()9).
court to order a lawsuit to proceed as a collective action
on behalf of others similarly situ~~ted. 29 U.S.C. § 216(b).                                     *3 The two stages of the Lusardi method are the
The statute provides:                                                                           "notice stage" and the '`decertification stage." Mc7one~y
                                                                                                v. Aramco Sews. Co., 54 F.3d 12Q7, 1213 (5th Cir.
                                                                                                1995)(overruled on other grounds by Des rt_P~►1<tce,.._I.nc..


 ~E~t:-"~k+,. ~   ., ..s.~ 3 ~   ~ .:~'. .-,~.~   s~.t,_< 3 _7aa.   <~f   tia!d   ... .,. ,.,   s~' ~„~ .r.   _=.?z.   ,.~ ,.' 3. ,:..'~<.~i                   L
       Case 3:16-cv-00705-JWD-EWD                        Document 11-3             01/06/17 Page 59 of 69
N1org7r~ v. Rig Power. fnc., Slip Copy (~t~'4~)
                                                                                      .~.,~..   ..,.,.,.,       ,~n~,~w,, ..:,..:,,~.,,.,~.,.
2015 WL 12532545, 2015 Wage &Hour Cas.2d (BNA)408,540 ~~~mx~

y_._Co_.sta, 539 U.S. 90 ('003)). At the notice stage, the        class members "~~ere together the victims of a single
district court determines, based only ~n the pleadings            decision, policy, or plan" and are similarly situated.
and any aftidavits, whether notice of the lawsuit should          MoaneY, ~4 F.3d at 1214.
be given to putative class members. M~one~; ~4 F.3d at
12t 3-14. This determination is made using a "fairly lenient
standard" because the court has only minimal evidence                              1. Co.n.ditional Certification
before it. Id. However, the plaintiff bears the burden of
                                                                                  A. Single Decision or Policy
making the }~rcliminary factual sho~~~ing that a similarly
                                                                  Plaintiffs have provided "substantial allegations that the
situated grutip of potential plaintiffs exists. The potential
                                                                  putative class members were together the victims of
class members must be similarty situated in tcrnis of job
                                                                  a single decision, policy, or plan." Son~cr ~~. I}illon
requirements and in terms of payment provisions. Pedi~*o,
                                                                  ftesource1,__Inc„ 5C~9 F. Supt. 2d 703, 707 (N.D. Tex.
fiE~ F. Supp. 2d at fi98 (citing R}an v~____St~iff Ctii~, Inc„
                                                                  200)(intexnal citations omitted)_ The Plaintiffs presenC
497 F. Supp. 2d 820, 824-25(N.D. Tex. 2t)07}). H~~vever,
                                                                  nine declarations from former and current Rig Power field
the court does not need to find uniformity in every single
                                                                  technicians who worked at four scp~r~te regional offices.
aspect of employment to deternline that a prospective
                                                                  (Dkt. # 16-1, Exs. A-I.) Each declarant states that Rig
class of employees is similarly situated. F'ccgi_o, 666 F.
                                                                  Power paid him a "daily bonus" for working in excess
Supp. 2d pit 6~)8. One way to show that pro5pectivc
                                                                  of eight or twelve hours. (Id.) If the allegation. of an
class members are similarly situated is with substantial
                                                                  unlawful compensation scheme existed at only a single
allegations that They "were together the victims of a single
                                                                  regional otlice, the Curt might find such stn allegation
decision, policy, or plan." Mc~c~ne}; ~4 F.3d at 121.4, n. 8.
                                                                  insufficiently substanti~~l to allege a corporate policy of
Upon finding that the employees are similarl} situated, the
                                                                  wrongdoing necessary to overcome the lenient standard
district may conditionally certify the class and the action
                                                                  at this stage. However, here, nine declarants from four
proceeds as a class action into discovery. Moc~nev. 54 F.3d
                                                                  regi~n~l offices, stretching from Texas to Pennsylvania,
at 1214.
                                                                  describe tivith specificity and personal knowledge a
                                                                  compensation plan. common to all four regional offices.
The second stage of Lu~ardi occurs at the conclusion
                                                                  The Court finds that similarity ofcompensation schemes,
of diseovery. At this stage, the defendant may move to
                                                                  as supported by nine declarations, across the country is a
"decertify" the conditionally certi#'ied class. Mocyney, 54
                                                                  substantial allegation that field technicians were victims of
F.3c{ at 1214. The Court again determines whether the
                                                                  a Rig Power dc;cision or policy that potentially affects a
claimants are similarly situated, but with the benefit of
                                                                  nationwide putative class.
]1101't; Facts in the record. Id. If the facts support a Ending
that the plaintiffs are similarly situated, then the matter
                                                                  The Def'cndants argue that Pl~~intiffs' failure to attach
proceeds to trial. Id. If not, the dis-similar parties are
                                                                  any written Rig Power policy means that they have
dismissed w° thaut prejudice. id.
                                                                  lolled to carry their burden of proving class members
                                                                  tivere victims of a single policy or decision. (Defs. Res}.
                                                                  at ?.} While submitting a written policy is one method
                       DISCUSSION                                 of establishing that a putative class was a victim, it
                                                                  is not necessary. Cf. Gold's Gym, 2013 WL559595b,
The Plaintiffs seek to conditionally certify a collective         at * 4 (noting that a common or uniform practice is
action consisting of employees designated as field                sufficient for conditional certiticati~n even. where a written
technicians. {Pls. Mot. at ~,) Accordingly, the Court need        policy prohibits the common practice). Nine declarations
only address the first stage vt'the Lusardi test.                 from field technicians at four regional offices indicate
                                                                  to the Court that it was Rig Powers' "conmlon and
The Court. f7nds that Plaintiffs have made a prix°na fcrcre       uniform practice" to compensate its employees with a
sho«~ing on their motion for conditional certification. and       "daily bonus" instead of through the FLSA's overtime
have carried their burden beyond the lenient. standard            compensation requirements.
required at the first Lusardi stage. Having reviewed the
pleadings and supporting declarations, the Court finds             *4 Defendants also argue that the declarations contain
that the Plaintiffs substantially allege that the putative        concluso~y allegations unsupported by factual assertions.


 ~~      xy ~a                      ~:a ,.a`,. ..                   .,    ~   ,.     ~.
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(Defs, Mot. at 6-7; citi~}g S~n~r, S69 F. Supp. ?d at           2; .Hewitt Decl. ¶ 2.) Accordingly, the Court tinds that
707.) In Son~er, thc: court denied conditional certification    Plaintiffs have carried their burden of making substantial
because the plaintiffs submitted tive affidavits that made      allegations that field tec}micians at Rig Power are similarly
c:onclusory allegations without f~3ctual assertions such        situated in terms of job requirements and terms of
as "[~Jll drivet-s ... are working overtime" and "at no         compensation.
time has the company ever [paid overtime]." Id. Here,
the Plaintiffs' dzctarations are not conclusory; unlike the
affidavits in Son er, the declarants do not make assertions          C. Allegations that Others are Similarly Situated
based in generalities. Instead, the Plaintiffs' declarants      Plaintiffs substantially allege that other field technicians
state facts based on personal knowledge. For example,           are similarly situated. All nine declarants assert, relying
Luis Barrientos declared:                                       on their employment experience at Rig Power, that. atl~er
                                                                field technicians received overtime compensation through
            While working as ~ field technician                 the "daily bonus" seh~me.(~, Morgan Decl. ¶ 6.j
            for Rig Power, I was paid a salary,                 Further, the declarants state that other field technicians
            and I was required to report at the                 had similar joh duties and routinely wot-ked over forty
            end of each pay period how many                     hours a week. (Dkt. 16-1, Exs. A-I.) The Court finds
            days 1 had worked more than twelve                  that these declarations substantially support an allegation
            hours. For each such day,Rig Power                  that a putative class of similarly sit-uated field technicians
            paid me what ix collect a "daily                    exists.
            bonus," which I understood to be a
            set amount for each day [worked                     Accordingly, the Court finds that the Plaintiffs have
            more than twelve hours in ~ given                   met their lenient burden of substantially alleging that. a
            day.                                                similarly situated class exists to warrant a conditional
                                                                certification. The Court conditionally certifies a class
(Barrientos Dec;l. ¶ 2.)                                        defined as "All field technicians employed by Rig Power
                                                                ~~~ithin three years of the date of this order."
Accordingly, the Court finds that Plaintiffs have made
sufficiently substanxial allegations that field technicians
employed by Rig Power were victims ofa single decision or                   I1. Rec~ucst~d Coiatact ~nforn~ation
policy—czamely a policy to pay employees a "daily bonus"        Plaintiffs request that Defendants produce names, last
in lieu of proper overtime compensation—to warrant              known addresses, last known residential and cell phone
conditional certification.                                      numbers, eynail addresses, last four digits of employee
                                                                Social Security Number, and dates worked fir the
                                                                conditional class. (Pls. Mot. at 8.) Defendants object to
             B. Similar Jobs and Te~ro~s ofPdy                  the production of email addresses. (Defs. Res}. at 2.)
The Plaintiff's substantially allege that the prospective       Plaintiffs contenc9 that email addresses are necessary due
class members have the same job re.quiremcnts and terms         to the transient nature of oilfield workers.(Reply at 4.)
of pay. The Court finds that each of these declarations
substantially describes the roles and responsibilities of        *_5 The Court Cinds that. the extensi~~e nature of the
Rig Power field technicians in a way that indicates             disclosures requested by Plaintiffs is inappropriate at this
personal knowledge. (See Dkt. # 16-1, Exs. A-I.) The            stage of the matter. The production of Social Security
declarations describe the work of a Held technici~ui            numbers at this early stage invades too closely the
as manual labor in relation to the transportation,              privacy ~.~nd security of the prospective class members.
operation, and maintenance of ftig Power equipment.             Sce Garcia v. TWC Admin., LLC, No. 14-CV-985,
(Id.) All declarations also substantially define the terms of   ?O1.5 Wl.: 173793?, at * 4 (VV.D. Tex. Apr. 16, 2t)IS);
payment for Held technicians. Each declarant states that        Humphries v. Stream Int'1. Inc., No. 3:03-CV-1682-D,
Rig Power paid him a sa3lary.(~,Varela Decl., ¶ 2.)             2004 U.S. Dist. LEXIS 20465, at *12(N.D. Tex. Feb 13,
Further, each declarant states that as a field technician,      2Q04)(declining to require production of social security
Rig Power paid a "daily bonus" for hours worked in              numbers and telephone numbers because the privacy
excess of eight or twelve hours. (E~~., Barrera Decl. T         interests outweigh the need for the disclosure). The
       Case 3:16-cv-00705-JWD-EWD                       Document 11-3           01/06/17 Page 61 of 69
Mc~rgar~ v. Rig Power, 9nc., Slip Ce~py {~Q1~}
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production of email ~rddresses is also u►inecessary at this                  tliax all field technicians were
early stage of litigation. See TVVC Admin., 2Q15 WL                          properly and fairly paid in
 1737y32 at *4. However, due to the fact that oil workers                    accordance with the Motor Carrier
frequently move, Plaintiff's may request the production                      Act and/or FLSA or other
of additional information to assist them in reaching                         applicable law and that the
those class members whose mailed notices come back                           allegations in the lawsuit are without
undeliverable. See Hee~, 9()7 F. Supp. id at 865-66                          merit.
(noting that plaintiffs counsel could request. additional
information for putative class members v~~hose notices           (Defs. Resp. at 3.}Plaintiffs do not object to the insertions
were returned undeliverable). Accordingly, the Court             of this language. Accordingly, the Court finds that the
orders that Defendants produce the names, last known.            Notice should include this language.
addresses,and dates ofemployment ~f all field technicians
why Rig Power employed within three years of this order.
                                                                  C. Disputed Lan~u~tge nn the Consent Form and Filing
                                                                 Plaintiff's rcyucst that "any potential plaintiff who wi5hcs
                         IlI. Noticc;s                           to join this action mist return a cnnsent form to Plaintiffs
Having concluded that conditional certification of a             counsel (~~~ho shall file the notice with the Court) within
class is appropriate, the next considcrati~n is whether          seventy five (75) days from the date of an order granting
Plaintiffs' proposed notice is proper. Defe~ld~nts object        this motion." (Pls. Mot. at 8-9.) Defendants object and
to Plaintiffs proposed notice on the following bases: (1)        propose a revision that "notices should be sent to the
Plaintiffs requested tine period o£~ employment to which.        Court andlor that flies may contact an attorney of
the prospective cl~~ss covers;(2)Plaintiffs proposed notice      their own choosing to discuss the cast and not direct
does not adequately explain that Defendants dispute the          members to contact the Plaintiffs' counsel."(Defs. Resp.)
a]]egations; ~tnd (3) Plaintiffs' proposed notice: req~iests     Plaintiffs d~ nut oppose the language informing putative
prospective class members to mail the consent form. back         class memUcrs that they "may select a l~~wyer of [their]
to Plaintiff's' counsel (Defs. Resp. at 1-4.) Tlie Plaintiff's   own choosing to represent you in this matter, or you
agree with Defendants' first two objections.                     may contact the lawyers For the current plaintiffs in this
                                                                 case."(Reply at 4-5.)

                       A. Tine Period                            The Court agrees that the notice must inform potential
Even though the parties agree on the relevant time period        class members that they may contact any attorney of
for the canditionatly certified class, the Court wants to        their choosing to discuss the case or may contact the
be clear. The statute of limitations for a cause of action       current Plaintiffs' counsel. See Talentinu___v..__C&J S~~cc-
arising out of tl~e willful violation. of the FLSA is three      Rent Ser•vs. Inc., 716 F.Supp.2d 64'x. 655(S.D. Tex_ 2010)
years. 29 U.S.C.§2»(a}. This Court has already ruled not         ("[T]he notice must inform potential class Plaintiffs that
to toll the limitations period.(Dkt.# 20.) The limitations       they nay contact any attorney of their choosing t~ discuss
period is not tolled as to individual cl~lin~ants until the      the case.") Additionally, class members wishing to opt-in
claimantfles a written opt-in consent forn~ with the court.      must return t]leir Consent forn~s directly to the Court by
?9 U.S.C. § 256 (b}, Therefore, the limitations period           filing them wiCh the Clerk of Court. See id. Obviously,any
in this case will confine the class certification to field       class members retaining counsel may have their attorney
technicians who worked at Rig Power within three years           file the Consent f~r►n, but the Notice may not require class
of the date of this order.                                       members send opt-in fornis to the counsel on record first.

                                                                  *6 Accordingly, since both parties fundamentally agree
      B. Defendants' Requested Notice La►zguage                  on the language of the Notice, the Court orders that. the
Defendants request that the Notice include the following         parties meet and confer and file a proposed Notice anc~
language:                                                        Consent form to the Court within seven (7) days of this
                                                                 Order. "T1~c Notice and Consea~t form must comply with
            The Defendant disputes the
                                                                 the directives in this Order.
            Plaintiffs' contentions and asserts
       Case 3:16-cv-00705-JWD-EWD                   Document 11-3                   01/06/17 Page 62 of 69
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                     CONCLUSION                                   Notice to the Class and Consent form fir the Court's
                                                                  approval within seven(7)days of this Order. The language
For the foregoing reasons, the Court GRANTS IN                    in the Notice and Consent form must comply with this
PART and DENIES IN PART the Plaintiff' Motion for-                Court's findings in This Order.
Conditional Certification and Notice to Potential Opt-In
                                                                  IT tS FURT1iER ORDERED that the Defendants
Plaintiffs.
                                                                  produce, in a useable electronic forn~at, the names, last
                                                                  knov~~~i addresses, and dates ofemployment of all putative
TT 1S O.RDERED that Plaintiffs' Motion for Conditional            class members within fourteen (14) days of this order.
Certification (Dkt.# 16) is GRANTED. The conditional              Plaintiffs are free to move this Court to issue an order for
class is defined as follows: "Field Technicians who have          more contact infotm~tion if necessary.
worked far Rig Power within three years ofthe date ofthis
                                                                  DATED: December, 1Q 2015.
Order."

[T IS FURTHER ORDERED that the parties shall meet                 AD Citations
anti confer regarding the Notice to tl~e Class and Consent       Slip Copy,2015 WL 12532545,2015 Wage &Hour Cas2d
form, and shall file with the court a proposed Agreed            (BNA)408,540

 End of OocumenC                                             ,_, ~.~)?;?horn>or. P,euter:>. Ncr claim to oric~in~l U S. Goverr~men~ ~rJorks.
          Case 3:16-cv-00705-JWD-EWD                         Document 11-3                   01/06/17 Page 63 of 69
G~rci~ v. T4~~ ~ctr~~ir~., LLC, hlcat Re~scartecl in F.~u~p.3d ~Zft95)
2015 WL 1737932, 2015 Wage &Hour Cas.2d (BNA) 181,597

                                                                        for Conditional Certification of a Collective Action and
                                                                        Authorization for Notice.(Dkt.# 4.)
                         2oi5 WL i~37932
                    United States District Court,
                             N.D. Texas,
                       San Antonio Division.                                                           BACKGROUND

          :~bbie GAKCIA,iirandon Pon#ious, and                         The instant litigatio►i arises out of Plaintiffs' employment
          Qrin Hughes, individually anci an behalf                     by TWC as inbound sales agents in San Antonio, Texas.
          of all others similarly situated, Yl~iintiffs,               ("Garcia Decl.,"' Dkt. # 9, Ex. A ¶ 2; "Pantious Decl.,"
                               ~~.                                     Dkt.# 9, Ex. B!~ 2;"Hughes Decl.," Dkt.# 9, Ex. E ¶ 2.)
                                                                       Inbound sales agents are primarily responsible for selling
            '['bVC AI)MINIS'I'KA'i'IC?N, I.I.C, a/
                                                                       and/or "up-selling" cable service to customers who call
            b/~~'1'in~e Warner Cable, I)efenc~ant.
                                                                       TWC's cal] center.(Garcia Decl. ~ 3; Pontious Decl. ¶ 3;
                      No.SA:i4—CV-985—DAE•                             Hughes Decl. ¶ 3.) Each of the named Plaintiffs worked
                                                                       eight hours per da}~ with aone-hour unpaid lunch period,
                        Signed April 16, 2oi5.                         and was paid S10 per hour plus commissions based on
                                                                       the number of sales made. Specifically, they rec~:iv~;d a
Attorne~-s and Lar~~ rirms                                             percentage of the sales they made, which varied based on
                                                                       factors such as how closety they adhered to their cight-
Dorian Vancienber4.;-K~des, Ric<u•clo Jose Prieto, I~1~irtin           hour schedules, "up-sales" generated, and new customer
A. Shellist, Shellist Lazarz Slobin LLP, Houston, TX,for               sales gcneratecl.(Garcia Decl. ¶~ 4,6; Pontious Dec]. ¶¶ 4,
Plaintiffs.                                                            6; Hughes Decl. ¶¶ 4, 6.)
Christine Elaine Reinhard, Schmoyer Reinhard LLP,San
Antonio,TX,Joseph W.Ozmcr,(1, Nathan D, C'ha~rnan,                     Plaintiffs allege that in addition to taking customer calls,
Wargo &French LLP, Atlanta, GA,far Defendants.                         they were rcquirea to perform "non-sales work" such as
                                                                       documenung orders and customer accounts,following yip
                                                                       tivith customers and addressing issues relaxed to orders,
                                                                       a►isuring that accounts were praperly credited, and staying
 ORDER GRANTING I~'~' PART ~tIVD DENY/t~'G IN
                                                                       abreast of current TVVC products, services, promotions,
PART PLAINTIFFS'MOTION FOR CONDITIONAL
                                                                       and policies.(Garcia Decl.¶ 5; Pontiaus Decl.¶ 5; Hughes
  CERTLF/CATIOI6'OF A COLLECTIVE ACTION
                                                                       Decl. ¶ 5.) They further allege that because the} were
     AND A UTNORIZ.ATIOAJ FOR I~'OTICE
                                                                       effectively required to spend the entirety of their shifts on
DAVID ALAN E7_RA, Sznior District Judge.                               the phone, they spent a significant amount of time each
                                                                       clay working "off the clock" and without pay so that they
 *1 Befarc the Court is a Motion for Conditional                       could com}~lete the required "non-sales work." (Garcia
Certification of a Collective action and Authorization                 Decl. ¶!( 6-7; Pontious Dcd. ¶~1 fi-7; Hughes Decl. ~ 6-
for Notice filed by Plaintiffs Abbie Garcia, Brandon                   7.)Garcia states thlt she worked an average of six unpaid
Pontius, and Orin Hughes, individually and on behalf                   hotn-s per week (Garcia Decl. ¶ 8), ~vhilc Pontious and
of all others similarly situated (collectively, "Plaintiffs").         Hughes state that they worked an average of szven unpaid
(Dkt.# 9.) On April 15. 2015, the Court he~3rd oral                    hours per week (Pantious Deel. ¶ 8; Hughes Decl. '~ 8).
argument nn the Motion. Dorian Vandenberg-Rodes,                       Plaintiffs allege that their supervisors were aware that they
Esq., and Ricardo Jose Prieto, Esq., appeared at the                   were working oPf the clock, but that they were repeatedly
hearing nn behalf of Plaintiffs: Nathan D. Chapman,                    instructed to stay on the phone the entire time they were
Esq., and Christine Elaine Reinhard, Esc ., appeared                   on the clock and that their "non-sales work" lead to be
at the hearing nn behalf of Defendant Time Warner                      performed off the clock.(Garcia Decl.!)9; Pontious Decl.
Cable ("T~VC"). After revic;wing thy: Motion and the                   ¶ 9; Hughes Decl. ¶ 9.)
supporting and opposing ►nemoranda, and considering
the parties•' arguments at the hearing, the Court GRANTS                *2 On November 6, 214,Plaintiffs initiated this lawsuit.
l.N PART AND DENIES IN PART Alaintiffs' Motion                          by tiling a collective action complaint. (Dkt.# I.) The


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 a2.
   :      ._as~~~                                   C "7[[    ,..
                                        -   ~~~~                    s` ... ~~   °.(?':s .,   ~' air_   ~.   ~`c--
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(`a~srci<-~ v. 7'iVC Adrni+~., LLC. lVQt ReporEed in F,Supp.3d (ZU15}
                                                                          .,,~...~~vvtt;;.~..~,~,   ~_-_~. _du.,_,~~~ ~..~~r
2015 WL 1737932, 2015 Wage &Hour Cas.2d (BNA) 181,597~~~'~

complaint alleges(1)that TVVCs practice of failing to pay          The Lusardi approach is a two-stage inquiry involving
Plaintiffs the time-and-a-half rate for hours in excess of         a "notice stage" and a merits or deccrtificati~n stage.
forty per work week violates the Fair Labor Standards Act          ~1~loariey, 54 k'.3d Ott 1213--14. At the notice stage, a "court
("FLSA"), 29 U.S.C. § 207, and (2} that TWC's practice             detern~ines whether the putative class members'claims are
of failing to pay Plaintiffs at the required minimwn wage          sufficiently similar t~ merit sending notice of the action
rate violates the FLSA, 29 L.S.C. y ?06. (Ict. '¶ 74-79.}          to possible members of the class." Aceve~l~~ v. Allsup's
On December lU, 2t)14, Plaintiffs filed the instant Motion         Conrruic~rrce Stares, Trtc., b(f0 F..id 516. 5 t9(5th Cir.2O10).
for Canditionat Certification of a Collective Action and           If the court detennu~es that the proposed class members
Authorization for Notice.(Dkt.# 9.) On January 9, 2015,            are similarly situated and conditional certification. is
TV4'C filed a Response in Opposition. (Dkt.# 16.} On               warranted,the plaintiff hxs the opportunity to send notice
January 15, 2U 15, Plaintiffs filed a Reply.(Dkt.# 19.)            to potential class members, who at•e then permittzd to
                                                                   apt. in to the suit. 1~l. Once plaintiffs have opted in and
                                                                   discovery is largely complete, the defendant cau ale a
                                                                   decertification motion, asking the court to re-assesses
                   LEGAL STA!~'DARD
                                                                   whether the claimants are similarly situated. ;~Inoiiey, _54
An employee can bring an action for violating the                  F.3d at 1214. At that point, the court can fully zvaluate
minimum ~~age and overtime provisions of the FLSA,                 the merits ofclass certificaxion and can choose to decertify
either ~►~d~v~at~di~y or as a collective action on behalf          the class.!d
of himself and "other cniployees similarly situated." 2J
tJ.S.C'. ~ 216{b). Because the FLSA requires employee-
classmembers toaffirmatively opt in, the plaintiffcan seek                                          DISCUSSION
"conditional class certification." tram the COUI't, which.
pc:rniits the plaintiff to "send[ ][a] court-approved written       *3 Plaintiffs ask the Court to conditionally certify this
notice to employees,. who in turn become parties to a              case as a collective action under 29 U.S.C. § 2l6(b};
collective action only by filing written consent with the          order TWC to produce a list of all inbound sales agents
court." Genesis Healtltc~are Corp. i~. Svn~c~l,, -- U.S.           employed during the last three years at its San Antonio,
       --. 133 S.Ct. 152;, ]527, 185 L.Ed.2d (36(2013)             Texas location; and issue notice subject to the procedure
(citations a~nitted).                                              and methods laid out in their Motion. (Dkt. # I at 4.)
                                                                   TWC has elected not t~ chaUenge Plaintiff's' assertion
 Although the Fifth Circuit has declined to adopt a specific       that they have met the "lenient' standard for cociditional
test to determine when a court should conditionally certify        certification under the FLSA.(Dkt. # 16 at l.} However,
a class or grant a notice in a § 216(b)action, the majority of     TWC objects to Plaintiffs' request fora "gag order" an
courts within the Fifth Circuit have adopted the approach          T~VC; to the contact information. rec7uested by Plaintiffs;
set forth in l>u,rcn•cIi v. Xerox Car•~~., )18 F.R.D. 351.         and to Plaintiffs' proposals regarding the manner, timing,
(D.N.J.1987}. ,~foor~ey v. .Arrrrncca Servs. Go., 54 F.3ci         ai d content of notice to putative class members.(I~l.) The
 1207, 1216 (Sih Cir.1995)(noting acceptable approaches            Court addresses each ~f TWC's objections in turn.
include either tl~e Luscrr~i approach ~r the "spurious class
action" approach set forth in .S{~rrti•ha~r v. Univ. of Colo..
 13? F.R.D.263(IJ.Colo.l!~9t))), o~~errirlec~~natl:ergrouncls                      I. Reyuesr.fo►• "Gad Order"
b~~ L)eser~t P«lcicc:. Lac. v. Cost~f, X39 U.S. 90, 123 S.Ct.      TWC first objects to Plaintiffs' request for ~a "gag order,"
214;3. 156 L.Ed.2d 84 (2{}03); Vcrr7~~ri~i i~. A.c°lion s1~fi~nt   included in the proposed order granting Plaintiff's' Motion
1)rsrrihs., Inc•.. 9~)5 F,S~~pp.2ci 703, 719 (S.D.Tex.2014)        (Dkt.# 9-9). The proposed order includes the following
(fallow°ink Lusarcti); rt~ateas v. Select Energy Servs., GLC,      language:
997 F.Supp.2d 64~, 643 (W.D.Tex2Q13)(same); Tice v.
                                                                                   Defendant is hereby prohibited
AOC Senior• Hc~rfze Health Corn.. X26 k~.Supp.2ci y9(), 994
                                                                                   from communicating, directly or
(E.D.Tex.2011)(same); ~Yi~~rsdan~ll v. 1y~erraasters ~~f Tex..
                                                                                   indirzctly, with any current or
I.rci., ?7? F.R.D. 447,449(N.D.Tex2011)(same).
                                                                                   fornier inbound sales agent about
                                                                                   any matters which touch or concern
                                                                                   the settlement of any outstanding
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                   wage claims or other matters related                                       issue is abusitiz and threatens the proper fui~etioning
                   to this suit during the opt-in period.                                     of the litigation." Buss v. Pjc~~inm Ar112lI.Slll011 Corp.,
                   Dzfendant shall so instruct all of                                         Na. C)9-cv--()1614-RFB-MEH, 2(.)t 1 WL. 9Q2022, at *3
                   its supervisors. This order shall not                                      (D.CoI~. M~~r.14, 2011); Ojedu-Sanchez v. Bl~xnr~ Farms,
                   restrict Defendant from discussing                                         600 F.Supp.2d 1373, 1378 (S.D.Cia.2O09); C'ox h~zrc~lear
                   with any current inbound sales agent                                       Mecf. v. Gntcl C:tip Cr~Jfee .Servs., Inc'., 214 F.R.D.696,697-
                   matters that arise in the normal                                           98 (S.I7.A1a.20Q3).
                   course of business.
                                                                                                           Although Gulj'Oil dealt with the Ru(e 23 class action
(Dkt.#9-9 at 3.)TWC ~irgues that this language prohibits
                                                                                                           context, the s~mc concerns and considerations apply
TWC anc~ its counsel from comm~uiicating with putative
                                                                                                           to §?16(b) ELSA cases. Hqffrnan-Ga Roche, 493 U.S.
class members regarding this litigation during tl~e opt-                                                   ~t 171.
in period, and contends that. such a restraint on contact
                                                                                                *4 Here, Plaintiffs have not met their burden ofshowing
is unjustified in this case. (Dkt. # 16 at 2, 7.) Plaintiff's
                                                                                              that an abusive form of communication has occurred or is
state that they only request that TWC be prohibited
                                                                                              threatened to occur such that limiting communication is
from speaking with class members regarding this lawsuit,
                                                                                              warranted. Plaintiffs simply speculate that the prohibitive
settlement, or any other matters which touch or concern
                                                                                              language is necessary to avoid potential confusion and a
this case. (Dkt. # 19 at 2.) Plaintiffs argue; that such a
                                                                                              possible chilling effect on putative class members. (Dkt.
prohibition is necessary to avoid misinformation, to allow
                                                                                              # 19 at 2.) "The `mere possibility of abuses' does not
notice to come from a single source, and to avoid the
                                                                                              justify routine adoption of a communications ban." Vogt
E~otential for chilling participation or retaliation. (/cl.)
                                                                                               v. Tex. Ir~strieirrerats Inc'., No. 3:C~5--CV-2244-L, 2~0( WL
                                                                                              4660133, ~~t *3 (N.D.Tex. Aug. 8, 2b~b) (citing Gulf'
Because class actions present special opportunities for
                                                                                               OiC, 4~2 U.S. ~~t 102}. "~'Vhile actual harm need not be
abuse, courts have broad authority to govern the
                                                                                              provr;d t~ justify an order limiting class contacts, the
conduct of both. counsel and parties in FLSA collective
                                                                                              ►novant must ~t least present evidence that a potential
actions. Belt v. Errrc~rre, late., 29~) F.Supp.2d 664,
                                                                                              likelihood for serious abuse exists." Icl. (citation omitted).
667 (E.D.Tex2~03) (citing lic~ffi~rcrn--I_cr Riche Irzc. v.
                                                                                              Plaintiffs' speculation, which is g~;neral in nature and
Sperling, ~~)3 U.S. 165, 171, 110 S.CI. X82, 107 L.Ed?d
                                                                                              nit tied in any manner to this particular case or this
4K0 (1989}). This authority inctudes the power to
                                                                                              particular defendant, is insufficient to allow the Court to
restrict communication between a party and absent class
                                                                                              make the specific findings required to support a limitation
members; however, the court's discretion in this area is
                                                                                              on commtmication. The Court thus finds that Plaintiffs'
"not unlimited." Crcrlf~0il Ca. v. Bernurci, 4S2 LJ.S. 89, 100,
                                                                                              proposed limiting language is inappropriate at this time.
101 S.C`t. 2193,6$ I:..Ed.2ci 693(19f31). The Supreme Co~irt
has explained that "an order limiting communications
bete=een parties and potential class members should                                                         I.I. Requested Contact Irtf~r•rnuti<~iz
be based nn a clear record and specific findings that                                          Next,TWC objects to the breadth of contact information
reflect a weighing of the need for a limitation and the                                        for putative class members requested by Plaintiffs.
potential interference with the rights of the parties."'                                       Plaintiffs request that TbVC he ordered to produce
Icy at 101. Furthermore, district courts may not restrict
                                                                                               the names, all known addresses, all phone numbers,
communication "without a specific record showing by
                                                                                               dates of birth, all known email addresses (both work
the moving party of the particular abuses by which it                                          and personal), Social Security numbers, and dates of
is threatened." I~l. at 102 (quoting C`c~les v. ,~m-sh, 560                                    employment for all potential class members employed
F.2d 186, 1$9(3d Cir.1977), 1 Since Gulf Oil, courts have                                      from three years prior to the filing of this lawsuit to the
developed atwo-step standard for determining when a                                            present.(Dkt. # 9 at ]0-1 ].)TWC argues that Plaintiffs'
party's communication to putative class members may                                            request for Social Security numUers, dates of birth, phone
be restricted. The party moving to limit communication                                         numbers, and email addresses should be denied because
must make two showings: "(1} that a particular form of                                         of privacy concerns, including the potential for identity
communication leas occurred or is threatened to occur,                                         theft.. (Dkt. # 16 at 10.) TWC contends that notice by
and (2) that the particular forn~ of communication at



 ~~
 '  ~»~~B~,.t"'S        ,,,,ii f,   ...:. ~'° .A„a, ,'~~i,....~_:...3 y.   .,   ',_'i~   ..   ..., ~w .r   ~ ,.1<,~, e~~T~~„-'-:~~   cC~s4.i,                  ~~
       Case 3:16-cv-00705-JWD-EWD                              Document 11-3           01/06/17 Page 66 of 69
Garcia v. TSNC tAdirrirn., PLC. 1d~t RepQrteci in F.Su~p.3d (2015
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regular mail to putative class roembecs'last known address                     is outweighed by the privacy i~aterests ~f these current
is sufficient in this case.(Id.}                                               and former workers').
                                                                       *5 For those putative class members whose notices
The Court finds that the extensive disclosures requested              are returned. as undeliverable, Plaintiff's may request
by Plaintiffs are inappropriate at this stage of the                  the production of additional information t~ assist them
case. "The benefits of a collective action. `depc;nd on               in reaching those individuals. See Agu~ry~n, 2014 WL
employees recei~~ing accurate and timely notice concerning            737314, at *6(ordering defendants to produce additional
the pendency of the collective action, so that they can               information for individuxis whose mail was returned as
make informed decisions about whether to participate.'                undeliverable); tic~c~,~ i~. A~la~rr,c Ncar•ris~, Iric°., 9t)7 F.Sup}~.2d
" Behnl,erz r•. Lurrai~uriat .~1irz. Co., LLC:, 9~I7 F.Supp.2d        X56,8Ci~--CiG tS.D.Tex.2012)(noting that plaintiffs' counsel
511, .523 (N.D.T~x.2Q1.4) (quoting Nnffirlan—Lcr Roc{~e.              could request additional information for putative class
498 U.S. at 170). Thus, the Court's aim is to ensure that             members whose notices were returned as undeliverable).
putative class members actually receive notice in a timely
manner. While there is not a great deal of uniformity with
respect to the; types of information courts generally order                I1I. Proposed Notice to .Putative Class 119e~nber,s
defendanxs to produce, m~iny have taken the view theft                Finally, 't~'VC raises various objections to the content
putative class members'i7ames and addresses are sufficient            of Plaintiffs' proposed notice and opt-in forms. Plaintiffs
to ensure that notice is received. ~ E.g., AltieE~ v. Fvod            propose to send notice to putative class members ~~ia
Srzjety .'~'et S~r•vs., Ltd.. No. 3:14—CV--00642—K, 20]4              regular mail, email, and pasting at TWC's place of
 WI.. 4('}81213, at *6 (N.D.Tex. Aug.lt3, 2014) (denying              business, and they Urovide the Court with a proposed.
plaintiffs' ree~uest for telephone numbers and email                  notice and opt-in form which they propose to send to
addresses because "Plaintiffs have shown no reason that               potenti~~l class members.(Dkt.#9 at 1 U; Exs. F—G.)TWC
sending a letter to a potential plaintiffs last known address         raises objections both to Plaintiffs' proposed methods of
would provide inadequate noCiee"); Agua~n v. Bas,surn                 sending notice and to the content of the notice and opt-
Odeh, Inc., N~. 3:13--CV--2951--8, 2014 WL 737314, at *b              in forms themselves. (Dkt. # ].6 at 9-17.) The Court
(N.I.~.Tex. Feb.26, 2014)(limiting production to putative             addresses each of TWC's objections in turn.
class members' names, last known addresses, and dates of
employment); Page v. A+'over ticc~lt/tcc~rc rL~ rrtt., LL.P, No.                      A. rl~letfcocl r~/'Serzdin~ NatieE
H -12 20113, 2O13 ~kL ~7~2749, at *7 (S.D.Tcx. Sept.E,
                                                                      Plaintiffs propose to send notice and consent forms by
2013} (de~iying plaintiffs' request for telephone numbers
                                                                      first class mail and electronic mail to all potential opt-
"because of the highly private and sensitive nature of                ins employc,d at any time during the three-year period
this information" and limiting production to potential                before this lawsuit was filed to the present.(Dkt. # 9 at
plaintii'fs' names and last kno~~n mailing addresses).                1 I-12.) Plaintiffs also request that notice be prominently
                                                                      posted at TWC's place of business and that a copy of
z      With respect to Social Security numbers in particular,         the proposed notice be included with each putative class
       privacy and security concerns outweigh the interest in         member's paycheck. (lcl. at t5.) Finally, Plaintiffs request
       ensuring that notice ~is received atthis stems. Se'e 4b7zi?e   that a second notice be, sent out thirty days before the opt-
       v. lntegrutc~~! Elec. TecFu.. !iu•.. Np. 1 Z 35~J, ?U13 ~VL    in de~idline passes, but only to those individuals who have
       2903070, at *1.0 (E.1~.La. June 13, 2413) (denying
                                                                      not opted in to the lawsuit..(Id.)
       plaintiffs' reyuest fir productio❑ of the last four
       digits of Social Security numbers because plaintiffs
                                                                      TWC raises three objections to Plaintiffs' proposed
       were adequately ec{uipped to notify all potential
       class members and privacy concerns outweighed the              method of sending notice. First, TWC argues that
       beneYits oE' disclosure}; Hump{:t•ies v. Strerura IrePI,       Plaintiffs' request to send notice via email should be denied
       Irtc., No. 3:03—CV-1682—D, 2004 U.S. Dist. LEXIS               as misleading, disniptive, and Lmnecessary. (Dkt. # 16
       20465, at *12 (N.D. Tex. Feb 13, 2004) (declining              at 11.) Second, TWC argues that Plaintiffs' request to
       to require defendants to produce telephone numbers,            use a "click-Through" consent form in the email notice
       dues of birth, and social sccurity ❑umbers because             should be denied because it is susceptible to fraud and
       "[a]ny need for the compelled disclosure of such data          discourages thoughtful, informed particigatiol~. (Id. at
                                                                      12.) Lasf, TVVC argues that Pl~3intiffs' request f'or hosting,
       Case 3:16-cv-00705-JWD-EWD                                Document 11-3                 01/06/17 Page 67 of 69
Garci~~ v. TWC Admin., I~LC. NQt Reported ir7 F.Supp.3d (20'15)
                                               ..~~,,,.
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reminder Notices, and paycheck enclosures should be                         circumstances of the case. lcl. at 358. Likewise, Plaintiffs
denied. (Id. at 13.} Because the Court is not. ordering                     here have not identifies any particular reason why a
production of putaxive class members' email addresses at                    reminder notice is necessary to ensure sufficient notice
this time, the Court does not address TWC's first two                       under the circumstances of this case. The Court thus
objections.                                                                 concludes that a reminder notice is inappropriate in this
                                                                            instance. See a/so h~ r•e li'e!!s lc~rga, 2013 WL 218t)~14,
TVVC argues that posting notice in the workplace,                           ~.~t *3(denying plaintiffs' request for a reminder notice as
enclosing notice in employee paychecks, and reminder                        unnecessary anti inappropriate).
postcards are inappropriate absent a specific showing
that traditional notice is insufficient to provide timely,
accurate notice. (lei.} Posting notice in a ~~orkplace is                                       B. Coruent gJ~Notice
often used to inform employees of their rights in labor                     TVVC also objects to the content of Plaintiffs' proposed
disputes, Ni~ffia~crn Plastic Conzp~uncts, Irtc. v. NLRB,                   notice on several grounds. First, TWC argues that the
525 U.S. 1.37, 152 (2002), and has been approved as yin                     notice; incorrectly states the applicable limitations period
appropriate form of notice in FLSA cases. E.g, Pacheco                      and must specify the deadline for filing consent forms.
v. Aldeel~, Nc~. x:14-CV-121-DAF, 2015 WI., 15(?9570,                       (Dkt. # 16 at 14.) Second, TWC claims that tlhe notice
at '~9 (W.D.Te.x. M~r.31, 2QISj; Btar~~jus v. ,4cnstc~, No.                 should advise putative. class memb~es of their discoveiy
H-1 1---3862, 2(7(2 ~~1. 1952261, at *4 (S.D.Tex. May 30,                   obligations.(Id. at ]5.)Third,TWC asserts that the notice
2012}, Furthermo►-e, the Court finds that posting notice                    should infoMn putative class members that they may be
in TWC's workplace is not unduly burdensome. The call                       responsible for costs a~~d expenses. (Iii) Fourth, TWC
center is not open to the public, so there is no danger                     at•gues that the notice should include contact information
of reputations] harm or other adverse impact on. TWC's                      for both parties counsel (Icy' at 16.) Finally, TWC argues
business. The Court also finds that posting notice in the                   that the notice should advise putative class mzmbers of
workplace is a simple and effective way of enstuing that                    their right to retain separate counsel. (Icl.) The Court
notice readies atl of the pirtativc class members currently                 addresses each objection below.
employed by TWC, and therefore ap~ro~~es notice by
posting. ~ How~cver, the Court finds that sending notice                              1. Li~nitationr Period ancJ Cczfasent Deadline
farms ~ilong with employee paychecks is both redundant                      Plaintiffs request that notice be sent to inbound sales
and unnecessary, and thus declines Plaintiffs' request to                   agents zmployed by TVVC from November 6, 2011 to the
enc]ose notice in employees' paychecks.                                     present. (Dkt. # 9, Ex. F at l.) Thus, Plaintiff's appear
                                                                            to argue that the proper limitations period runs from
`~     The Court notes that at the hearing, co~msel for                     three years prior to the date on which this action was
       TWC represented th<~t TV~'C would agree to notice b}~                commenced to the present. AA cause of action arising out
       posting in lieu of being ordered to produce puiative                 of a ~villfiil violation of the FLSA "may be commenced.
       class members'"sensitive, personal infe~rm~tion" such                ti~~ithin three years after the cause of action accrued." 29
       pis Social Security nunibzrs, dates of birth, phone                  U.S.C'. § 255{Gi). The limitations period is not tolled as
       numbers, and email addresses.                                        to individual claimants until the claimant files a written
 *6 There is a split among district com-ts as to whether                    opt-in consent form with the court. 29 U.S.C. § 256(b);
reminder notices to putative class members are proper in                    Qari~rtcmi!!cr v. A & IZ L)emolitii~rt, Inc., No. Civ.A. H-
FLSA actions. See Gcr~e(giirgerTli u. Prime: Tine Specials,                 O4---1765, 2005 WI. 20951.04, at *1b (S.D.Tex. Aug.3O,
Inc., fi$3 F.Supp.2d 340, 357--58 (:E;.D.N.Y2()12)(noting                   2(~OSj. Therefore,the limitations period in this case should
that some courts have denied requests for reminder notices                  confine class certification to inbound sales agents who
nn the grounds that reminders are unnecessary and could                     worked for TWC in the three years prior to the date
be interpreted as encouragement by the court to join the                    on which the Court conditionally certifies the classes—in
lawsuit, while others have recognized that a reminder                       other wards, three yeaa•s prior to the date of'this Order. See
is appropriate when sent by plaintiffs' coiulsel and not                    ,iltief~, 2014 V4'1.. 4()81213, at *5; Gt!atson v. Travis Saf't~~~ctrc~
the court). The Gu~el~air~~c:nli court ultimately denied the                Corp.. No,H X7.4104.2008 WL 5068$06, at *8(S.D.Tex.
plaintiffs•' request because they did not identify any reason               Nov?1, 2Q0$); ~hrirttanillct, 2UQ_5 W I._ 2U95104. at * 16.
why a reminder notice vas necessary under the particular                    Farthernlore, each potential plaintiff' will be re:yuircd to


     ~1,~~~       ~.       F~_   ~~ r~ ~c,..' ~;~'t   <t. r.:[~i,. €- n~   ,'., ~ rs :~t~=~,nYt E...3 ~   ~~~ ,..
       Case 3:16-cv-00705-JWD-EWD                          Document 11-3             01/06/17 Page 68 of 69
ta~~-ci~ v. 1"~1'~ ~c6rrrir~., PLC, ~9ct Re~r~rted in ~.supp.3d (Zt}15)
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opt in within three years of employment as an inbound                r. L;uceut Tcrcfrs•., lnr., No. OS C 3701, 2005 WL 354285,
,ales agent. Alziep, 2014 WL 4081 13, at *5. The notice              at '"7(N.D.III. May 10, 2010), tivith Gnra~alc:~ i~. Rrrlgetii~ood
must accurately reflect both of these dates.                         Lc~~zclsca~~irt~, Inc., No. I-t-09-292, 2O10 WI: 19Q36U2, at
                                                                     *H (S.D.Tex. May 10, 2010}.

                 2. Discoi~ert~ Ohligati<~rzs                        Courts declining to order the inclusion ofdefense counsel's
 *7 Second, TWC argues that the notice should advise                 contact information generally cite ethical concerns
putative class members that they may be required to                  about post-certification communication between defense
participate in discovery, and that they may be required              counsel end class members. Generally, courts agree that
to travel to San Antonio to fulfill this obligation.(Dkt.#           "[once a class has been certified, the rules governing
16 at I5.} Other courts have noted that such an advisory             communications [with class members] apply as though
is routinely appraved. E.~>., Rehnken, 9y7 F.Su~p2d                  each class member is a client of the class counsel."
at 524; Whitehor~n v. Wolfgat~g's SteakJ~oa~se, Inc., 767             Ncrrr•r.s ~~, Vec~t~r r1~1kt,~. Car•~~., 716 F.Supp.2d H3S, 847
F.Supp.?d 44~, 450 (S.D.N.Y.2U11}. The notice; must                  (7ti.I~.C~i1?(~lt)) (citing Manual of Complex Litig,
include an advisory regarding p~rtati~~e class members'              21.33 ~t 300 (4th ed.2004)). As the Harris court noted,
potential discovery obligations.                                     `'[iJncluding contact information for defense counsel in the
                                                                     class notice risks violation of ethical rules and inadvertent
                                                                     inquiries, thus engendering needless confusion." lu`. The
           ~. RE'SjJOYIS1I7lIll)~,for Costs un~/ E.rper~ses
                                                                     Court finds this reasoning persuasive, and finds that
Third,TWC argues that the notice should advise potential
                                                                     inclusion of defense counsel's contact information is
plaintiffs that if they do not prevail, they may be
                                                                     unwarranted. See also ~'~1cCloiut r. r'41cClintan EnerKy
responsible for costs and expenses.(Dkt. # 16 at 15.) As
                                                                      C;'rp., L;I._C. No. 7:14 _CV _ 120. 2Ol5 WL 737024, at * 10
the Behnken court noted, "potential opt-in plaintiff's may
                                                                     (4'V.D.Tcx. Feb.2U, 2015).
be required to pay taxable court costs if the judgment is
unfavorable to them." ~e/rnketr, 997 F.Supp.2d ait 524.
Without such an advisory, "the proposed notice forn~                               5. Right to Retai~~ Sep«rttte Counsel
is not completely accurate as to the potential liabilities            *8 Last, TWC argues that the notice should include
fc~r those who join the ]a~~~suit." Id. Ftirthe~ln~re, the           inforn~ation regarding putative class members' right to
advisory is necessary for potential plaintiffs to make an            retain counsel of their own choosing.(Dkt. # 16 at 16.)
informed decision about whether to opt in to the lawsuit.            TWC asserts that without this advisory, the notice gives
IcL Plaintiffs' proposed notice includes the language, "If           the inaccurate impression that tite sole avenue for class
the inbound sales agents lose, you will receive nothing, but         members to pursue their claims is through Plaintiffs'
you. ~~ill not have to pay anything either."(Dkt. # 9, E~.           counsel. (/~I at ]7.) The Court agrees with TWC, and
F at I.) This language is misleading and inaccurate ~u~d             finds that the notice must advise putative class members
must b~ stricken from the notice. Furthern~ore, the notice           of their right to retain. separate counsel and pursue their
must inform potential plaintiffs that they could be liable           rights independently from the class. See, e.g., l;ee v.
for their proportional share of taxable court costs if they          f~eol~u £::S Intfcrs. S'eri~.s.. It~c.. IVo. 1:12--CV -13f, 2013 ~VL
do not. prevail in this case.                                        2'9821.6, ~zt *2() (E.(.~.Tcx. Ib1ay 23, 2013); Gcznthc~, 2(?(15
                                                                     WL 3542485, ~~t ~`7.
        4. Defense Cc~unseCs Contact Infor~mcrzion
Fou~•th, TWC argues that the notice should provide
complete contact information for both parties' counsel.                                      CD~'VCL USIOIV
(Dkt. # Ib at l6.) Again, there is a split amo»g district
courts as to whether the incl~ision of defense counsel's             For the reasons stated ab~vz, the Court hereby GRANTS
contact information is appropriate. Some have stated that            IN PART AND DENIES 1N PART Plaintitfs' Motion
"there is no basis in logic" roe the request to include              for Conditional Certification of a Collective Action and
defense counsel's contact information, while others note             Authorization for Nvticc.(Dkt.# 4.)TWC is ORDERED
that "FLSA opt-in notices often contain the names of all             to produce, in a usable electronic format, the names,
counsel." Co»z~are l3ehnken, 997 F.Supp. at 5?5; Gunzfia             last known addresses, and dates of employment for
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al] putative class members within ten days of the date
                                                                  IT IS SO ORDERED.
of this Order. For those individuals whose notices
are returned as undeliverable, Plaintiffs may request
additional information from TWC.The parties are further           All Citations
ORDERED to confer and prepare agreed-upon notice and
consent forms consistent with this Order. The parties shall       Not Reported in F.Supp.3d, 201.5 ~VL 1737932; 2015
jointly submit such forms to the Court by Friday, May 1,          Wage &Hour Cas.2d(BNA)181,597
2U15.

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